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     ΀ϭ΁
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                               Section 1. Suspension and Limitation on Entry. (a) The entry into the United
                               States as immigrants of aliens who will financially burden the United States
                               healthcare system is hereby suspended and limited subject to section 2
                               of this proclamation. An alien will financially burden the United States
                               healthcare system unless the alien will be covered by approved health
                               insurance, as defined in subsection (b) of this section, within 30 days of
                               the alien’s entry into the United States, or unless the alien possesses the
                               financial resources to pay for reasonably foreseeable medical costs.
                                  (b) Approved health insurance means coverage under any of the following
                               plans or programs:
                                  (i) an employer-sponsored plan, including a retiree plan, association health
                                  plan, and coverage provided by the Consolidated Omnibus Budget Rec-
                                  onciliation Act of 1985;
                                 (ii) an unsubsidized health plan offered in the individual market within
                                 a State;
                                 (iii) a short-term limited duration health policy effective for a minimum
                                 of 364 days—or until the beginning of planned, extended travel outside
                                 the United States;
                                 (iv) a catastrophic plan;
                                 (v) a family member’s plan;
                                 (vi) a medical plan under chapter 55 of title 10, United States Code,
                                 including coverage under the TRICARE program;
                                 (vii) a visitor health insurance plan that provides adequate coverage for
                                 medical care for a minimum of 364 days—or until the beginning of planned,
                                 extended travel outside the United States;
                                 (viii) a medical plan under the Medicare program; or
                                 (ix) any other health plan that provides adequate coverage for medical
                                 care as determined by the Secretary of Health and Human Services or
                                 his designee.
                                 (c) For persons over the age of 18, approved health insurance does not
                               include coverage under the Medicaid program.
                               Sec. 2. Scope of Suspension and Limitation on Entry. (a) Section 1 of
                               this proclamation shall apply only to aliens seeking to enter the United
                               States pursuant to an immigrant visa.
                                 (b) Section 1 of this proclamation shall not apply to:
                                 (i) any alien holding a valid immigrant visa issued before the effective
                                 date of this proclamation;
                                 (ii) any alien seeking to enter the United States pursuant to a Special
                                 Immigrant Visa, in either the SI or SQ classification, who is also a national
                                 of Afghanistan or Iraq, or his or her spouse and children, if any;
                                 (iii) any alien who is the child of a United States citizen or who is
                                 seeking to enter the United States pursuant to an IR–2, IR–3, IR–4, IH–
                                 3, or IH–4 visa;
                                 (iv) any alien seeking to enter    the United States pursuant to an IR–
                                 5 visa, provided that the alien    or the alien’s sponsor demonstrates to
                                 the satisfaction of the consular   officer that the alien’s healthcare will
                                 not impose a substantial burden    on the United States healthcare system;
                                 (v) any alien seeking to enter the United States pursuant to a SB–1 visa;
                                 (vi) any alien under the age of 18, except for any alien accompanying
                                 a parent who is also immigrating to the United States and subject to
                                 this proclamation;
                                 (vii) any alien whose entry would further important United States law
                                 enforcement objectives, as determined by the Secretary of State or his
                                 designee based on a recommendation of the Attorney General or his des-
                                 ignee; or
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                          (viii) any alien whose entry would be in the national interest, as determined
                          by the Secretary of State or his designee on a case-by-case basis.
                          (c) Consistent with subsection (a) of this section, this proclamation does
                       not affect the entry of aliens entering the United States through means
                       other than immigrant visas, including lawful permanent residents. Further,
                       nothing in this proclamation shall be construed to affect any individual’s
                       eligibility for asylum, refugee status, withholding of removal, or protection
                       under the Convention Against Torture and Other Cruel, Inhuman or Degrad-
                       ing Treatment or Punishment, consistent with the laws and regulations
                       of the United States.
                       Sec. 3. Implementation and Enforcement. (a) An alien subject to this procla-
                       mation must establish that he or she meets its requirements, to the satisfaction
                       of a consular officer, before the adjudication and issuance of an immigrant
                       visa. The Secretary of State may establish standards and procedures governing
                       such determinations.
                          (b) The review required by subsection (a) of this section is separate and
                       independent from the review and determination required by other statutes,
                       regulations, or proclamations in determining the admissibility of an alien.
                          (c) An alien who circumvents the application of this proclamation through
                       fraud, willful misrepresentation of a material fact, or illegal entry shall
                       be a priority for removal by the Department of Homeland Security.
                       Sec. 4. Reports on the Financial Burdens Imposed by Immigrants on the
                       Healthcare System. (a) The Secretary of State, in consultation with the
                       Secretary of Health and Human Services, the Secretary of Homeland Security,
                       and the heads of other appropriate agencies, shall submit to the President
                       a report regarding:
                          (i) the continued necessity of and any adjustments that may be warranted
                          to the suspension and limitation on entry in section 1 of this proclamation;
                          and
                          (ii) other measures that may be warranted to protect the integrity of
                          the United States healthcare system.
                          (b) The report required by subsection (a) of this section shall be submitted
                       within 180 days of the effective date of this proclamation, with subsequent
                       reports submitted annually thereafter throughout the effective duration of
                       the suspension and limitation on entry set forth in section 1 of this proclama-
                       tion. If the Secretary of State, in consultation with the heads of other
                       appropriate executive departments and agencies, determines that cir-
                       cumstances no longer warrant the continued effectiveness of the suspension
                       or limitation on entry set forth in section 1 of this proclamation or that
                       circumstances warrant additional measures, the Secretary shall immediately
                       so advise the President.
                         (c) The Secretary of State and Secretary of Health and Human Services
                       shall coordinate any policy recommendations associated with the reports
                       described in subsection (a) of this section.
                       Sec. 5. Severability. It is the policy of the United States to enforce this
                       proclamation to the maximum extent possible to advance the interests of
                       the United States. Accordingly:
                         (a) if any provision of this proclamation, or the application of any provision
                       to any person or circumstance, is held to be invalid, the remainder of
                       the proclamation and the application of its other provisions to any other
                       persons or circumstances shall not be affected thereby; and
                         (b) if any provision of this proclamation, or the application of any provision
                       to any person or circumstance, is held to be invalid because of the failure
                       to follow certain procedures, the relevant executive branch officials shall
                       implement those procedural requirements to conform with existing law and
                       with any applicable court orders.
                       Sec. 6. General Provisions. (a) Nothing in this proclamation shall be construed
                       to impair or otherwise affect:
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                                        (i) United States Government obligations under applicable international
                                        agreements;
                                        (ii) the authority granted by law to an executive department or agency,
                                        or the head thereof; or
                                        (iii) the functions of the Director of the Office of Management and Budget
                                        relating to budgetary, administrative, or legislative proposals.
                                        (b) This proclamation shall be implemented consistent with applicable
                                      law and subject to the availability of appropriations.
                                         (c) This proclamation is not intended to, and does not, create any right
                                      or benefit, substantive or procedural, enforceable at law or in equity by
                                      any party against the United States, its departments, agencies, or entities,
                                      its officers, employees, or agents, or any other person.
                                      Sec. 7. Effective Date. This proclamation is effective at 12:01 a.m. eastern
                                      daylight time on November 3, 2019.
                                      IN WITNESS WHEREOF, I have hereunto set my hand this fourth day
                                      of October, in the year of our Lord two thousand nineteen, and of the
                                      Independence of the United States of America the two hundred and forty-
                                      fourth.




[FR Doc. 2019–22225
Filed 10–8–19; 8:45 am]
Billing code 3295–F0–P
             Case 3:19-cv-01743-SI    Document 118    Filed 01/10/20   Page 9 of 135
                                                                                   000007
CA Press Guidance
October 4, 2019

   VISAS: Presidential Proclamation on Suspension of Entry of Immigrants Who Will
               Financially Burden the United States Healthcare System

   x On October 4, 2019, the President issued a Presidential Proclamation (P.P.) titled
     “Suspension of Entry of Immigrants Who Will Financially Burden the United States
     Healthcare System, In Order to Protect the Availability of Healthcare Benefits for
     Americans.”

   x Beginning November 3, 2019, in order to demonstrate qualification for entry, immigrant
     visa applicants — other than those covered by certain exceptions — must demonstrate to
     a consular officer that they will be covered by approved health insurance within thirty
     days of entry into the United States, or that they possess the financial resources to pay for
     reasonably foreseeable medical costs. Inability to do so will result in the denial of the
     visa application.

   x Visa applicants subject to this proclamation must establish that they meet its
     requirements, to the satisfaction of a consular officer, prior to and in connection with the
     adjudication and issuance of an immigrant visa.

Q&A

Q. What are the exceptions?
A. The P.P. includes a number of exceptions. The limitation on entry does not apply to:
   x Individuals with a valid immigrant visa issued before November 3, 2019
   x Iraqi and Afghan special immigrant visas (SI and SQ visas)
   x Adopted, biological, and step-children of U.S. citizens (IR2, IR3, IR4, IH3, and IH4)
   x Returning Resident SB-1 applicants
   x Aliens entering the United States without an immigrant visa, including lawful permanent
     residents, refugees, and asylees
   x Any alien seeking to enter the United States pursuant to an IR-5 visa, provided that the
     alien or the alien’s sponsor demonstrates to the consular officer that the alien’s healthcare
     will not impose a substantial burden on the United States healthcare system
   x Any alien under the age of 18 except for any alien accompanying a parent who is also
     immigrating to the United States and subject to this proclamation
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                                                                                 000008
   x Any alien whose entry would further important United States law enforcement objectives,
     as determined by the Secretary of State or his designee based on a recommendation of the
     Attorney General or his designee
   x Any alien whose entry would be in the national interest, as determined by the Secretary
     of State or his designee on a case-by-case basis
Q. What is approved health insurance?
A. Approved health insurance includes:
      x     Employer-sponsored health plans, including retiree plans
      x     Unsubsidized health plans offered in the individual market within a state
      x     Short-term, limited duration health plans effective for a minimum of 364 days or
            until the beginning of planned, extended travel outside the United States
      x     Catastrophic plans
      x     Coverage by a family member’s health plan
      x     U.S. military health plans, including TRICARE
      x     Visitor health insurance plans with adequate medical coverage for a minimum of
            364 days or until the beginning of planned, extended travel outside the United
            States
      x     Medical plans under the Medicare program
      x     Any other health plan with adequate coverage as determined by the Secretary of
            Health and Human Services
For further information and requirements, immigrant visa applicants should review the
information provided on travel.state.gov.
Q. Does Medicaid or the Children’s Health Insurance Program (CHIP) count as
approved health insurance?
A. Approved health insurance does not include coverage under the Medicaid program, except
for health insurance under subchapter XXI of chapter 7 of title 42, United States Code.
Q. What is the effective date of the change?
A. The Proclamation is effective 30 days from its signing on October 4 2019.
Q. What would be considered sufficient “financial resources to pay for reasonably
forseeable medical costs?”
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                                                                                   000009
A. Affected applicants must demonstrate that they will be covered by approved health
insurance within thirty days of entry into the United States or that they possess the financial
resources to pay for reasonably foreseeable medical costs. All applications are adjudicated on a
case-by-case basis.
Q. Who makes the determination of whether an immigrant is qualified or not, and what
standards do they use?
A. A consular officer will determine whether the applicant is eligible for an immigrant visa
based on U.S. law and available information when the applicant applies for a U.S. visa.
Q. How are applicants expected to demonstrate they meet this requirement?
A. Applicants should be able to demonstrate to the satisfaction of a consular officer that they
possess the financial resources to pay for reasonably foreseeable medical costs or, have a plan
and ability to obtain health insurance within 30 days of arrival. Officers will review the
medical and financial documentation that is already part of the applicant’s case file and may
request additional information or documentation if needed.
Q. How exactly is an applicant expected to secure health insurance prior to traveling to
the U.S.?
A. Applicants are not required to secure health insurance prior to traveling to the United States,
but must demonstrate to the satisfaction of a consular officer that they will be covered by
approved health insurance within thirty days of entry into the United States or that they possess
the financial resources to pay for reasonably foreseeable medical costs.
Q. Why are new immigrants required to purchase health insurance when existing U.S.
citizens are exempt from this mandate?
A. As the Proclamation notes, admitting aliens as immigrants into this country who are unable
to pay for their own healthcare costs puts the burden on American taxpayers and our health
infrastructure. The President has made the determination that immigrants’ entry into this
country should not burden taxpayers and the healthcare system.
Q. Isn’t this just another way to restrict family-based immigration, on top of recent
changes to Public Charge regulations?
A. The Proclamation notes “The United States has a long history of welcoming immigrants
who come lawfully in search of the American Dream. This proclamation continues that
tradition while addressing the challenges facing our healthcare infrastructure. It recognizes that
it is in the interests of the United States to protect our healthcare system from the burdens of
uncompensated care and that the entry into the United States of certain immigrants who lack
health insurance or the ability to pay for their healthcare would be detrimental to these
interests.”
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Background
Link to/text of P.P. goes here.
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                                                                                 000011
Drafted by:                 09-11-2019,

Clearances:
      VO/F:                     OK
      VO/L:                     OK
      CA/P:                     OK
      P:                        OK
      D:                        OK
      S/P:                      OK
      M:                        OK
      L:                        OK
      WH:                       OK
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                                                                                   000012
Talking Points for Congressional Call
October 4, 2019

   VISAS: Presidential Proclamation on Suspension of Entry of Immigrants Who Will
               Financially Burden the United States Healthcare System

   x Today, the President issued a Presidential Proclamation (P.P.) titled “Suspension of Entry
     of Immigrants Who Will Financially Burden the United States Healthcare System, In
     Order to Protect the Availability of Healthcare Benefits for Americans.”

   x When the proclamation goes into effect in 30 days (November 3), U.S. immigrant visa
     applicants will be required to demonstrate to the satisfaction of a consular officer that
     they will be covered by approved health insurance within thirty days of entry into the
     United States, or that they possess the financial resources to pay for reasonably
     foreseeable medical costs. Inability to satisfy the stated requirements will result in the
     denial of the visa application. There will be limited exceptions to the proclamation.
     (FULL LIST OF EXCEPTIONS FOLLOWS BELOW IN QUESTION 1).

   x The proclamation will apply to U.S. immigrant visas only. Nonimmigrant visas will not
     be impacted.


Q&A

Q1. What are the exceptions?
A. The P.P. includes a number of exceptions. The limitation on entry does not apply to:
   x Individuals with a valid immigrant visa issued before November 3, 2019
   x Iraqi and Afghan special immigrant visas (SI and SQ visas)
   x Adopted, biological, and step-children of U.S. citizens (IR2, IR3, IR4, IH3, and IH4)
   x Returning Resident SB-1 applicants
   x Aliens entering the United States without an immigrant visa, including lawful permanent
     residents, refugees, and asylees
   x Any alien seeking to enter the United States pursuant to an IR-5 visa, provided that the
     alien or the alien’s sponsor demonstrates to the consular officer that the alien’s healthcare
     will not impose a substantial burden on the United States healthcare system
   x Any alien under the age of 18 except for any alien accompanying a parent who is also
     immigrating to the United States and subject to this proclamation
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   x Any alien whose entry would further important United States law enforcement objectives,
     as determined by the Secretary of State or his designee based on a recommendation of the
     Attorney General or his designee
   x Any alien whose entry would be in the national interest, as determined by the Secretary
     of State or his designee on a case-by-case basis


Q2. What is approved health insurance?
A. The proclamation defined approved health insurance. Approved health insurance includes:
      x     Employer-sponsored health plans, including retiree plans
      x     Unsubsidized health plans offered in the individual market within a state
      x     Short-term, limited duration health plans effective for a minimum of 364 days or
            until the beginning of planned, extended travel outside the United States
      x     Catastrophic plans
      x     Coverage by a family member’s health plan
      x     U.S. military health plans, including TRICARE
      x     Visitor health insurance plans with adequate medical coverage for a minimum of
            364 days or until the beginning of planned, extended travel outside the United
            States
      x     Medical plans under the Medicare program
      x     Any other health plan with adequate coverage as determined by the Secretary of
            Health and Human Services


Q3. Does Medicaid or the Children’s Health Insurance Program (CHIP) count as
approved health insurance?
A. Approved health insurance does not include coverage under the Medicaid program, except
for health insurance under subchapter XXI of chapter 7 of title 42, United States Code (the
Children’s Health Insurance Program (CHIP)).


Q3. What is the effective date of the change?
A. The Proclamation is effective 30 days from its signing on October 4, 2019.
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                                                                                   000014


Q4. How much money does an immigrant need to have to be allowed into the U.S.?
A. An applicant does not need a set amount of money to qualify for an immigrant visa. Rather,
affected applicants must demonstrate that they will be covered by approved health insurance
within thirty days of entry into the United States or that they possess the financial resources to
pay for reasonably foreseeable medical costs. All applications are adjudicated on a case-by-
case basis.


Q5. Who makes the determination of whether an immigrant is qualified or not, and what
standards do they use?
A. A consular officer will determine whether the applicant is eligible for an immigrant visa
based on U.S. law and available information when the applicant applies for a U.S. visa.


Q6. How are applicants expected to demonstrate they meet this requirement?
A. Applicants should be able to demonstrate to the satisfaction of a consular officer that they
possess the financial resources to pay for reasonably foreseeable medical costs or, have a plan
and ability to obtain health insurance within 30 days of arrival. Officers will review the
medical and financial documentation that is already part of the applicant’s case file and may
request additional information or documentation if needed. Applicants may choose to bring
documentation of their approved health insurance, ability to obtain approved health insurance,
or financial resources to the visa interview, although they are not required to do so. Consular
officers may request additional information or documentation if needed.


Q7. How exactly is an applicant expected to secure health insurance prior to traveling to
the U.S.?
A. Applicants are not required to secure health insurance prior to traveling to the United States,
but must demonstrate to the satisfaction of a consular officer that they will be covered by
approved health insurance within thirty days of entry into the United States or that they possess
the financial resources to pay for reasonably foreseeable medical costs.


Q8. Why are new immigrants required to purchase health insurance when existing U.S.
citizens are exempt from this mandate?
A. As the Proclamation notes, admitting aliens as immigrants into this country who are unable
to pay for their own healthcare costs puts the burden on American taxpayers and our health
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                                                                                 000015
infrastructure. The President has made the determination that immigrants’ entry into this
country should not burden taxpayers and the healthcare system.


Q9. Isn’t this just another way to restrict family-based immigration, on top of recent
changes to Public Charge regulations?
A. The Proclamation notes “The United States has a long history of welcoming immigrants
who come lawfully in search of brighter futures. We must continue that tradition while also
addressing the challenges facing our healthcare system, including protecting both it and the
American taxpayer from the burdens of uncompensated care. Continuing to allow entry into the
United States of certain immigrants who lack health insurance or the demonstrated ability to
pay for their healthcare would be detrimental to these interests.”
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                                                                                  000016
Drafted by:

Clearances:
       VO/F:                    (ok)
       CA/VO: ERamotowski       (ok)
       CA/VO:                   (ok)
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Presidential Proclamation on Health Care


If you are applying for an immigrant visa, including a diversity visa, on or after November 3,
2019, you must demonstrate to the consular officer at the time of interview that you will be
covered by approved health insurance within 30 days of entry into the United States or have the
financial resources to pay for reasonably foreseeable medical costs. Inability to meet this
requirement will result in the denial of the visa application.
This requirement will apply to all immigrant visa applicants and individuals seeking to
enter the United States on an immigrant visa, except:
   x   Individuals who are holding (or who held) a valid immigrant visa as of November 3,
       2019
   x   Iraqi and Afghan special immigrant visa applicants and their spouses and children (SI
       and SQ visas)
   x   Applicants who are children, whether adopted, biological, and step-children, of a U.S.
       citizen applying in the IR-2, CR-2, IR-3, IR-4, IH-3, or IH-4 visa classifications
   x   Returning Resident SB-1 applicants
   x   Applicants for K fiancé(e) visas and other aliens entering the United States without an
       immigrant visa, including lawful permanent residents, refugees, and asylees.
   x   Applicants for IR-5 visas and alien seeking to enter the United States pursuant to an IR-5
       visa, provided that the alien or the alien’s sponsor demonstrates to the satisfaction of the
       consular officer that the alien’s healthcare will not impose a substantial burden on the
       United States healthcare system
   x   Any alien under the age of 18, except for any alien seeking to accompany a parent who is
       also immigrating to the United States and subject to this proclamation
   x   Any alien whose entry would further important United States law enforcement objectives,
       as determined by the Secretary of State or his designee based on a recommendation of the
       Attorney General or his designee
   x   Any alien whose entry would be in the national interest, as determined by the Secretary
       of State or his designee on a case-by-case basis


Qualifying Insurance or Financial Resource to Pay for Medical Costs
If you are not covered by the exceptions above, you will need to show to a consular officer or
immigration official that you will be covered by approved health insurance within 30 days of




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entry to the United States or that you have the financial resources to pay for reasonably
foreseeable medical costs.
Approved health insurance includes:
   x   Employer-sponsored health plans, including retiree plans
   x   Unsubsidized health plans offered in the individual market within a State
   x   Short-term, limited duration health plans effective for a minimum of 364 days or until the
       beginning of planned, extended travel outside the United States
   x   Catastrophic plans
   x   Coverage by a family member’s health plan
   x   U.S. military health plans, including TRICARE
   x   Visitor health insurance plans with adequate medical coverage for a minimum of 364
       days or until the beginning of planned, extended travel outside the United States
   x   Medical plans under the Medicare program
   x   Any other health plan with adequate coverage as determined by the Secretary of Health
       and Human Services
For individuals over the age of 18, approved health insurance does not include coverage under
the Medicaid program.


Requirement at visa interview
During the visa interview, applicants should be able to demonstrate to the satisfaction of the
consular officer that they have the financial resources to pay for reasonably foreseeable medical
costs or will have approved health insurance from the list above within 30 days of entry into the
United States. Officers will review the medical and financial documentation that is already part
of the applicant’s case file and may request additional information or documentation as needed.
Prior to the visa interview, applicants may wish to review costs and eligibility requirements for
approved health insurance plans or consider how they would pay for the reasonably foreseeable
medical costs of any current medical condition they may have.




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               Date/DTG:                    Oct 30, 2019 / 301514Z OCT 19
               From:                        SECSTATE WASHDC
               Action:                      ALL DIPLOMATIC AND CONSULAR POSTS COLLECTIVE ROUTINE
               E.O.:                        13526
               TAGS:                        CVIS, CMGT
               Captions:                    SENSITIVE
               Subject:                     Presidential Proclamation: Suspension of Entry of Immigrants Who Will
                                            Financially Burden The United States Healthcare System, in Order to
                                            Protect the Availability of Healthcare Benefits for Americans


               1. (U) SUMMARY: On October 4, 2019, the President issued Presidential Proclamation (P.P.)
               9945 titled “Suspension of Entry of Immigrants Who Will Financially Burden the United States
               Healthcare System, in Order to Protect the Availability of Healthcare Benefits for Americans.”
               P.P. 9945 takes effect November 3, 2019, at 12:01 EDT, and suspends and limits entry for aliens
               as immigrants who cannot demonstrate that they will be covered by approved health insurance
               within 30 days of entry into the United States or that they have the financial resources to pay for
               reasonably foreseeable medical costs. Implementation of PP 9945 is contingent on OMB
               approval of certain information collection, which is still pending. Please see paragraph 18 for
               details. P.P. 9945 applies to individuals seeking to enter the United States pursuant to an
               immigrant visa only; it does not apply to nonimmigrant visa applicants, including K visa
               applicants. P.P. 9945 also includes a number of exceptions, which are discussed in paragraph 3.
                The types of approved health insurance plans are discussed in paragraph 4. Note: this ALDAC
               provides an overview of the presidential proclamation and implementation; consular officers
               should refer to 9 FAM 302.14-11 for full adjudication guidance. End Summary.

               Suspension and Limitation on Entry for Certain Immigrant Aliens

               2. (U) The President issued P.P. 9945 pursuant to his authority under sections 212(f) and 215(a)
               of the Immigration and Nationality Act (INA) (8 U.S.C. 1182(f) and 1185(a)) and section 301 of
               title 3 of the United States Code. The suspension and limitation on entry only applies to
               immigrant and diversity visa applicants (i.e., aliens seeking to enter the United States as
               immigrants).

               Exceptions to P.P. 9945

               3. (U) The P.P. includes a number of exceptions. It does not apply to:
                       (A) any alien who is holding (or who held) a valid immigrant visa as of November 3,




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                      2019;
                      (B) aliens seeking and qualifying for the following immigrant visa classifications:
                              (1) SI and SQ for Iraqi and Afghan special immigrants and/or their spouses and
                              children;
                              (2) IR-2, CR-2, IR-3, IR-4, IH-3, and IH-4 for children, whether adopted,
                              biological, and step-children, of U.S. citizens; and
                              (3) SB-1 for an immigrant admitted for permanent residence who is returning
                              from a temporary visit abroad;
                      (C) any alien seeking to enter the United States pursuant to an IR-5 visa, “provided that
                      the alien or the alien’s sponsor demonstrates to the satisfaction of the consular officer
                      that the alien’s healthcare will not impose a substantial burden on the United States
                      healthcare system.”
                      (D) any alien under the age of 18, except for those accompanying a parent who is also
                      immigrating to the United States and is subject to P.P. 9945 ;
                      (E) any alien whose entry would further important United States law enforcement
                      objectives, as determined by the Secretary of State or his designee based on a
                      recommendation of the Attorney General or his designee;
                      (F) any alien whose entry would be in the national interest, as determined by the
                      Secretary of State or his designee on a case-by-case basis; and
                      (G) any alien entering the United States without an immigrant visa, such as
                      nonimmigrant visa travelers, including K visa applicants, lawful permanent residents,
                      refugees, and asylees.


               Qualifying Insurance or Ability to Pay for Reasonably Foreseeable Medical Costs

               4. (U) In order to overcome the suspension and limitations on entry imposed by P.P. 9945,
               immigrant visa applicants—other than those covered by exceptions enumerated in paragraph
               three—must demonstrate, to the satisfaction of a consular officer, either A) eligibility for
               coverage under an approved health insurance plan or program, including the means to pay for
               premiums, if any, for such a plan, and the intent to enroll in such a plan or program within thirty
               days of entry to the United States or, B) that they possess the financial resources to pay for
               reasonably foreseeable medical costs. P.P. 9945 indicates that approved health insurance plans
               or programs include:

                       (A) an employer-sponsored plan, including retiree plans, association health plans, and
               coverage provided by the Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA);
                       (B) an unsubsidized health plan offered in the individual market within a State;
                       (C) a short-term limited duration health policy effective for a minimum of 364 days or
               until the beginning of planned, extended travel outside the United States;
                       (D) a catastrophic plan;
                       (E) a family member’s plan;
                       (F) a medical plan under chapter 55 of title 10, United States Code, including coverage
               under the TRICARE program;
                       (G) a visitor health insurance plan that provides adequate coverage for medical care for a
               minimum of 364 days or until the beginning of planned, extended travel outside the United




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               States;
                       (H) a medical plan under the Medicare program;
                       (I) for individuals 18 or younger, coverage under the Medicaid program; or
                       (J) any other health plan that provides adequate coverage for medical care as determined
               by the Secretary of Health and Human Services or his designee.

               5. (SBU) Medicaid does not constitute approved health insurance for individuals over the age of
               18. Non-U.S. citizens are only eligible for Medicare after five years in LPR status; therefore,
               immigrant applicants may not be able to rely on the Medicare program as viable coverage to
               meet the requirements under P.P. 9945, even though it is an approved program. The provider of
               an approved health insurance plan or program does not need to be a U.S.-based company, but
               the plan or program must provide coverage for healthcare costs incurred in the United States.

               6. (SBU) Alternatively, applicants may demonstrate qualification for entry through possession
               of financial resources to pay for reasonably foreseeable medical costs. Given the fact that all IV
               applicants undergo a medical examination and most must also overcome public charge, consular
               adjudicators will already have sufficient medical and financial information at their disposal to
               determine whether or not an individual has a medical condition that will require care once in the
               United States and what financial resources the applicant possesses to cover the cost of that care.
               For the purposes of this assessment, consular officers may consider financial resources of
               sponsors that are available to the applicant.

               Processing

               7. (SBU) For those applicants to whom this mandate applies, during the immigrant visa
               interview consular officers must determine if the applicant currently has or will have (within 30
               days of entry) health insurance, for instance the applicant has a plan to obtain health insurance
               within 30 days via an employer, under a family member’s plan, or through any of the other
               approved mechanisms specified above. Especially since many forms of health insurance cannot
               be secured prior to establishing a U.S. residence, this determination may be made in the course
               of the visa interview rather than through document submission. Consular officers should
               request documentation only as they deem necessary. Applicants are not required to bring
               documentation to the interview, but should be denied under INA section 221(g) to provide
               documentation, as the consular officer deems necessary. If documentation is provided, it does
               not have to be scanned or included in the applicant’s file.

               8. (SBU) In lieu of health insurance, the applicant may demonstrate possession of financial
               resources to pay for reasonably foreseeable medical costs in the United States. P.P. 9945 does
               not include a time-bound limitation on how far into the future officers should look when
               assessing “reasonably foreseeable medical costs,” and officers should not engage in unsupported
               speculation. To assess “reasonably foreseeable medical costs,” consular officers should
               evaluate costs based on an applicant’s current medical state as reflected in the medical report by
               the panel physician. Officers should not speculate on an applicant’s potential future health and
               may only make this determination based on the applicant’s current medical state. An officer
               should consider the applicant’s financial resources as well as funds that may be provided by the
               applicant’s sponsor, which can be determined using Form I-864. For example, if an officer




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               finds that an applicant with a properly filed, non-fraudulent and sufficient Form I-864, is
               healthy, and has no “reasonably foreseeable medical costs,” the officer can reasonably conclude
               that the applicant meets the P.P 9945 requirements for visa issuance.

               9. (SBU) IR-5 applicants are largely exempted from P.P. 9945, provided that the alien or the
               alien’s sponsor demonstrates to the satisfaction of the consular officer that the alien’s healthcare
               will not impose a substantial burden on the United States healthcare system. To determine if an
               alien’s health will not impose a substantial burden, officers should rely on the medical exam to
               determine if there are current health issues, including acute or chronic conditions, that will
               require extensive medical care and likely result in particularly high medical costs. If the
               applicant has such a condition, officers must determine if the applicant has either health
               insurance or funds that will be available to cover foreseeable medical costs.

               10. (SBU) P.P. 9945 applies to derivative applicants under the age of 18 who are accompanying
               a parent who is also immigrating to the United States and subject to P.P. 9945
               “Accompanying” means derivative applicants who are: (1) in the physical company of the
               principal applicant; or (2) issued an immigrant visa within six months of the date of issuance of
               a visa to the principal applicant, the date of adjustment of status in the United States of the
               principal applicant, or the date on which the principal applicant personally appears and registers
               before a consular officer abroad to confer foreign state chargeability or immigrant status upon
               the child. Applicants under the age of 18 who are not considered “accompanying,” (i.e., the
               beneficiary of an immediate relative petition, the principal beneficiary of a family preference
               petition, or who are following to join the principal applicant) are exempt from P.P. 9945.

               11. (SBU) If the consular officer is satisfied that the applicant either has, or will have, health
               insurance within 30 days of entry or possesses sufficient financial resources to pay for
               reasonably foreseeable medical costs, the officer must make a clear case note stating why the
               applicant overcomes P.P. 9945.’s limitation on entry, e.g. “Applicant plans to obtain health
               insurance through spouse’s health insurance policy.” As the applicant is overcoming the
               limitations of P.P. 9945 rather than receiving a waiver, consular officers may proceed directly to
               issuance without entering any refusal codes. If the consular officer is not satisfied that the
               applicant overcomes P.P. 9945, the officer should refuse the applicant under the new refusal
               code

               12. (SBU) Applicants will not be required to provide information demonstrating their eligibility
               under P.P. 9945 to the National Visa Center (NVC) in order to be considered documentarily
               qualified. Therefore, if at the time of interview the consular officer requests additional evidence
               to establish that the applicant has approved health insurance or the financial resources to pay for
               medical costs, the case should first be refused under INA 221(g) in order to allow the applicant
               to submit the requested documentation. If the applicant submits documents that are insufficient
               to overcome the reasons for the INA 221(g) refusal, the applicant must be refused using the
               refusal code         Applicants may still overcome an         refusal by submitting additional
               evidence to convince you that they have or will have approved health insurance within 30 days
               of entry, or that they have the financial resources to pay for reasonably foreseeable medical
               costs in the absence of health insurance. Per Department regulations, an IV applicant may
               present evidence that he or she overcomes a ground of refusal up to one year from the date of




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               refusal. See 9 FAM 504.11-4(A) and (C). For applicants with an approved provisional
               unlawful presence waiver (I-601A), a determination that the applicant is ineligible to receive an
               IV pursuant to P.P. 9945 will result in automatic revocation of the waiver, even if the refusal is
               subsequently overcome. See 9 FAM 302.11-3(D)(1).

               13. (SBU) As P.P.9945’s effective date is November 3, 2019, it will apply to immigrant visa
               cases that were refused under INA 221(g) or any other ground of refusal before November 3,
               2019, but are subsequently overcome or waived. Consular officers reviewing such a case on or
               after November 3, 2019 will need to determine whether the applicant overcomes P.P. 9945’s
               limitation on entry and may need to request additional information from the applicant to do so.
               14. (SBU) Consular officers may use the following refusal language when refusing an applicant

                      This office regrets to inform you that a consular officer refused your visa application
                      because you have been found ineligible to receive a visa under Section 212(f) of the
                      Immigration and Nationality Act, pursuant to Presidential Proclamation 9945, which
                      suspends and limits entry into the United States as immigrants individuals who either
                      will not be covered by approved health insurance within 30 days of their entry into the
                      United States, or who do not possess the financial resources to pay for reasonably
                      foreseeable medical costs.
                      No waiver is available for the grounds of ineligibility. While you are ineligible for a
                      visa at this time, you may overcome this ineligibility in the future by providing
                      additional evidence that you will be covered by approved health insurance or that you
                      possess the financial resources to pay for reasonably foreseeable medical costs.

               15. (SBU) The          refusal is distinct from the public charge ground of ineligibility under INA
               212(a)(4)(A) (4A) and thus, consular officers will make this determination irrespective of
               whether or not an applicant is found ineligible under public charge. Should a consular officer
               find an applicant is subject to P.P. 9945 and ineligible under public charge, they must refuse the
               applicant under both       and

               16. (SBU)P.P. 9945 provides an exception for “any alien whose entry would be in the national
               interest, as determined by the Secretary of State or his designee on a case-by-case basis.”
               Consular officers should only consider the following circumstances as possibly satisfying the
               national interest exception:

                          •    Foreign Relations: Refusal of the immigrant visa application would become a
                              bilateral irritant or be raised by a foreign government with a high-ranking U.S.
                              government official;

                          •    National Security: Admission to the United States would advance a U.S.
                              national security interest;

                          •    Significant Public Interest: Admission to the United States would advance a
                              significant U.S. public interest; or

                          •    Urgent Humanitarian or Medical Reasons: Admission to the United States is




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                              warranted due to urgent humanitarian or medical reasons.
                      If a consular officer determines that an applicant is ineligible under this P.P. 9945 but
                      believes the applicant’s entry may be in the national interest under this criteria, then the
                      consular officer should refuse the applicant under INA 221(g) and submit an email to
                      their VO/F post liaison officer to request the Department’s approval of an exemption.

               17. (U) To inform applicants of this new requirement, CA will update the travel.state.gov
               website, and the National Visa Center and Kentucky Consular Center will also send a message
               to all immigrant visa and diversity visa applicants. However, posts should also engage in a
               concerted effort to inform applicants so that they are adequately prepared to address this issue
               during the visa interview.

               18. (SBU) Posts may not begin implementing P.P.9945 until we update the FAM after receiving
               approval from the Office of Management and Budget (OMB), under the Paperwork Reduction
               Act, of our proposed information collection concerning health insurance-related information. A
               notice of the Department’s proposed information collection will be published in the Federal
               Register on October 30, 2019. We expect OMB approval on November 1 and VO will send an
               e-mail to posts as soon as we learn of OMB’s decision. If OMB approves prior to November 3,
               2019, as expected, then posts must begin implementation of P.P. 9945 on November 3, 2019, in
               accordance with the terms of P.P. 9945. If OMB does not approve the information collection
               prior to November 3, 2019, posts should continue to await further instruction before
               implementing P.P 9945.

               19. (SBU) 9 FAM 302.14-11 will be updated to reflect the new guidelines. Post may address
               questions to the IV portfolio holder in CA/VO/F.


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               Signature:                   Pompeo

               Drafted By:
               Cleared By:                  CA:Brownlee, Ian G


                                            CA/VO:Ramotowski, Edward J




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               Approved By:          CA:Risch, Carl C
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9 FAM 302.14-11 (U) PRESIDENTIAL
PROCLAMATION 9945

9 FAM 302.14-11(A) (U) Grounds
(CT:VISA-XXX;      XX-XX-2019)
a. (U) On October 4, 2019, President Trump issued Presidential
   Proclamation 9945 on the Suspension of Entry of Immigrants who
   will Financially Burden the United States Healthcare System, in
   Order to Protect the Availability of Healthcare Benefits for
   Americans.
b. (U) INA 212(f) provides that whenever the President finds that
   the entry of any aliens or of any class of aliens into the United
   States would be detrimental to the interests of the United States,
   he may by proclamation, and for such period as he deems
   necessary, suspend the entry of all aliens or any class of aliens as
   immigrants or nonimmigrants, or impose on the entry of aliens
   any restrictions he may deem to be appropriate.
c. (U) P.P. 9945 takes effect on November 3, 2019, at 12:01 EDT,
   and suspends and limits entry of aliens as immigrants who
   cannot demonstrate that they will be covered by approved health
   insurance within 30 days of entry into the United States or that
   they possess the financial resources to pay for reasonably
   foreseeable medical costs in the United States.

9 FAM 302.14-11(B) (U) Application

9 FAM 302.14-11(B)(1) (U) P.P. 9945 Applicable to
Certain Immigrant Visa Applicants
(CT:VISA-XXX;      XX-XX-2019)
(U) The suspension and limitation on entry pursuant to P.P. 9945
applies only to aliens seeking to enter the United States pursuant to
an immigrant visa. The suspension and limitation on entry does not
apply to:




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  (1) (U) Any alien holding (or who held) a valid immigrant visa as
      of November 3, 2019;
  (2) (U) Any alien seeking to enter the United States pursuant to
      a Special Immigrant Visa, in either the SI or SQ classification,
      who is also a national of Afghanistan or Iraq, and/or his or
      her spouse and children, if any;
  (3) (U) Any alien who is the child, whether adopted, biological,
      or step-child, of a United States citizen or who is seeking to
      enter the United States pursuant to an IR-2, CR-2, IR-3, IR-
      4, IH-3, or IH-4 visa;
  (4) (U) Any alien seeking to enter the United States pursuant to
      an IR-5 visa, provided that the alien or the alien’s sponsor
      demonstrates to the satisfaction of the consular officer that
      the alien’s healthcare will not impose a substantial burden on
      the United States healthcare system;
  (5) (U) Any alien seeking to enter the United States pursuant to
      a SB-1 visa;
  (6) (U) Any alien under the age of 18, except for any alien
      accompanying a parent who is also immigrating to the United
      States and subject to P.P. 9945;
  (7) (U) Any alien whose entry would further important United
      States law enforcement objectives, as determined by the
      Secretary of State or his designee based on a
      recommendation of the Attorney General or his designee;
  (8) (U) Any alien whose entry would be in the national interest,
      as determined by the Secretary of State or his designee on a
      case-by-case basis; or
  (9) (U) Any alien entering the United States without an
      immigrant visa, such as nonimmigrant visa applicants,
      including K visa applicants, lawful permanent residents,
      refugees, and asylees.

9 FAM 302.14-11(B)(2) (U) Inapplicable to
Nonimmigrants
(CT:VISA-XXX;     XX-XX-2019)




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(U) P.P. 9945 is not applicable to nonimmigrants.

9 FAM 302.14-11(B)(3) (U) Qualifying Insurance or Ability
to Pay for Reasonably Foreseeable Medical Costs
(CT:VISA-XXX;      XX-XX-2019)
a. (U) P.P. 9945 suspends and limits the entry as immigrants of
   aliens who will financially burden the United States healthcare
   system. The P.P. provides that an alien will financially burden the
   United States healthcare system unless the alien will be covered
   by approved health insurance within 30 days of the alien’s entry
   into the United States, or the alien possesses the financial
   resources to pay for reasonably foreseeable medical costs.
b. (U) Approved health insurance means coverage under any of the
   following plans or programs:
  (1) (U) an employer-sponsored plan, including retiree plans,
      association health plans, and coverage provided by the
      Consolidated Omnibus Budget Reconciliation Act of 1985
      (COBRA);
  (2) (U) an unsubsidized health plan offered in the individual
      market within a State;
  (3) (U) a short-term limited duration health policy effective for a
      minimum of 364 days or until the beginning of planned,
      extended travel outside the United States;
  (4) (U) a catastrophic plan;
  (5) (U) a family member’s plan;
  (6) (U) a medical plan under chapter 55 of title 10, United States
      Code, including coverage under the TRICARE program;
  (7) (U) a visitor health insurance plan that provides adequate
      coverage for medical care for a minimum of 364 days or until
      the beginning of planned, extended travel outside the United
      States;
  (8) (U) a medical plan under the Medicare program; or




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  (9) (U) any other health plan that provides adequate coverage
      for medical care as determined by the Secretary of Health
      and Human Services or his designee.

c. (U) For persons over the age of 18, approved health insurance
does not include coverage under the Medicaid program.

d. (U) A family member’s plan is an approved health insurance plan
even if subsidized, except that it may not include coverage under
the Medicaid program for persons over the age of 18, but may
include coverage under the Medicaid program for persons under the
age of 18.

9 FAM 302.14-11(B)(4) (U) Determining Ineligibility
Under P.P. 9945
(CT:VISA-xxx;     xx-xx-2019)
a. (U) Approved health insurance. Applicants subject to P.P.
   9945 must demonstrate, to the satisfaction of the consular
   officer, eligibility for coverage under an approved health
   insurance plan or program, including the means to pay for
   premiums, if any, for such a plan, and the intent to enroll such a
   plan or program within 30 days of arrival to the United States. As
   many forms of health insurance cannot be secured prior to
   establishing a U.S. residence, this determination may be made in
   the course of the visa interview rather than through document
   submission.
b. (U) Financial resources. In lieu of approved health insurance,
   the applicant may demonstrate possession of the financial
   resources to pay for reasonably foreseeable medical costs in the
   United States. P.P. 9945 does not include a time-bound
   limitation on how far into the future officers should look when
   assessing “reasonably foreseeable medical costs,” and officers
   should not engage in unsupported speculation. To assess
   “reasonably foreseeable medical costs,” consular officers should
   evaluate costs based on an applicant’s current medical state as
   reflected in the medical report by the panel physician. Officers
   should not speculate on an applicant’s potential future health and
   may only make this determination based on the applicant’s



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  current medical state. An officer should consider the applicant’s
  financial resources as well as funds that could be provided by the
  applicant’s sponsor, which can be determined using Form I-864.
  For example, if an officer finds that an applicant with a properly
  filed, non-fraudulent and sufficient Form I-864 is healthy and has
  no “reasonably foreseeable medical costs,” the officer can
  reasonably conclude that the applicant meets the requirements of
  the P.P. for visa issuance.
c. (U) IR-5: IR-5 applicants are largely exempted from P.P. 9945
   provided that the alien or the alien’s sponsor demonstrates to the
   satisfaction of the consular officer that the alien’s healthcare will
   not impose a substantial burden on the United States healthcare
   system. To determine if an alien’s health will not impose a
   substantial burden, officers should rely on the medical exam to
   determine if there are current health issues, including acute or
   chronic conditions, which will require extensive medical care and
   likely result in particularly high medical costs. If the applicant
   has such a condition, officers must determine if the applicant has
   either health insurance or funds to cover foreseeable medical
   costs.
d. Applicants Under the Age of 18: P.P. 9645 applies to
   derivative applicants under the age of 18 who are accompanying
   a parent who is also immigrating to the United States and subject
   to P.P. 9945. “Accompanying” means derivative applicants who
   are: (1) in the physical company of the principal applicant; or (2)
   issued an immigrant visa within six months of the date of
   issuance of a visa to the principal applicant, the date of
   adjustment of status in the United States of the principal
   applicant, or the date on which the principal applicant personally
   appears and registers before a consular officer abroad to confer
   foreign state chargeability or immigrant status upon the child.
   Applicants under the age of 18 who are not considered
   “accompanying,” (i.e., the beneficiary of an immediate relative
   petition, the principal beneficiary of a family preference petition,
   or who are following to join the principal applicant) are exempt
   from P.P. 9645.
e. (U) Case Note: If you find the applicant either has or will have
   approved health insurance within 30 days of entry or possesses



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  financial resources to pay for reasonably foreseeable medical
  costs, you must enter a clear case note stating why the applicant
  overcomes the P.P. 9945’s limitation on entry.

9 FAM 302.14-11(B)(5) (U) No Documentary Requirement
(CT:VISA-xxx;     xx-xx-2019)
(U) Consular officers should determine an alien’s eligibility under
P.P. 9945 in the course of the visa interview and adjudication;
consular officer should request documentation only as they deem
necessary. Applicants are not required to bring supporting
documentation to the interview, but a consular officer should deny
the case under INA 221(g) if the officer deems the documentation
necessary to determine eligibility under P.P. 9945, to allow the
applicant time to provide documentation. If documentation is
provided, it does not have to be scanned or included in the
applicant’s file – the consular officer should simply make a case
note of the applicant’s ability to meet the requirement. Applicants
are not required to provide information establishing that they meet
this requirement to the National Visa Center (NVC) in order to be
considered documentarily qualified.

9 FAM 302.14-11(B)(6) (U) Refusals
(CT:VISA-xxx;     xx-xx-2019)
a. (U) HC1 Refusal: If an applicant is not able to establish, to the
   consular officer’s satisfaction, that he or she will have approved
   health insurance within 30 days of entry or, that he or she
   possesses financial resources to pay for reasonably foreseeable
   medical costs, the applicant should be refused under the refusal
   code HC1. Applicants may overcome an HC1 refusal by
   submitting additional evidence to establish that they have or will
   have appropriate health insurance within 30 days of arrival, or
   that they have the financial resources to pay for reasonably
   foreseeable medical expenses in the absence of health insurance.
   For applicants with an approved provisional unlawful presence
   waiver (I-601-A), a determination that the applicant is ineligible
   to receive an IV pursuant to P.P. 9945 will result in automatic




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  revocation of the waiver, even if the refusal is subsequently
  overcome. See 9 FAM 302.11-3(D)(1).
b. (U) INA 221(G) versus HC1 Refusals: If, at the time of
   interview, the consular officer requests additional information to
   establish that the applicant has qualifying insurance or the ability
   to pay for appropriate healthcare, the case should first be refused
   under INA 221(g) in order to allow the applicant to submit the
   requested documentation. If the applicant submits documents
   that are insufficient to overcome the INA 221(g) refusal, the
   applicant must be refused HC1.
c. (U) P.P. 9945 and Public Charge: Refusal under P.P. 9945 is
   distinct from ineligibility under INA 212(a)(4) for public charge.
   Consular officers will make this determination irrespective of
   whether or not an applicant is found likely to become a public
   charge. Should a consular officer also find an applicant ineligible
   under public charge, they must refuse the applicant under both
   4A and HC1.
d. (U) Consular officers may use the following refusal language
   when refusing an applicant HC1:
  This office regrets to inform you that a consular officer refused
  your visa application because you have been found ineligible to
  receive a visa under Section 212(f) of the Immigration and
  Nationality Act, pursuant to Presidential Proclamation 9945,
  which suspends and limits entry into the United States as
  immigrants individuals who either will not be covered by
  approved health insurance within 30 days of their entry into the
  United States, or who do not possess the financial resources to
  pay for reasonably foreseeable medical costs.
  No waiver is available for the grounds of ineligibility. While you
  are ineligible for a visa at this time, you may overcome this
  ineligibility in the future by providing additional evidence that you
  will be covered by approved health insurance or that you possess
  the financial resources to pay for reasonably foreseeable medical
  costs.



9 FAM 302.14-11(B)(7) (U) Law Enforcement Exemption



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(U) The P.P. 9945 limitation on entry does not apply to any alien
whose entry would further important U.S. law enforcement
objectives, as determined by the Secretary of State or his designee
based on a recommendation of the Attorney General or his
designee. The Secretary’s authority has been delegated to the
Assistant Secretary of Consular Affairs and the Deputy Assistant
Secretary of the Visa Office. If you are contacted by a
representative from a U.S. law enforcement agency at post about a
particular applicant or if the Department informs you that a U.S. law
enforcement agency has expressed interest in a particular applicant,
you should refuse the applicant under INA 221(g) and submit an
email to your VO/F post liaison officer to request the Department’s
approval of an exemption.

9 FAM 302.14-11(B)(8) (U) National Interest Exemption
(CT:VISA-xxx;     xx-xx-2019)
(U) The P.P. 9945 limitation on entry provides an exception for “any
alien whose entry would be in the national interest, as determined
by the Secretary of State or his designee on a case-by-case basis.”
That authority has been delegated to the Assistant Secretary of
Consular Affairs and the Deputy Assistant Secretary of the Visa
Office. Consular officers should only consider the following
circumstances as possibly satisfying the national interest exception:

        x Foreign Relations: Refusal of the immigrant visa
          application would become a bilateral irritant or be raised
          by a foreign government with a high-ranking U.S.
          government official;
        x National Security: Admission to the United States would
          advance a U.S. national security interest;
        x Significant Public Interest: Admission to the United
          States would advance a significant U.S. public interest; or
        x Urgent Humanitarian or Medical Reasons: Admission to
          the United States is warranted due to urgent
          humanitarian or medical reasons.




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(U) If you determine that an applicant is ineligible under P.P. 9645,
but you believe the applicant’s entry may be in the national interest,
you should refuse the applicant under INA 221(g) and submit an
email to your VO/F post liaison officer to request the Department’s
approval of an exemption.

9 FAM 302.14-11(C) (U) Waiver

9 FAM 302.14-11(C)(1) (U) Waivers for Immigrants
(CT:VISA-xxx;     xx-xx-2019)
(U) No waiver is available for immigrant visa applicants ineligible
under P.P. 9945.

9 FAM 302.14-11(C)(2) (U) Waivers for Nonimmigrants
(CT:VISA-XXX;      XX-XX-2019)
(U) P.P. 9945 is not applicable to nonimmigrants.

9 FAM 302.14-11(D) (SBU)

9 FAM 302.14-11(D)(1) (SBU)
(CT:VISA-XXX;      XX-XX-2019)
(SBU)




9 FAM 302.14-11(D)(2) (SBU)
(CT:VISA-XXX;      XX-XX-2019)
(SBU)




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is neither accompanied by a parent or         family size makes the alien unlikely to      officers may not consider any income
guardian or following to join a parent or     receive public benefits at any time in       from illegal activities or sources, such as
guardian. The interim final rule also         the future.                                  proceeds from illegal gambling or drug
codifies into regulation existing FAM            Assets, resources, and financial          sales, or income from public benefits, as
guidance that an applicant’s age is a         status: The interim final rule specifies     defined in the interim final rule. This
negative factor in the totality of the        several nonexclusive aspects of the          policy is being explicitly articulated for
circumstances, if the consular officer        alien’s assets, resources, and financial     the first time. The interim final rule
believes it adversely affects the person’s    status consular officers will consider.      then lists several specific nonexclusive
ability to obtain or perform work or may      First, with regard to an alien’s             factors consular officers will consider in
increase the potential for healthcare         household gross income, the interim          evaluating whether the alien’s assets,
related costs that would be borne by the      final rule specifies that annual gross       resources, and financial status make an
public.                                       income for the applicant’s household         alien likely to become a public charge.
   Health: Under the interim final rule,      size of at least 125 percent of the most     These include the alien’s household
consular officers will consider whether       recent Federal Poverty Guidelines based      gross income; the alien’s cash assets and
the alien’s health serves as a positive or    on the applicant’s household size (or        resources; non-cash assets and resources
negative factor in the totality of the        100 percent for an applicant on active       that can be converted into cash within
circumstances, including whether the          duty, other than training, in the Armed      twelve months of the date of the visa
alien has been diagnosed with a medical       Forces), is a positive factor. Second, if    application; the alien’s financial
condition that is likely to require           the applicant’s annual household gross       liabilities; whether the alien has applied
extensive medical treatment or                income is less than 125 percent of the       for, been certified to receive or approved
institutionalization or that will interfere   most recent Federal Poverty Guidelines       to receive, or received, one or more
with the alien’s ability to provide and       (or 100 percent for an applicant on          public benefits, as defined in paragraph
care for himself or herself, to attend        active duty, other than training, in the     (c) of this section on or after October 15,
school, or to work (if authorized). This      Armed Forces) based on the applicant’s       2019, or whether the alien has
new provision clarifies current FAM           household size, the applicant can            disenrolled or requested to be
guidance. The new provision adds that         submit evidence of ownership of assets,      disenrolled from such benefits; whether
consular officers will consider the           which may affect the consular officer’s      the alien has received an immigration
report of a medical examination               determination. If the total value of the     benefit fee waiver from DHS on or after
performed by the panel physician where        household assets, offsetting for             the interim final rule’s effective date;
such examination is required, including       liabilities, is at least five times the      and whether the applicant has private
any medical conditions noted by the           difference between the applicant’s           health insurance or other financial
panel physician. A Class B medical            household gross income and 125               resources sufficient to pay for
condition, including Class B forms of         percent of the Federal Poverty               reasonably foreseeable medical costs.
communicable diseases of public health        Guidelines (or 100 percent for an            This interpretation introduces two
significance, as defined in 42 CFR part       applicant on active duty, other than         factors: past DHS fee waivers and
34, will not, standing alone, result in a     training, in the Armed Forces) for the       private health insurance or other means
finding of ineligibility for public charge.   applicant’s household size, then that        to cover reasonably foreseeable medical
In assessing the effect of the alien’s        will be considered a positive factor.        costs, both of which have direct bearing
health on a public charge determination,      However, if the alien is the spouse or       on the visa applicant’s assets, resources,
the interim final rule provides that the      child of a U.S. citizen, assets totaling
                                                                                           and financial status.
consular officer will consider evidence       three times the difference between the
of health insurance or the ability to pay     alien’s household gross income and 125          The interim final rule also changes
for reasonably foreseeable medical            percent of the Federal Poverty               how consular officers will consider past
expenses in the United States a positive      Guidelines (100 percent for those on         receipt of public benefits. Current FAM
factor in the totality of the                 active duty, other than training, in the     guidance directs consular officers to
circumstances. Under this standard,           Armed Forces) for the alien’s household      consider receipt of public assistance of
lack of health insurance alone would          size is a positive factor. If the alien is   any type by the visa applicant or a
not make an alien more likely than not        a child who will be adopted in the           family member in the visa applicant’s
to become a public charge at any time,        United States and who will likely            household when determining the
but would instead be considered in the        receive citizenship under INA 320, 8         likelihood a visa applicant would
totality of the alien’s circumstances.        U.S.C. 1432, then assets equivalent to or    become a public charge. The interim
This standard generally reflects existing     greater than the difference between the      final rule explicitly addresses the
guidance that certain health issues           alien’s household gross income and 125       applicant’s receipt of public benefits,
could increase the burden on the              percent of the Federal Poverty               and incorporates the Department’s new
applicant to provide information              Guidelines (100 percent for those on         definition of public benefit. Consular
demonstrating the ability to pay for          active duty, other than training, in the     officers will only consider listed public
medical expenses in the United States,        Armed Forces) for the alien’s household      benefits received on or after October 15,
potentially including proof of health         size is a positive factor. This reflects a   2019, except that consular officers will
insurance.                                    change from existing FAM guidance,           consider as a negative factor, but not a
   Family status: The interim final rule      which recognizes income above 125            heavily weighted negative factor, receipt
reflects that when considering an alien’s     percent of the Federal Poverty Guideline     of cash assistance for income
family status, consular officers will         and assets in the amount of five times       maintenance or programs supporting
consider the size of the alien’s              125 percent of the Federal Poverty           institutionalization for long term care in
household, and whether the alien’s            Guideline generally as sufficient            the United States, received, or certified
household size makes the alien likely to      resources for overcoming public charge       for receipt before October 15, 2019.
become a public charge at any time in         concerns.                                    Additionally, the current FAM guidance
the future. The term ‘‘alien’s                   The interim final rule provides that,     does not specifically limit a consular
household’’ is defined in paragraph (d).      when considering an alien’s assets,          officer’s consideration to U.S. forms of
Household size is a positive factor if the    resources, and financial status, consular    public assistance, but the interim final
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rule only covers United States (federal,      removed reference to fee collection for          • The alien has private health
state, local, or tribal) public assistance.   review and assistance with submitting         insurance (other than health insurance
   Education and skills: When                 an affidavit of support at consular posts,    obtained with premium tax credits
considering an alien’s education and          as consular posts do not collect an           under the Affordable Care Act) for use
skills, consular officers will consider       affidavit of support fee overseas.            in the United States covering the
both positive and negative factors               Heavily Weighted Factors: The              expected period of admission.
associated with whether the alien has         interim final rule then introduces               Treatment of forms of public
adequate education and skills to either       certain factors and factual                   assistance received before October 15,
obtain or maintain lawful employment          circumstances that will weigh heavily in      2019. Under this interim final rule,
with an income sufficient to avoid being      determining whether an alien is likely        consular officers will consider as a
likely to become a public charge. In          to become a public charge, including          negative factor, but not as a heavily
assessing whether the alien’s level of        negative and positive factors. The            weighted negative factor as described in
education and skills makes the alien          heavily weighted negative factors are:        paragraph (a)(8) of this section, forms of
likely to become a public charge, the            • The alien is not a full-time student     assistance received prior to October 15,
consular officer must consider, among         and is authorized to work, but is unable      2019 only if such assistance would have
other factors, the alien’s history of         to satisfy the consular officer that he or    been considered in the public charge
employment, educational level (high           she is currently employed, has recent         determination between May 25, 1999
school diploma, or its equivalent, or a       employment history, or a reasonable           and January 2, 2018. These are limited
higher educational degree), any               prospect of future employment;                to (1) any amount of cash assistance for
occupational skills, certifications, or          • The alien has received, or has been      income maintenance, including
licenses, and proficiency in English or       certified or approved to receive, one or      Supplemental Security Income (‘‘SSI’’),
proficiency in other languages in             more public benefits, as defined in 22        Temporary Assistance for Needy
addition to English. This standard            CFR 40.41(c), for more than 12 months         Families (‘‘TANF’’), State and local cash
provides additional detail and in some        in the aggregate within any 36-month          assistance programs that provide
respects changes the guidance currently       period (such that for instance receipt of     benefits for income maintenance (often
given to consular officers in the FAM.        two benefits in one month, counts as          called ‘‘General Assistance’’ programs),
Currently, FAM guidance directs               two months’ worth of benefits),               and (2) programs (including Medicaid)
consular officers to consider the             beginning no earlier than 12 a.m.,            supporting aliens who are
applicant’s skills, length of                 October 15, 2019, or 36 months prior to       institutionalized for long-term care,
employment, and frequency of job              the adjudication of the alien’s visa          received before October 15, 2019. Short-
changes, and permitted consular offices       application, whichever is later;              term institutionalization for
to consider that work experience is              • The alien has been diagnosed with        rehabilitation (including under
evidence of skills. The Department is         a medical condition that is likely to         Medicaid), received before October 15,
superseding the FAM’s treatment of            require extensive treatment or                2019, will not be considered in the
work experience as evidence of skills,        institutionalization or that will interfere   public charge determination under the
by requiring only that consular officers      with the alien’s ability to provide for       interim final rule. Under this interim
consider the alien’s history of               himself or herself, attend school, or         final rule, the Department will no longer
employment. The Department is also            work;                                         authorize consular officers to consider
introducing the new concept of whether           • The alien has no health insurance        other forms of public assistance,
an alien is a primary caregiver,              for use in the United States and has          domestic or foreign, in the totality of the
considering as a positive factor under        neither the prospect of obtaining private     circumstances public charge
the totality of the circumstances if the      health insurance, nor the financial           calculation.
alien is over 18 years of age and has         resources to pay for reasonably                  Public Charge Definition: In paragraph
‘‘significant responsibility for actively     foreseeable medical costs related to such     (b), the interim final rule introduces a
caring for and managing the well-being        medical condition;                            new definition of public charge. Under
of a minor, elderly, ill, or disabled            • The alien was previously found           previous Department guidance in effect
person residing in the alien’s                inadmissible or deportable on public          since May 1999, consular officers
household, such that the alien lacks an       charge grounds by an Immigration Judge        considered an applicant likely to
employment history or current                 or the Board of Immigration Appeals.          become a public charge if the applicant
employment, or is not employed full              The heavily weighted positive factors      is likely, at any time after admission, to
time.’’                                       are:                                          become primarily dependent on the U.S.
   Prospective Visa Classification: The          • The alien’s household has income,        Government (which includes Federal,
interim final rule adds consideration of      assets, resources, or support of at least     state, or local governments) for
the alien’s prospective visa                  250 percent of the Federal Poverty            subsistence. Public charge, for purposes
classification.                               Guidelines for the alien’s household          of INA 212(a)(4)(A) and (B), 8 U.S.C.
   Affidavit of Support: The interim final    size. Consular officers may not consider      1182(a)(4)(A) and (B), is defined under
rule states that a sufficient Affidavit of    any income from illegal activities, e.g.,     the interim final rule as an alien who
Support Under Section 213A of the INA,        proceeds from illegal gambling or drug        receives one or more public benefits for
where it is required, is a positive factor    sales, or any income derived from any         more than 12 months in the aggregate
in the totality of the circumstances if the   public benefit as defined in 22 CFR           within any 36-month period (such that,
sponsor is likely to actually provide the     40.41(c);                                     for instance, receipt of two benefits in
alien with the statutorily required              • The alien is authorized to work and      one month counts as two months’ worth
amount of financial support and other         is currently employed with an annual          of benefits).
related considerations that may indicate      income of at least 250 percent of the            Public Benefit Definition: In
the ability or willingness of the sponsor     Federal Poverty Guidelines for the            paragraph (c), the interim final rule
to provide support. Department                alien’s household size. Consular officers     introduces a new definition of public
guidance has reflected this                   may not consider any income from              benefit. Prior guidance limited the types
interpretation since January 2018. Also,      illegal activities, e.g., proceeds from       of benefits to receipt of public cash
in paragraph (a)(7), the Department           illegal gambling or drug sales; and           assistance for income maintenance and
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institutionalization for long-term care at    the authority of 10 U.S.C. 504(b)(1)(B) or     maintenance and programs supporting
U.S. Government expense. The                  10 U.S.C. 504(b)(2), or in the Ready           institutionalization for long term care in
Department adopted this interpretation        Reserve component of the U.S. Armed            the United States, as detailed in
in the FAM based on the former                Forces.                                        § 40.41(a)(9).
Immigration and Naturalization Service           For the purpose of visa adjudication           Alien’s Household: The interim final
(‘‘INS’’) interpretation of the public        for which the public charge ground of          rule sets out new standards to determine
charge inadmissibility, as explained in       ineligibility applies, public benefit, as      the members of an ‘‘alien’s household’’
the INS Notice, Field Guidance on             defined in this section, does not include      at paragraph (d). One standard applies
Deportability and Inadmissibility on          any public benefit received by an alien        to aliens who are twenty-one years of
Public Charge Grounds, 64 FR 28689            during periods in which the alien was          age or older and also applies to married
(May 26, 1999).                               present in the United States in an             individuals under twenty-one, whereas
   Under the Department’s new                 immigration category that is exempt            a separate standard applies to children,
definition, ‘‘public benefit’’ means:         from the public charge ground of               who are defined by the INA as
   • Any Federal, State, local, or tribal                                                    unmarried persons under twenty-one
                                              inadmissibility, as set forth in 8 CFR
cash assistance for income maintenance                                                       years of age. If the alien is twenty-one
                                              212.23(a), or for which the alien
(other than tax credits), including:                                                         years of age or older, or married and of
                                              received a waiver of public charge
   Æ Supplemental Security Income                                                            any age, the alien’s household includes:
                                              inadmissibility from DHS. Public
(SSI), 42 U.S.C. 1381 et seq.;                                                                  • The alien;
   Æ Temporary Assistance for Needy           benefit does not include health services          • The alien’s spouse, if physically
Families (TANF), 42 U.S.C. 601 et seq.;       for immunizations and for testing and          residing or intending to physically
   Æ Federal, State or local cash benefit     treatment of communicable diseases,            reside with the alien in the United
programs for income maintenance (often        including communicable diseases of             States;
called ‘‘General Assistance’’ in the State    public health significance as defined in          • The alien’s children, as defined in
context, but which also exist under           42 CFR part 34. Public benefits are            101(b)(1) of the INA, 8 U.S.C. 1101(b)(1),
other names);                                 limited to benefits received from              if physically residing or intending to
   • Supplemental Nutrition Assistance        governmental and tribal entities in the        physically reside with the alien;
Program (SNAP), 7 U.S.C. 2011 et seq.;        United States and does not include                • The alien’s other children, as
   • Medicaid under 42 U.S.C. 1396 et         benefits from foreign governments.             defined in section 101(b)(1) of the INA,
seq., except for:                             Public benefit also does not include any       8 U.S.C. 1101(b)(1), not physically
   Æ Benefits received for an emergency       public benefit received by:                    residing or not intending to physically
medical condition as described in                • Children of U.S. citizens whose           reside with the alien for whom the alien
section 1903(v)(2)–(3) of Title XIX of the    lawful admission for permanent                 provides or is required to provide at
Social Security Act, 42 U.S.C.                residence and subsequent residence in          least 50 percent of the children’s
1396b(v)(2)–(3), 42 CFR 440.255(c);           the legal and physical custody of their        financial support, as evidenced by a
   Æ services or benefits funded by           U.S. citizen parent will result                child support order or agreement, a
Medicaid but provided under the               automatically in the child’s acquisition       custody order or agreement, or any other
Individuals with Disabilities Education       of citizenship under the Child                 order or agreement specifying the
Act (IDEA) 20 U.S.C. 1400 et seq.;            Citizenship Act of 2000, Public Law            amount of financial support to be
   Æ school-based services or benefits        106–395, 114 Stat. 1631 (INA section           provided by the alien;
provided to individuals who are at or         320(a)–(b), 8 U.S.C. 1431(a)–(b) in               • Any other individuals (including a
below the oldest age eligible for             accordance with 8 CFR part 320);               spouse not physically residing or not
secondary education as determined                • children of U.S. citizens whose           intending to physically reside with the
under State or local law; or                  lawful admission for permanent                 alien) to whom the alien provides, or is
   Æ benefits received by an alien under      residence will result automatically in         required to provide, at least 50 percent
21 years of age, or a woman during            the child’s acquisition of citizenship         of the individual’s financial support or
pregnancy (and during the 60-day              upon finalization of adoption, if the          who are listed as dependents on the
period beginning on the last day of the       child satisfies the requirements               alien’s United States federal income tax
pregnancy).                                   applicable to adopted children under           return; and
   • Public housing and rental                INA 101(b)(1), 8 U.S.C. 1101(b)(1) in the         • Any individual who provides to the
assistance programs under sections 8–9        United States by the U.S. citizen              alien at least 50 percent of the alien’s
of the Housing Act of 1937, 42 U.S.C.         parent(s) and meets other eligibility          financial support, or who lists the alien
1437f–g.                                      criteria as required by the Child              as a dependent on his or her federal
   Exclusions from the Public Benefit         Citizenship Act of 2000, Public Law            income tax return.
Definition: Public benefit, under the         106–395, 114 Stat. 16341 (INA section             If the alien is a child as defined in
interim final rule, does not include any      320(a)–(b), 8 U.S.C. 1431(a)–(b), in           section 101(b)(1) of the INA, 8 U.S.C.
public benefit received by an alien who       accordance with 8 CFR part 320); or            1101(b)(1), the alien’s household
at the time of receipt of the public             • children of U.S. citizens who are         includes the following individuals:
benefit, or at the time of visa application   entering the United States for the                • The alien;
or visa adjudication, is or was:              purpose of attending an interview under           • The alien’s children as defined in
   • Enlisted in the U.S. Armed Forces        section 322 of the INA, 8 U.S.C. 1433,         section 101(b)(1) of the INA, 8 U.S.C.
under the authority of 10 U.S.C.              in accordance with 8 CFR part 322.             1101(b)(1), physically residing or
504(b)(1)(B) or 10 U.S.C. 504(b)(2) (or is       Additionally, the interim final rule        intending to physically reside with the
the spouse or child of such person),          makes clear that only certain forms of         alien;
   • serving in active duty or in the         public assistance received on or after            • The alien’s other children as
Ready Reserve component of the U.S.           12:00 a.m., October 15, 2019 fall within       defined in section 101(b)(1) of the INA,
Armed Forces (or is the spouse or child       the definition of ‘‘public benefit’’ for the   8 U.S.C. 1101(b)(1), not physically
of such person), or                           purpose of applying the public charge          residing or not intending to physically
   • the spouse or child of an individual     ground of ineligibility, with the              reside with the alien, for whom the
enlisted in the U.S. Armed Forces under       exception of cash assistance for income        alien provides or is required to provide
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at least 50 percent of the children’s        not constitute receipt of public benefit,     consequence, an alien’s reliance on or
financial support, as evidenced by a         but it may be considered as a factor          receipt of non-cash benefits such as
child support order or agreement, a          suggesting likelihood of future receipt.      SNAP, Medicaid, housing vouchers and
custody order or agreement, or any other     An alien’s receipt of, application for, or    other housing subsidies, and other
order or agreement specifying the            certification for, a public benefit solely    programs that DHS now considers
amount of financial support to be            on behalf of another individual does not      ‘‘public benefit’’ pursuant to its new
provided by the alien;                       constitute receipt of, application for, or    definition of ‘‘public charge’’ were not
   • The alien’s parents, legal guardians,   certification for, such alien, regardless     previously considered by DHS or the
or any other individual providing or         of whether the alien might gain               Department in determining whether an
required to provide at least 50 percent      personally from the third party’s benefit.    alien is deemed likely at any time to
of the alien’s financial support to the      This new standard will help consular          become a public charge.
alien as evidenced by a child support        officers implement the new ‘‘public              DHS revised its interpretation of
order or agreement, a custody order or       charge’’ definition at paragraph (b),         ‘‘public charge’’ to incorporate
agreement, or any other order or             referring to an alien who receives one or     consideration of such benefits in order
agreement specifying the amount of           more public benefits, as defined in           to better ensure that aliens subject to the
financial support to be provided to the      paragraph (c) of this section, for more       public charge inadmissibility ground are
alien;                                       than 12 months in the aggregate within        not dependent on public resources to
   • The parents’ or legal guardians’        any 36-month period. It also clarifies        meet their needs, but rather rely on their
other children as defined in section         that consular officers must evaluate          own capabilities, as well as the
101(b)(1) of the INA, 8 U.S.C. 1101(b)(1),   whether the alien is likely to receive one    resources of family members, sponsors,
physically residing or intending to          or more public benefits, the impact of        and private organizations. The DHS rule
physically reside with the alien;            certification for future receipt of a         redefines the term ‘‘public charge’’ to
   • The alien’s parents’ or legal           public benefits, and that the relevant        mean an alien who receives one or more
guardians’ other children as defined in      consideration is the alien’s future           designated public benefits for more than
section 101(b)(1) of the INA, 8 U.S.C.       receipt, or expected receipt, of public       12 months in the aggregate within any
1101(b)(1), not physically residing or                                                     36-month period (such that, for
                                             benefits, not an application or
not intending to physically reside with                                                    instance, receipt of two benefits in one
                                             certification solely on behalf of another
the alien for whom the parent or legal                                                     month counts as two months’ worth of
                                             person. Because 40.41(c) limits the
guardian provides or is required to                                                        benefits). The DHS final rule defines the
                                             definition of ‘‘public benefit’’ to
provide at least 50 percent of the other                                                   term ‘public benefit’ with a finite list of
                                             specified forms of public assistance
children’s financial support, as                                                           public benefits that are considered for
                                             received on or after 12 a.m., October 15,
evidenced by a child support order or                                                      purposes of the public charge
                                             2019, an alien will not be considered to
agreement, a custody order or                                                              determination, including Federal, state,
                                             have received a public benefit before
agreement, or any other order or                                                           local or tribal cash assistance for income
                                             that date.
agreement specifying the amount of                                                         maintenance, Supplemental Security
                                                The paragraph in § 40.41 titled
financial support to be provided by the                                                    Income (‘‘SSI’’), SNAP, most forms of
                                             Prearranged Employment, formerly (e),
parents or legal guardians; and                                                            Medicaid, Section 8 Housing Assistance
   • Any other individual(s) to whom         is redesignated (f). The interim final rule
                                             does not change the text of these             under the Housing Choice Voucher
the alien’s parents or legal guardians                                                     (‘‘HCV’’) Program, Section 8 Project-
provide, or are required to provide at       sections. Finally, the Department is
                                             removing Posting of a Bond, formerly          Based Rental Assistance, and certain
least 50 percent of such individual’s                                                      other forms of subsidized housing. See
financial support or who is listed as a      (d), and Joint Sponsors, formerly
                                             paragraph (c) and Use of the Federal          Inadmissibility on Public Charge
dependent on the parent’s or legal                                                         Grounds, 84 FR 41292 (Aug. 14, 2019).
guardian’s federal income tax return.        Poverty Line Where INA 213A Not
                                                                                              Because section 212(a)(4) of the INA,
   This definition varies in certain         Applicable, formerly paragraph (f).
                                                                                           8 U.S.C. 1182(a)(4), renders
aspects from existing FAM guidance.          These paragraphs were removed
                                                                                           inadmissible aliens ineligible to receive
First, the Department is adopting            because language was not necessary;
                                                                                           visas and ineligible to be admitted to the
different standards for applicants who       they either restated statutory
                                                                                           United States, the Department is also
are at least 21 years of age (or married     requirements or were obsolete.
                                                                                           modifying its interpretation in some
and any age), and children. Prior            II. Why is the Department promulgating        respects. The Department’s new
guidance did not make such distinctions      this rule?                                    standards are intended to avoid
and placed more focus on the alien’s                                                       situations where a consular officer will
sponsor, if required. However, the text      A. Background
                                                                                           evaluate an alien’s circumstances and
of INA 212(a)(4), 8 U.S.C. 1182(a)(4),          On August 14, 2019, DHS issued a           conclude that the alien is not likely at
focuses on whether the visa applicant        final rule outlining its new                  any time to become a public charge,
will become a public charge and              interpretation of the public charge           only for DHS to evaluate the same alien
requires the Department to consider the      ground of inadmissibility. See                when he seeks admission to the United
applicant’s family status.                   Inadmissibility on Public Charge              States on the visa issued by the
   Receipt of Public Benefit: In paragraph   Grounds, 84 FR 41292. Under DHS’s             Department of State and finds the alien
(e), the interim final rule sets out new     prior interpretation of ‘‘public charge’’     inadmissible on public charge grounds
standards for what constitutes ‘‘receipt     an alien would be inadmissible if he or       under the same facts. Although the
of public benefit.’’ Receipt of public       she would be ‘‘primarily dependent on         Department has chosen to follow DHS’s
benefit occurs when a public benefit         the Government for subsistence, as            approach in many respects, this interim
granting agency provides a public            demonstrated by either the receipt of         final rule reflects the Department’s
benefit, as defined in § 40.41(c), to the    public cash assistance for income             independent interpretations and
visa applicant as a beneficiary, whether     maintenance or institutionalization for       policies. In addition, some aspects of
in the form of cash, voucher, services,      long-term care at Government expense.’’       the rule may deviate from the DHS
or insurance coverage. Application or        Since May 1999, Department guidance           approach due to the differing
certification for a public benefit does      has used the same standard. As a              circumstances of visa applicants, who
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reside outside the United States and          U.S.C. 1361. However, most provisions         positive factor, which takes into
typically have not spent substantial time     in section 212(a) of the INA, 8 U.S.C.        consideration ‘‘early retirement age’’ for
in the United States, as contrasted with      1182(a), also require consular officers       Social Security set forth in 42 U.S.C.
applicants for USCIS-administered             either to have a ‘‘reason to believe’’ or     416(l)(2). The 18-through-62 age range is
benefits, which applicants commonly           to evaluate whether as a factual matter       based on the ages at which people are
are in the United States and have spent       something has happened in the past            generally able to work full-time and
substantial time there.                       (e.g., that a visa applicant was convicted    prior to an individual’s general ability to
                                              of a particular crime or engaged in           retire with some social security
B. Specific Provisions
                                              trafficking activity). The public charge      retirement benefits under Federal law.
  In addition to the reasons cited in         provision, like certain other provisions,        Under this provision, being under 18
Section (II)(A), the Department adopts        requires a consular officer to assess the     would be a negative factor. The
the interpretations set forth in the          likelihood of an event happening in the       Department notes this approach reflects
interim final rule based on the               future, which here serves as the sole         the common understanding of when
additional considerations below.              criterion for whether the ineligibility       people are generally able to work full-
1. Basis for Determination of                 applies. To clarify the standard for          time and that children under the age of
Ineligibility                                 consular officers, the Department is          18 generally face difficulties working
                                              interpreting ‘‘likely’’ as ‘‘more likely      full-time. Federal laws, such as the Fair
   The new reference to the Affidavit of      than not’’ in the context of the public       Labor Standards Act, and some state
Support provision for certain                 charge ineligibility ground, which will       laws place restrictions on the ability of
employment-based immigrants reflects          eliminate ambiguity from the phrase           children under the age of 18 to work
the statutory requirement that aliens         ‘‘likely at any time’’ by requiring a         full-time. Additionally, individuals
who are the beneficiary of petitions filed    consular officer to make a finding that       under the age of 18 may be more likely
pursuant to section 212(a)(4)(D) of the       it is probable, i.e., more likely than not,   to qualify for and receive public
INA, 8 U.S.C. 1182(a)(4)(D), by a relative    that an applicant will at any time in the     benefits. For example, the U.S. Census
or an entity in which a relative has a        future become a public charge for this        reported that persons under the age of
significant ownership interest are            ground of ineligibility to apply.             18 were more likely to receive means-
ineligible without an Affidavit of            Conversely, this standard makes clear to      tested benefits than other age groups.
Support from such relative. Significant       applicants that they can avoid                See Jessica L. Semega et al., U.S. Census
ownership interest means 5 percent or         application of the public charge ground       Bureau, Income and Poverty in the
more under existing Department                of ineligibility by demonstrating that it     United States: 2016, at 13 tbl.3 (Sept.
guidance. See also 8 CFR 213a.1. This         is not more likely than not that they will    2017), available at https://
addition does not reflect a policy            become a public charge at any time in         www.census.gov/content/dam/Census/
change. The Department is also                the future.                                   library/publications/2017/demo/P60-
clarifying that consular officers will           The interim final rule also cites in       259.pdf.
consider whether a third party is willing     paragraph (a) to the statutory                   However, consular officers will also
and able to financial support the alien       requirement from section 212(a)(4)(B) of      review the support provided by a parent
in the United States. A third party could     the INA, 8 U.S.C. 1182(a)(4)(B), that         or other source (assets, resources, and
be the sponsor, or, for example, for a B–     consular officers will, at the time of visa   financial status) as part of the totality of
1/B–2 applicant, the alien’s parent or        application, take into account statutory      the circumstances. For example, in the
child. This clarifies current policy and      factors, including the alien’s age; health;   case of a 17-year old child in a United
is not a policy change.                       family status; assets, resources, financial   States boarding school, consular officers
   Also in paragraph (a), the interim         status; and education and skills. The         would consider age to be a negative
final rule incorporates ‘‘more likely than    rule also explains that consular officers     factor. However, the alien’s financial
not’’ as the standard that consular           must consider those factors, among            status or support, such as having
officers will use when evaluating             others, as part of the totality of the        education and living expenses paid for
whether an alien is ‘‘likely’’ to become      applicant’s circumstances. The interim        by someone else, would be a positive
a public charge. Section 212(a)(4) of the     final rule then explains the                  factor that in the totality of the
INA, 8 U.S.C. 1182(a)(4), specifies that      Department’s interpretation of each           circumstances could lead to the
the public charge ground will apply to        factor. The Department’s standards will       conclusion that the applicant is not
‘‘any alien who, in the opinion of the        be implemented through guidance that          likely to become a public charge.
consular officer . . . is likely at any       is consistent with standards announced        Likewise, in the case of a 17-year-old
time to become a public charge’’. The         in the DHS final rule, and will mitigate      who has a credible offer of lawful
Department believes that the word             against the possibility that consular         employment that would make him- or
‘‘likely’’ could be ambiguous to consular     officers would issue a visa to an             herself-sufficient, the alien’s age would
officers, particularly given the overall      individual whom DHS would find                be a negative factor, but a credible offer
subjective nature of the standard (‘‘in       inadmissible based on the same facts.         of employment that would make the
the opinion of the consular officer’’),       However, the Department’s standards           alien self-sufficient would be a positive
and that both consular officers and visa      are in some ways tailored specifically        factor.
applicants would benefit from having a        for unique aspects of visa adjudication.         In codifying existing FAM guidance
more clear standard of proof and                                                            that an applicant’s age above early
adjudicatory framework.                       a. Age                                        retirement age is a negative factor in the
   The requisite degree of proof in civil        Consular officers will consider            totality of the circumstances if the
matters is generally a preponderance of       whether the alien’s age makes the alien       consular officer believes it negatively
the evidence, which is synonymous             more likely than not to become a public       affects the person’s ability to work or
with ‘‘more likely than not.’’ The            charge in the totality of the                 may increase the potential for
standard of proof specified by the INA        circumstances, such as by impacting the       healthcare related costs, the Department
that must be met by individuals               alien’s ability to obtain and perform         does not intend this standard to imply
applying for visas is ‘‘to the satisfaction   work. Consular officers will consider an      that individuals over early retirement
of the consular officer.’’ See INA 291, 8     alien’s age between 18 and 62 as a            age are unable to work. These factors
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will be weighed by consular officers in      an alien who is part of a large household    framework DHS will use for public
analyzing the totality of the applicant’s    may have his or her own income or            charge inadmissibility determinations.
circumstances.                               access to additional assets and resources    See 8 CFR 212.22(b)(4).
                                             that would assist in supporting the             It is still possible that other factors,
b. Health                                                                                 such as an alien’s health and inability
                                             household. All of these factors would be
   The interim final rule generally          considered in the totality of the            to pay for reasonably foreseeable health
restates FAM guidance that directs           circumstances.                               costs, could mean that a consular officer
consular officers to consider a visa           The Department notes that this             could find an alien with such financial
applicant’s health when assessing            approach deviates somewhat from the          resources likely to become a public
whether the applicant is likely to           DHS rule, in that the Department’s           charge. The Department recognizes that
become a public charge. As explained         approach focuses on the alien’s              this factor will be more relevant to
below, the rule introduces additional        intended household in the United             immigrant visa applicants who will
factors related to assets, resources, and    States, rather than any members of his       reside permanently in the United States
financial status, including whether an       foreign household he or she will leave       than nonimmigrant applicants who
applicant will have health insurance or      behind. This difference in effect aligns     intend to travel to the United States for
other means to cover reasonably              the two Departments’ approaches.             a short duration.
foreseeable medical costs (relating to                                                       The interim final rule introduces two
health issues existing at the time of visa   d. Assets, Resources, and Financial          factors related to assets, resources, and
adjudication). Lack of health insurance      Status                                       financial status: Previous DHS fee
alone would not make an alien more              The Department’s interpretation of        waivers and health insurance or other
likely than not to become a public           this factor in the interim final rule        means to cover foreseeable medical
charge at any time, but would instead be     comports with the totality of the            costs. DHS fee waivers are based on an
considered in the totality of the alien’s    circumstances test. Household gross          individual’s inability to pay. 8 CFR
circumstances.                               income above 125 percent of the Federal      103.7(c). A recently granted fee waiver
                                             Poverty Guidelines for the alien’s           is relevant to whether an applicant is
c. Family Status                             household size (100 percent for an alien     likely to become a public charge,
   Under the interim final rule, consular    on active duty, other than training, in      although the factor is less relevant if the
officers will consider whether the alien     the Armed Forces), or assets five times      applicant’s financial status has
has a household to support, or whether       the difference between the applicant’s       materially improved since the waiver
the alien is being supported by another      household gross income and the Federal       was granted. Additionally, a fee waiver
household and whether the alien’s            Poverty Guidelines for the applicant’s       granted by DHS is not considered as a
household size makes the alien likely to     household, is a positive factor.             factor in the public charge
become a public charge. Household size       However, if the alien is the spouse or       inadmissibility determination if the
is a positive factor if the family size      child of a U.S. citizen, assets totaling     alien applied for and was granted a fee
makes the alien unlikely to receive          three times the difference between the       waiver as part of an application for a
public benefits at any time in the future.   alien’s household gross income and 125       benefit request for which a public
   The Department notes that consular        percent of the Federal Poverty               charge inadmissibility under section
officers will frequently view family         Guidelines (100 percent for those on         212(a)(4) of the Act, 8 U.S.C. 1182(a)(4)
status in connection with, among other       active duty, other than training, in the     was not required.
things, the alien’s assets and resources,    Armed Forces) for the alien’s household         The interim final rule’s addition of
because the amount of assets and             size is a positive factor. If the alien is   private health insurance as a factor
resources necessary to support a larger      a child who will be adopted in the           relevant to assets, resources, and
number of people in a household is           United States and who will likely            financial status reflects the fact that
generally greater. Thus, as described in     receive citizenship under INA 320, 8         medical costs can be significant and
the section below on ‘‘Assets, resources,    U.S.C. 1432, then assets equivalent to or    certain public benefits are designed to
and financial status,’’ consular officers    greater than the difference between the      help individuals with limited resources
will consider annual gross income for        alien’s household gross income and 125       to cover medical costs. The fact that an
the applicant’s household size of at least   percent the Federal Poverty Guidelines       applicant has health insurance or other
125 percent of the most recent Federal       (100 percent for those on active duty,       sufficient financial resources makes it
Poverty Guidelines based on the              other than training, in the Armed            less likely that an alien will resort to
applicant’s household size (or 100           Forces) for the alien’s household size is    public benefits to cover medical
percent for an applicant on active duty,     a positive factor. This significant assets   expenses. A consular officer will
other than training, in the Armed            provision allows an alien whose income       consider an alien’s health insurance
Forces) a positive factor. The               is below the applicable income               coverage or other financial resources, in
Department also recognizes DHS               threshold to demonstrate assets to           light of reasonably foreseeable medical
analyses showing that receipt of non-        support himself or herself, thereby          costs (those related to medical issues
cash benefits generally increases as         reducing the likelihood of becoming a        existing at the time of visa
family size increases, and therefore         public charge. This reflects a change        adjudication), in the totality of the
family size is relevant to assessing         from existing FAM guidance, which            applicant’s circumstances. Lack of
whether an alien is likely to become a       recognizes income above 125 percent of       health insurance alone would not make
public charge. See Inadmissibility on        the Federal Poverty Guidelines and           an alien more likely than not to become
Public Charge Grounds, 83 FR 51114,          assets in the amount of five times 125       a public charge at any time, but would
51185, Tables 16 and 17 (proposed Oct.       percent of the Federal Poverty               instead be considered in the totality of
10, 2018). Regardless of household size,     Guidelines generally as sufficient           the alien’s circumstances.
an alien may present other factors (e.g.,    resources for overcoming public charge          The Department also considered
assets, resources, financial status,         concerns. This new standard is more          whether to include a visa applicant’s
education, and skills) that weigh for or     consistent with DHS Affidavit of             credit score or credit report among the
against a finding that the alien is likely   Support requirements, outlined in 8          other factors relevant to assets,
to become a public charge. For instance,     CFR 213a.2(c)(2)(iii)(B), and the            resources, and financial status. The
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Department is aware that the DHS final       degree), any occupational skills,            school graduates and 9.6 percent of
rule includes an alien’s credit history      certifications or licenses, and language     individuals with one or more years of
and credit score among the types of          proficiency. Current guidance directs        college.
evidence USCIS adjudicators consider.        consular officers to consider the               Additionally, data suggest that people
The Department did not include credit        applicant’s skills, length of                who have lower education levels are not
history or credit score in this interim      employment, and frequency of job             only more likely to receive public
final rule, primarily because visa           changes, and permitted consular offices      benefits but also more likely to receive
applicants generally would not have an       to consider work experience as evidence      them for longer periods. For example,
active or recent credit history in the       of skills. Although the interim final rule   49.4 percent of people with less than
United States.                               does not treat work experience as            four years of high school who received
   The interim final rule codifies some      evidence of skills, it does require that     public benefits from a major means-
changes to how consular officers will        consular officers consider the alien’s       tested program between January 2009
consider past receipt of public benefits.    history of employment. Section               and December 2012 continued to
Current guidance directs consular            212(a)(4) of the INA, 8 U.S.C. 1182(a)(4),   participate in the benefit program for 37
officers to consider receipt of public       directs officers to consider the alien’s     to 48 months. In contrast, only 39.3
assistance of any type by the visa           education and skills. The interim final      percent of high school graduates and
applicant or a family member in the visa     rule implements Congress’s directive on      29.0 percent of those with one or more
applicant’s household when                   this mandatory statutory factor. This        years of college who received public
determining the likelihood a visa            formulation is also more similar to the      benefits during the same time period
applicant would become a public              new DHS guidance, and is aimed to            continued to participate in the public
charge. The interim final rule revises       mitigate against situations where a          benefit program for 37 to 48 months. See
this by focusing on receipt of public        consular officer will issue a visa to an     id. The data suggests that a lack of
benefits only by the applicant and           alien who is later found inadmissible by     education increases the likelihood of
incorporates the Department’s new            DHS on the same facts.                       poverty and unemployment, which may
definition of public benefit. Both of                                                     in turn increase the likelihood of
                                                The interim final rule introduces a
these elements align with the DHS rule,                                                   applying for, and participating in,
                                             requirement that consular officers
ensure consistent administration of the                                                   public assistance programs.
                                             consider the following additional               The Department’s treatment of
INA’s public charge provisions, and
                                             information relevant to education and        education and skills in the interim final
minimize the possibility of a consular
officer issuing a visa to an alien who is    skills: Educational level (high school       rule is supported by DHS’s analysis of
later found to be inadmissible by DHS        diploma, or its equivalent, or higher        Survey of Income and Program
on the same facts.                           educational degree), any occupational        Participation data, which shows a
   The Department’s new definition of        skills, certifications or licenses, and      relationship between education level
‘‘public benefit’’ includes only certain     language proficiency. Various studies        and self-sufficiency. See Inadmissibility
forms of public assistance received on       and data show that a higher level of         on Public Charge Grounds, 83 FR 51114,
or after 12 a.m., October 15, 2019,          education and skills is a positive           51190–51196 (proposed Oct. 10, 2018).
although, as explained below in Section      indicator of self-sufficiency. The U.S.         The interim final rule recognizes the
(II)(B)(1)(i), consular officers may         Bureau of Labor Statistics (BLS)             implications of whether the alien is a
consider any amount of cash assistance       observed in 2016 a relationship between      primary caregiver. This factor is
for income maintenance, including            educational level and the                    intended to take into consideration
Supplemental Security Income (SSI),          unemployment rate. See U.S. Bureau of        difficult-to-monetize contributions by
Temporary Assistance for Needy               Labor Statistics, Employment                 aliens who may lack current
Families (TANF), State and local cash        Projections, Unemployment Rates and          employment or an employment history
assistance programs that provide             Earnings by Educational Attainment,          due to their full-time, unpaid care of
benefits for income maintenance (often       2016, available at https://www.bls.gov/      household members. For example, a
called ‘‘General Assistance’’ programs),     emp/chart-unemployment-earnings-             visa applicant may care for a household
and programs (including Medicaid)            education.htm (last updated Mar. 27,         member who will not travel with the
supporting aliens who are                    2018). According to that report, the         visa applicant to the United States. The
institutionalized for long-term care,        unemployment rate for an individual          visa applicant’s employment history
received, or certified for receipt, before   with a doctoral degree was only 1.6          would not accurately reflect the alien’s
October 15, 2019 as a negative factor        percent, compared to 7.4 percent for an      unpaid work as a primary caregiver. In
(but not a heavily weighted negative         individual with less than a high school      this respect, serving as a primary
factor).                                     diploma. According to the U.S. Census        caregiver could be a positive factor in
                                             Bureau, lower educational attainment         the totality of the circumstances.
e. Education and Skills                      was associated with higher public
   When considering an alien’s               benefit program participation rates for      f. Prospective Visa Classification
education and skills, consular officers      people over the age of 18. See Shelley          The interim final rule adds that
will consider whether the alien has          K. Irving & Tracy A. Loveless, U.S.          consular officers will consider the visa
adequate education and skills to either      Census Bureau, Dynamics of Economic          classification sought. This factor relates
obtain or maintain lawful employment         Well-Being: Participation in Government      to the alien’s ability to financially
with an income sufficient to avoid being     Programs, 2009–2012: Who Gets                support himself or herself and the
likely to become a public charge. In         Assistance? (May 2015), available at         members of his or her household while
assessing whether the alien’s level of       https://www.census.gov/content/dam/          in the United States. For example, a
education and skills makes the alien         Census/library/publications/2015/            consular officer’s public charge analysis
likely to become a public charge, the        demo/p70-141.pdf. That report reflected      of an applicant for a B–1 nonimmigrant
consular officer must consider, among        that in 2012, 37.3 percent of people who     visa, who plans to attend a week-long
other factors, the alien’s history of        did not graduate from high school            business meeting, would differ from a
employment, educational level (high          received means-tested benefits,              longer term nonimmigrant applicant,
school diploma or higher educational         compared with 21.6 percent of high           such as an H–1B nonimmigrant
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specialty worker, who would reside and        submit a sufficient Affidavit of Support      and 2009 to 2012, which show that, in
work in the United States for years at a      is ineligible as a public charge. To be       each of the covered years, individuals
time, and would differ even more from         sufficient, an Affidavit of Support must      with full-time work were less likely to
an immigrant visa applicant who               meet the requirements of 8 CFR part           receive means-tested benefits during the
intends to reside permanently in the          213a. Also, in paragraph (b), the             year (ranging from 4.5 percent to 5.1
United States and may not have pre-           Department removed reference to fee           percent of full-time workers who
arranged employment. In this respect,         collection for review and assistance          received benefits) than those who were
the visa classification, including the        with submitting an affidavit of support       unemployed (ranging from 24.8 percent
purpose and duration of travel, are           at consular posts because consular posts      to 31.2 percent of unemployed
relevant to assessing the likelihood that     do not collect an affidavit of support fee    individuals who received benefits). See
an alien would avail himself or herself       overseas.                                     Jeongsoo Kim, Shelley K. Irving, & Tracy
of public benefits (noting that in many                                                     A. Loveless, U.S. Census Bureau,
                                              h. Heavily Weighted Factors
cases visa applicants may not be eligible                                                   Dynamics of Economic Well-Being:
for public benefits in the United States),      The interim final rule provides that        Participation in Government Programs,
and therefore consular officers must          certain factors or factual circumstances      2004 to 2007 and 2009—Who Gets
evaluate these factors on a case-by-case      will weigh heavily in determining             Assistance? (July 2012), available at
basis.                                        whether an alien is likely to become a        https://www2.census.gov/library/
   That is not to say that a B–1              public charge. The mere presence of one       publications/2012/demo/p70-130.pdf;
nonimmigrant applicant is subject to a        of these enumerated circumstances             Shelley K. Irving & Tracy A. Loveless,
lower standard than an H–1B                   would not, alone, be determinative. A         U.S. Census Bureau, Dynamics of
nonimmigrant or immigrant under the           heavily weighted factor could be              Economic Well-Being: Participation in
statute or this interim final rule, but the   outweighed by countervailing evidence         Government Programs, 2009–2012: Who
immigration status sought by the              in the totality of the circumstances.         Gets Assistance? (May 2015), available
applicant will be highly relevant context     While heavily weighted factors are            at https://www.census.gov/content/
for the consular officer’s totality of the    circumstances the Department considers        dam/Census/library/publications/2015/
circumstances determination. An               particularly indicative of the likelihood     demo/p70-141.pdf. The Department
applicant with a serious chronic health       an alien will become a public charge,         recognizes that not everyone authorized
condition seeking medical treatment in        they are evaluated in conjunction with        to work needs to work and thus the
the United States on a tourist visa           other relevant positive and negative          Department does not require a working
would be expected to establish that he        factors in the totality of the alien’s        age alien to have an employment history
or she has the means and intent to pay        circumstances.                                as part of the public charge
for all reasonably foreseeable treatment.                                                   determination. Some aliens may have
                                              i. Heavily Weighted Negative Factors
By demonstrating the ability to cover                                                       sufficient assets and resources,
the medical expenses anticipated on a            The interim final rule provides that       including a household member’s
short-term trip to the United States, the     certain factors are weighted as heavily       income and assets, which may
applicant can demonstrate that even           negative because these factors are            overcome any negative factor related to
though health presents as a negative          particularly indicative of a likelihood       lack of employment. For example, some
factor, the applicant has financial           that the alien would become a public          student visa applicants may have
resources that make it unlikely the           charge, particularly with regard to the       scholarships that cover the cost of
applicant would avail himself or herself      alien’s ability to be self-sufficient.        education as well as living expenses
of one or more public benefits.               Heavily weighted negative factors             during the time of their studies. Further,
However, an immigrant visa applicant          include:                                      students generally acquire skills as part
with the same serious chronic health          a. Lack of Recent Employment or               of their studies so that post-education
condition and need for ongoing                Prospect of Future Employment                 they will be able to obtain employment.
treatment would have to satisfy a                                                           Consular officers will review those
consular officer that he or she has the          As long as an alien is not a full-time     considerations in the totality of the
means to pay for long-term care.              student and is authorized to work in the      circumstances.
                                              alien’s place of residence abroad and, if
g. Affidavit of Support                       relevant, in the United States, the           b. Current or Certain Past Receipt of
   The interim final rule provides that a     interim final rule sets the absence of        Public Benefits
properly filed, non-fraudulent, and           current employment, employment                   Under § 40.41(a)(8)(i)(B), receipt of
sufficient Affidavit of Support, in those     history, or reasonable prospect of future     one or more public benefits, as defined
cases where it is required, is a positive     employment as a heavily weighted              in § 40.41(c), is a heavily weighted
factor in the totality of the                 negative factor. Self-sufficiency             negative factor in a consular officer’s
circumstances. In the totality of the         generally involves people being capable       public charge determination if an alien
circumstances review, the consular            and willing to work and being able to         has received or has been certified or
officer would take into consideration         secure and maintain gainful                   approved to receive one or more public
the likelihood that the sponsor actually      employment. Various studies and data          benefits for more than 12 months in the
would provide the required financial          show that a person’s education, skills,       aggregate within any 36-month period,
support, based on the any available           and employment history, are positive          beginning no earlier than 36 months
relevant information about the sponsor.       factors for self-sufficiency. See Section     prior to the alien’s visa application or
Since January 2018, FAM guidance has          (II)(B)(1)(e), above. In addition, the lack   after October 15, 2019, whichever is
reflected that a properly filed, non-         of positive employment history and            later. Under this interim final rule,
fraudulent Affidavit of Support, in those     demonstrable marketable skills are            receipt of two benefits in one month
cases where it is required, is a positive     indicative of an increased likelihood         counts as two months’ worth of benefits.
factor in the totality of the                 that an individual would avail himself        Current receipt of one or more public
circumstances analysis, and that an           or herself of public benefits. This           benefits, alone, will not always justify a
alien who is required to submit an            concept is supported by two Census            finding of ineligibility on public charge
Affidavit of Support but who fails to         Bureau studies covering 2004 to 2007          grounds. However, an alien’s current
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receipt of one or more public benefits       benefit received within the previous          conditions through panel physician
suggests that the alien may continue to      three years prior to the visa application     medical examinations or the alien’s
receive one or more public benefits in       and for more than twelve months               disclosure of a medical condition. If a
the future and would be more likely to       (assuming the twelve months occurred          consular officer has reason to believe a
be a public charge as defined under          after October 15, 2019 and was for more       visa applicant’s medical condition will
§ 40.41(b).                                  than 12 of 36 months in the aggregate)        require extensive medical treatment or
  With regard to current receipt of          is considered a heavily weighted              institutionalization, or will interfere
public benefits, according to U.S.           negative factor. The weight given to the      with the alien’s ability to provide for
Census Bureau data, the largest share of     receipt of public benefits will depend        himself or herself, attend school, or
participants (43.0 percent) who              not only on how long ago and for how          work, the consular officer will require
benefited from one or more means-            long the alien received the benefits, but     the visa applicant to explain how he or
tested assistance programs between           also on whether the alien received            she will cover medical costs in the
January 2009 and December 2012               multiple benefits.                            United States. It is a heavily weighted
continued to receive program benefits           The interim final rule makes clear that    negative factor if such an alien does not
for between 37 and 48 months. See U.S.       consular officers will only consider past     have private health insurance to cover
Census Bureau, News Release: 21.3            receipt of public benefits on or after        such expenses in the United States and
Percent of U.S. Population Participates      October 15, 2019, as a heavily weighted       has neither the prospect of obtaining
in Government Assistance Programs            negative factor. The definition of            private health insurance to cover
Each Month (May 28, 2015), available at      ‘‘public benefit’’ in § 40.41(c) only         medical expenses in the United States,
https://www.census.gov/newsroom/             applies to benefits received on or after      nor the financial resources to pay for
press-releases/2015/cb15-97.html. A          October 15, 2019.                             reasonably foreseeable medical costs
separate U.S. Census Bureau study                                                          related to such medical condition.
                                             c. Lack of Financial Means to Pay for
showed that an individual who received
                                             Medical Costs                                 d. Prior Public Charge Inadmissibility or
benefits at any point during a two-year
timespan was likely to receive benefits         An alien presents a high risk of           Deportability Finding
every month during the period studied,       becoming a public charge if he or she            A prior finding by an Immigration
suggesting relatively long periods of        does not have private health insurance        Judge or the Board of Immigration
receipt of benefits. Between January         and also lacks the prospect of obtaining      Appeals that the visa applicant was
2004 and December 2005, a greater            private health insurance or the financial     inadmissible under INA 212(a)(4), 8
share of the population received one or      resources to pay for reasonably               U.S.C. 1182(a)(4), or deportable under
more means-tested benefits for the           foreseeable medical costs related to an       INA 237(a)(5), 8 U.S.C. 1227(a)(5) (for
entire 24-month study period (10.2           existing medical condition. The risk          having become a public charge within
percent) than for either one to 11           increases if the alien is likely to require   five years after date of entry to the
months (8.5 percent) or 12 to 23 months      extensive medical treatment or                United States, not from causes
(6.5 percent). See Jeongsoo Kim, Shelley     institutionalization or the condition will    affirmatively shown to have arisen since
K. Irving, & Tracy A. Loveless, U.S.         interfere with the alien’s ability to         entry) is a heavily weighted negative
Census Bureau, Dynamics of Economic          provide care for him- or herself, to          factor; however, a past public charge
Well-Being: Participation in Government      attend school, or to work. If the             finding is not necessarily dispositive of
Programs, 2004 to 2007 and 2009—Who          applicant has no medical conditions           whether the individual subsequently
Gets Assistance? (July 2012), available at   existing at the time of visa adjudication,    will be denied a visa on public charge
https://www2.census.gov/library/             he or she would have no reasonably            grounds. The Department recognizes
publications/2012/demo/p70-130.pdf.          foreseeable medical costs.                    that individual circumstances can
The Department views current receipt of         Certain chronic medical conditions         change with the passage of time. This
public benefits as a strong indicator that   can be costly to treat and an alien is a      approach aligns with the DHS final rule.
an alien will continue to receive public     high risk of incurring significant
benefits after admission to the United       medical costs if he or she has such a         ii. Heavily Weighted Positive Factors
States and is, therefore, likely to become   condition. See U.S. Dep’t of Health &            The interim final rule provides that
a public charge. However, an alien may       Human Servs., Research In Action, Issue       certain factors will be weighted as
be able to establish circumstances           #19: The High Concentration of U.S.           heavily positive, because they strongly
indicating that the receipt of public        Health Care Expenditures (June 2006),         indicate the alien would not become a
benefits will stop in the near future,       available at https://archive.ahrq.gov/        public charge. Heavily weighted
prior to admission to the United States      research/findings/factsheets/costs/           positive factors include:
on the visa being sought.                    expriach/expendria.pdf; see also
                                             https://www.cdc.gov/chronicdisease/           a. Alien’s Household Has Income,
   An alien’s past receipt of public
benefits at any time on or after October     about/costs/index.htm (costs associated       Assets, Resources, or Support of at Least
15, 2019, for more than 12 months in         with certain chronic diseases).               250 Percent of the Federal Poverty
the aggregate within the 36 months              Certain conditions may adversely           Guidelines
immediately preceding his or her             affect an applicant’s ability and capacity       If the alien’s household has financial
application is a heavily weighted            to obtain and retain gainful                  assets, resources, support or annual
negative factor in determining whether       employment. Other conditions could            income of at least 250 percent of the
the alien is likely to become a public       result in long-term institutionalization      Federal Poverty Guidelines for the
charge. However, an alien’s past receipt     in a health care facility. Id. According      alien’s household size, then that will be
of T any designated public benefits is       to the Multiple Chronic Conditions            considered a heavily weighted positive
considered a negative factor, even if not    Chartbook 2010 Medical Expenditure            factor in the totality of the
a heavily weighted one. For example,         Panel Survey Data, 86 percent of the          circumstances. DHS’s analysis of Survey
the receipt of a public benefit five years   nation’s $2.7 trillion annual health care     of Income and Program Participation
ago (assuming the evaluation was on or       expenditures were for individuals with        data on income and participation in
after October 1, 2024) would be a            chronic or mental health conditions. Id.      public benefit programs shows that
negative factor; however, a public           Consular officers will learn of medical       participation in programs that
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administer ‘‘public benefits,’’ as defined   i. Treatment of Benefits Received Before     depend on public resources to meet
for the purpose of this rule, declines       October 15, 2019                             their needs, but rather rely on their own
significantly for individuals with an           Under the interim final rule, consular    capabilities and the resources of their
income at least 250 percent of the           officers will consider, as a negative        families, their sponsors, and private
Federal Poverty Guidelines. See              factor, but not as a heavily weighted        organizations.’’ See 8 U.S.C. 1601(2)(A).
Inadmissibility on Public Charge                                                             There is a scarcity of legislative
                                             negative factor, any amount of cash
Grounds, 83 FR 51206, (October 10,                                                        guidance and case law interpreting
                                             assistance for income maintenance,
2018) (noting, e.g., that use of SNAP                                                     public charge. Legislative history,
                                             including Supplemental Security
                                                                                          however, suggests a link between public
benefits declines from a 21.2 percent        Income (SSI), Temporary Assistance for
                                                                                          charge and the receipt of public
participation rate for those with income     Needy Families (TANF), State and local
                                                                                          benefits. According to a 1950 Senate
between 125–250 percent of the Federal       cash assistance programs that provide
                                                                                          Judiciary Committee report, which led
Poverty Guidelines to 15 percent for         benefits for income maintenance (often
                                                                                          up to passage of the INA in 1952, a
those with incomes between 250–400           called ‘‘General Assistance’’ programs),     Senate subcommittee highlighted
percent of the Federal Poverty               and programs (including Medicaid)            concerns raised by an immigration
Guidelines). This approach aligns with       supporting aliens who are                    inspector about aliens receiving old age
the DHS final rule. Accordingly, the         institutionalized for long-term care,        assistance. The Senate subcommittee
Department will treat income, assets,        received, or certified for receipt, before   recommended against establishing a
resources, or support that is at least 250   October 15, 2019. This is reflective of      strict statutory definition of public
percent of the Federal Poverty               the fact that under previous Department      charge. Because the circumstances that
Guidelines as a heavily weighted             guidance in effect since May 1999,           indicate any given individual’s
positive factor.                             consular officers considered an              likelihood of becoming a public charge
                                             applicant likely to become a public          vary, the subcommittee instead
b. Alien With Work Authorization Has         charge if the applicant was likely, at any   recommended that the determination of
Income of at Least 250 Percent of the        time after admission, to become              whether an alien is likely to become a
Federal Poverty Guidelines                   primarily dependent on the U.S.              public charge should rest within the
                                             Government (which includes Federal,          discretion of consular officers and the
   The Department will consider an           state, or local governments) for             Commissioner. See 1950 Omnibus
alien with work authorization and            subsistence. However, the mere receipt       Report of the Senate Judiciary
income of at least 250 percent of the        of these benefits does not automatically     Committee, S. Rep. No. 81–1515, at 349
Federal Poverty Guidelines as a heavily      make an alien ineligible for the visa.       (1950).
weighted positive factor. In addition to     Consular officers will make each                In setting the standard as receipt of
the reasons provided in the prior            determination on a case-by-case basis in     public benefits for more than 12 months
paragraph, this level of income suggests     the context of the totality of the           in the aggregate within any 36-month
that the alien has obtained a level of       circumstances. The Department will not       period (such that, for instance, receipt of
self-sufficiency and that he or she          consider as a negative factor any other      two benefits in one month counts as two
would be less likely to become a public      public assistance received, or certified     months’ worth of benefits) the
charge, barring unforeseen changes in        for receipt, before October 15, 2019.        Department recognizes that States have
circumstances. This aligns with the DHS      2. Public Charge Definition                  developed widely varying approaches to
final rule.                                                                               the imposition of time limits for the
                                                The Department’s interim final rule       receipt of public benefits. On the
c. Alien Has Private Health Insurance        interprets public charge as the receipt of   Federal level, PRWORA established a
                                             one or more public benefits, as defined      60-month time limit on the receipt of
   Additionally, consular officers will      in paragraph (b) of § 40.41, for more        federally funded Temporary Assistance
consider as a heavily weighted positive      than 12 months in the aggregate within       for Needy Families (TANF) program
factor that an alien is covered by private   any 36-month period. Receipt of two          benefits. See 42 U.S.C. 608(a)(7) and 45
health insurance (other than health          benefits in one month counts as              CFR 264.1. Some states have adopted
insurance obtained with premium tax          receiving benefits for two months. Prior     shorter lifetime limits on benefit receipt;
credits under the Affordable Care Act)       Department guidance limited the              in 2017, fourteen States had lifetime
that can be used in the United States        interpretation of ‘‘likely to become a       limits of less than 60 months and nine
during the entire period of the alien’s      public charge’’ to ‘‘likely to become        states had intermittent time limits. See
anticipated stay in the United States.       primarily dependent on the U.S.              Heffernan, Christine, Benjamin
This approach is supported by DHS’s          Government (which includes Federal,          Goehring, Ian Hecker, Linda Giannarelli,
analysis of Survey of Income and             state, or local governments) for             and Sarah Minton (2018). Welfare Rules
Program Participation data, which            subsistence’’ (previously meaning            Databook: State TANF Policies as of July
indicates that the fact that an alien has    receipt of public cash assistance for        2017, OPRE Report 2018- 109,
health insurance is indicative of the        income maintenance or                        Washington, DC: Office of Planning,
alien’s ability to be self-sufficient. See   institutionalization for long-term care at   Research, and Evaluation,
Inadmissibility on Public Charge             U.S. Government expense). The                Administration for Children and
Grounds, 84 FR 41292, 41449 (Aug. 14,        Department believes this new, more           Families, U.S. Department of Health and
2019). In excluding health insurance         rigorous implementation of the public        Human Services https://wrd.urban.org/
                                             charge visa ineligibility is consistent      wrd/data/databooks/2017%20Welfare
obtained with premium tax credits
                                             with section 212(a)(4) of the INA, 8         %20Rules%20Databook%20(final
under the Affordable Care Act from the
                                             U.S.C. 1182(a)(4), and congressional         %2010%2031%2018).pdf (last visited
category of heavily weighted positive        objectives stated in the Personal            Sept. 13, 2019).
factors, though not from consideration       Responsibility and Work Opportunity             The Department’s position is that an
as a positive factor, the Department         Act of 1996 (PRWORA), where Congress         individual who receives public benefits
observes that DHS adopted this               noted that aliens subject to the public      for more than 12 months, in the
approach in its final rule.                  charge visa ineligibility should ‘‘not       aggregate, during a 36-month period is
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neither self-sufficient nor on the road to   benefit’’ that extend significantly              forms of assistance represent an
achieving self-sufficiency, and may          beyond the Department’s prior guidance           appropriately comprehensive and also
appropriately be considered a public         in the public charge context. While              readily administrable application of the
charge. The Department’s                     PRWORA allows some aliens to receive             public charge ground of ineligibility.
implementation deems receipt of public       certain benefits covered under its               The interim final rule will supersede the
benefits for such a duration as              expansive definitions, Congress did not          current policy, which allows consular
exceeding what could reasonably be           exclude the lawful receipt of such               officers to consider past receipt of any
defined as a nominal level of support        benefits from consideration for purposes         forms of public assistance, at any time.
that merely supplements an alien’s           of INA section 212(a)(4), 8 U.S.C.               The Department observes that DHS
independent ability to meet his or her       1182(a)(4). Further, the Department’s            proposed a similar approach in its
basic living needs. This new definition      definition of ‘‘public benefit’’ is              NPRM, but, following public comments,
aligns with the new DHS rule.                consistent with the Congressional goals          opted for the approach reflected in this
3. Public Benefit                            articulated in PRWORA, specifically
                                                                                              interim final rule when it finalized its
                                             that aliens subject to the public charge
   In general: As described above, the                                                        rule. For consistency with the DHS
                                             visa ineligibility should ‘‘not depend on
Department’s prior guidance interpreted      public resources to meet their needs, but        standard, as well as for increased
the public charge ground of ineligibility    rather rely on their own capabilities and        transparency and to provide a clear and
to include only public cash assistance       the resources of their families, their           helpful limitation on the scope of
for income maintenance and                   sponsors, and private organizations.’’           review for consular officers and visa
institutionalization for long-term care at   See 8 U.S.C. 1601(2)(A). The                     applicants, the Department is adopting
U.S. Government expense. Guidance on         Department chose to include the                  the DHS final rule’s approach.
public cash assistance for income            specific non-cash benefits covered
maintenance was further clarified to                                                          a. Exception for Certain Individuals
                                             under the definition of ‘‘public benefit’’       Enlisted or Serving in the U.S. Armed
include supplemental security income         because these benefits assist recipients
(SSI); TANF cash assistance, but not                                                          Forces, Spouse, and Children
                                             in meeting basic living requirements,
supplemental cash benefits or any non-       namely food, housing, and medical care.
cash benefits provided under TANF;                                                               Under the interim final rule, consular
                                             The receipt of any of the listed benefits        officers will not consider receipt of
and state and local cash assistance          indicates that the recipient, rather than
programs that provide for income                                                              public benefits by those enlisted in the
                                             being self-sufficient, needs the                 U.S. Armed Forces, or serving in active
maintenance (often referenced as ‘‘state
                                             government’s assistance to meet basic            duty or in the Ready Reserve component
general assistance’’). This previous
                                             living requirements.                             of the U.S. Armed Forces, and their
guidance explicitly excluded other              Since 1999, the Department, when
benefits including non-cash benefits                                                          families, when assessing whether such
                                             applying the public charge ineligibility
such as the SNAP, Medicaid, housing                                                           individuals are likely to become a
                                             ground, has considered only whether an
vouchers and other housing subsidies,        alien is likely to become primarily              public charge. The United States
and other programs. The Department           dependent for subsistence on the U.S.            Government is profoundly grateful for
adopted this interpretation based on an      Government, which includes Federal,              the unparalleled sacrifices of the
INS interpretation of the public charge                                                       members of our armed services and
                                             state, or local governments, by resorting
inadmissibility, as explained in the INS                                                      their families. The Department
                                             to income maintenance and
Notice, Field Guidance on Deportability                                                       recognizes that some service members,
                                             institutionalization for long-term care at
and Inadmissibility on Public Charge                                                          during their service, or their family
                                             government expense. However, current
Grounds, 64 FR 28689 (May 26, 1999).                                                          members, qualify for and receive public
   The new rule broadens the                 FAM guidance says:
                                               There are many forms of public assistance
                                                                                              benefits in addition to the salary and
Department’s interpretation of ‘‘public
                                             that an applicant may have accepted in the       benefits provided by the U.S.
benefit’’ for purposes of applying the
                                             past, or that you may reasonably believe an      government. Their sacrifices, including
public charge ground of ineligibility to
                                             applicant might receive after admission to       risking life and limb, are so vital to the
include public cash assistance for           the United States, that are of a non-cash and/
income maintenance, SNAP, most forms                                                          public’s safety and security that the
                                             or supplemental nature and should not be         Department finds this exception
of Medicaid, Section 8 Housing               considered to be benefits when examining
Assistance under the Housing Choice          the applicant under INA 212(a)(4), and may       warranted. The Department understands
Voucher (HCV) Program, Section 8             only be considered as part of the totality of    that many of the individuals who enlist
Project-Based Rental Assistance, and         the applicant’s circumstances in determining     in the military are early in their careers,
certain other forms of subsidized            whether an applicant is likely to become a       and therefore, consistent with statutory
                                             public charge.                                   pay authorities, earn relatively low
housing.
   The Department believes this                 Under the interim final rule, the             salaries that are supplemented by
interpretation of public benefit is          Department will only treat receipt of the        certain other allowances and tax
consistent with INA section 212(a)(4), 8     specified forms of public assistance on          advantages provided by the U.S.
U.S.C. 1182(a)(4). The sparse statutory      or after 12:00 a.m., October 15, 2019 as         government. See Inadmissibility on
language and legislative history allows      a ‘‘public benefit’’ for the purposes of         Public Charge Grounds, 84 FR 41371;
for a wide range of interpretations,         applying the public charge ground of             see also Final Rule, Inadmissibility on
including both the Department’s              ineligibility, and will only consider cash       Public Charge Grounds; Correction, 84
previous more limited definition of          assistance for income maintenance and            FR 52357 (Oct. 10, 2019). This approach
public benefit focused on cash               programs supporting institutionalization         is consistent with the DHS rule. For
assistance and this broader definition.      for long term care in the United States          these reasons, the Department’s interim
   The definition of ‘‘public benefit’’ in   that are not included in the new                 final rule excludes consideration of the
this interim final rule is also consistent   definition of ‘‘public benefit’’ that were
                                                                                              receipt of any public benefits by active
with PRWORA. That statute includes           received or certified for receipt prior to
                                                                                              duty service members and their spouses
broad definitions of ‘‘federal public        October 15, 2019. The Department
benefit’’ and ‘‘state or local public        believes that consideration of these             and children.
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b. Exception for Aliens Present in the       criteria. International adoptions vary          The following categories of children
United States in an Immigration              depending on the laws of the country of      are lawfully admitted for permanent
Category Exempt from the Public Charge       origin, the laws of the U.S. State of        residence for finalization of adoption:
Ground                                       residence, and multiple other factors. In       • IR–4/IR–9 (Orphan to be adopted by
                                             the majority of cases, adoptions are         a U.S. citizen). Generally, the parent(s)
   For the purpose of immigration
                                             finalized in the country of origin before    must complete the adoption in the
benefit adjudication, DHS does not
                                             the child enters the United States and       United States. However, the child will
consider public benefits received by an
                                             the child automatically acquires U.S.        also be admitted as an IR–4 if the
alien during periods in which the alien
                                             citizenship upon admission to the            foreign adoption was obtained without
was present in the United States in an
                                             United States. Children whose                either parent having seen the child
immigration category that is exempt                                                       during the adoption proceedings, or
from the public charge ground of             adoptions are not finalized until after
                                             their admission or who were subject to       when the parent(s) must establish that
inadmissibility or for which the alien                                                    they have either ‘‘readopted’’ the child
received a waiver of public charge           custody orders permitting immigration
                                             to and adoption in the United States do      or obtained recognition of the foreign
inadmissibility. 8 CFR 212.21(b)(8).                                                      adoption in the State of residence (this
Likewise, for the purpose of                 not automatically acquire citizenship
                                             after admission. They may acquire            requirement can be waived if there is a
adjudicating visa applications, consular                                                  statute or precedent decision that
officers will not consider public benefits   citizenship, however, upon completing
                                             an adoption in the United States or          clearly shows that the foreign adoption
an alien received during any periods in                                                   is recognized in the State of residence).
which the alien was present in the           having the foreign adoption recognized
                                             by the State where they are permanently      See 8 CFR 320.1.
United States in an immigration                                                              • IH–4 (Hague Convention Adoptee to
category that is exempt from the public      residing, after which they would be
                                             eligible to naturalize. See U.S. Dep’t of    be adopted by a U.S. citizen). These
charge ground of visa ineligibility, or if                                                children are lawfully admitted for
the alien was the recipient of a waiver      State, 2018 Annual Report on
                                             Intercountry Adoptions, available at         permanent residence and the parent(s)
of the public charge ground of                                                            must complete the adoption in the
ineligibility.                               https://travel.state.gov/content/travel/
                                             en/Intercountry-Adoption/adopt_ref/          United States. INA section 101(b)(1), 8
c. Exception for Foreign-Born Children       adoption-publications.html.                  U.S.C. 1101(b).
of U.S. Citizens                                                                             Furthermore, children of U.S.
                                                The following categories of children      citizens, who are residing outside of the
   In some cases, the children of U.S.       acquire citizenship upon lawful              United States and are eligible to
citizens will acquire citizenship upon       admission for permanent residence and        naturalize under section 322 of the INA,
finalization of their adoption in the        beginning to reside in the legal and         8 U.S.C. 1433, must apply for an
United States, under section 320 of the      physical custody of their U.S. citizen       immigrant or nonimmigrant visa to
INA, 8 U.S.C. 1431, or the children will     parent(s):                                   enter the United States before they
naturalize upon taking the Oath of              • IR–2/IR–7 (Child of a U.S. citizen)—    naturalize. These children are generally
Allegiance (or having it waived) under       requires an approval of a Form I–130         issued a B–2 nonimmigrant visa in order
section 322 of the INA, 8 U.S.C. 1433.       (Petition for Alien Relative). These         to complete the process for
In other cases, the children of U.S.         children, excluding stepchildren who         naturalization through an interview and
citizens will acquire citizenship upon       have not been adopted by the U.S.            take the Oath of Allegiance under
taking up residence in the United States     citizen parent, are generally lawfully       section 322 of the INA, 8 U.S.C. 1433.
in the legal and physical custody of         admitted for permanent residence or          Congress has enacted numerous laws
their U.S. citizen parent pursuant to a      their status is adjusted to that of lawful   over the last two decades to ensure that
lawful admission. The definition of          permanent resident. The child must           foreign-born children of U.S. citizens
‘‘public benefits’’ does not include any     then file a Form N–600 (Application for      are not subject to adverse immigration
benefits that were or will be received by    Certificate of Citizenship) to receive the   consequences in the United States on
aliens described in this paragraph.          Certificate of Citizenship. The              account of their foreign birth. Most
   Children of U.S. citizens eligible for    Certificate generally uses the date the      notably, the Child Citizenship Act of
automatic acquisition of citizenship         child was lawfully admitted for              2000 provides that children, including
under section 320 of the INA, 8 U.S.C.       permanent residence.                         adopted children, of U.S. citizen parents
1431, are exempt from the affidavit of                                                    automatically acquire U.S. citizenship if
support requirement. See Child                  • IR–3/IR–8 (Orphan adopted abroad        certain conditions are met. See Dep’t of
Citizenship Act, Public Law 106–395,         by a U.S. citizen)—requires an approval      State, FAQ: Child Citizenship Act of
114 Stat. 1631 (Oct. 30, 2000); 8 CFR        of the Form I–600 (Petition to Classify      2000, available at https://
213a.2(a)(2)(ii)(E). Therefore, consular     Orphan as an Immediate Relative).            travel.state.gov/content/travel/en/
officers will not require any affidavit of   These children are generally admitted        Intercountry-Adoption/adopt_ref/
support forms from sponsors of visa          for permanent residence, and USCIS           adoption-FAQs/child-citizenship-act-of-
applicants who will benefit from section     will send a Certificate of Citizenship to    2000.html (last visited July 30, 2019).
320 of the INA, 8 U.S.C. 1431.               the child without a Form N–600 being         See also 8 CFR part 320. The same year,
   Children of U.S. citizens, including      filed or adjudicated.                        Congress passed the Intercountry
those adopted abroad, typically receive         • IH–3 (Hague Convention orphan           Adoption Act of 2000 (IAA), 42 U.S.C.
one of several types of immigrant visas      adopted abroad by a U.S. citizen)—           14901–14954, to implement the Hague
as listed below and are lawfully             requires an approval of the Form I–800       Convention on Protection of Children
admitted to the United States for            (Petition to Classify Convention             and Co-operation in Respect of
permanent residence. Such children           Adoptee as an Immediate Relative).           Intercountry Adoption, which
may become U.S. citizens (1)                 These children are generally admitted        established international standards of
automatically, (2) following their           for permanent residence and USCIS will       practices for intercountry adoptions.
admission to the United States and           send a Certificate of Citizenship to the     The United States signed the
upon the finalization of their adoption,     child without a Form N–600 being filed       Convention in 1994, and the Convention
or (3) upon meeting other eligibility        or adjudicated.                              entered into force for the United States
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on April 1, 2008. Deposit of Instrument       furnished the child if admitted to the       that the availability of public benefits
of Ratification by the United States of       United States.’’ Federal regulations         should not constitute an incentive for
the Hague Convention on Protection of         already require submission of a home         immigration to the United States. 8
Children and Co-operation in Respect of       study in cases involving the proposed        U.S.C. 1601.
Intercountry Adoption, 72 FR 71730            adoption of children with special needs.        This provision also aligns with the
(Dec. 18, 2007). The full text of the         The home studies in those cases must         DHS final rule. Accordingly, the interim
Convention is available at https://           assess the adoptive parents’                 final rule excludes receipt of benefits by
www.hcch.net/en/instruments/                  ‘‘preparation, willingness, and ability’’    foreign-born children of United States
conventions/full-text/?cid=69 (last           to provide proper care for such children.    citizens from its interpretation of
visited July 30, 2019). The IAA protects      8 CFR 204.3(e)(4) and 204.311(p). The        ‘‘public benefits,’’ as explained in
the rights of children, birth families, and   Department believes that Congress, by        Section I, above.
adoptive parents, and improves the            imposing a parental suitability              4. Alien’s Household
Government’s ability to assist U.S.           determination that must be satisfied
citizens seeking to adopt children from       before an immigrant petition may be             The federal poverty guidelines do not
abroad. IAA section 2, 42 U.S.C.              approved or a visa may be granted, has       define how to determine household
14901(a). See also Hague Convention on        frontloaded aspects of the public charge     size, and different agencies and
Intercountry Adoption; Intercountry           determination for certain adoptive           programs have different requirements.
Adoption Act of 2000; Accreditation of        children and conveyed a preference that      See Annual Update of the HHS Poverty
Agencies; Approval of Persons, 71 FR          concerns directly related to public          Guidelines, 84 FR 1167 (Feb. 1, 2019).
8064 (Feb. 15, 2006).                         charge for adoptive families be assessed     Public benefit-granting agencies
   Many U.S. citizens seek to adopt           at early stages of the immigration           generally consider an applicant’s
children with disabilities or serious         process, rather than waiting until the       income for purposes of public benefit
medical conditions, and a significant         time of the visa application at the very     eligibility and either use the household
proportion of children adopted abroad         end of the process. Additionally,            size or family size to determine the
by U.S. citizens have special medical         excluding consideration of the receipt of    income threshold needed to qualify for
needs. U.S. citizens seeking to adopt         public benefits by such children is          a public benefit. Each federal program
foreign-born children abroad generally        consistent with Congress’ strong interest    administrator or State determines the
must undergo a rigorous home study            in supporting U.S. citizens seeking to       general eligibility requirements needed
that includes a detailed assessment of        adopt and welcome foreign-born               to qualify for the public benefits and
finances, emotional, mental, and              children into their families, as reflected   how to determine whose income is
physical health, and other factors to         in the IAA section 2, 42 U.S.C. 14901(a).    included for purposes of determining
determine their eligibility and               See also 146 Cong. Rec. S8938–01,            income based eligibility thresholds. For
suitability as prospective adoptive           S8938 (daily ed. Sept. 21, 2000)             example, SNAP uses the term
parents. See 8 CFR 204.3(e),                  (statement by Sen. Landrieu) (‘‘I have       ‘‘household’’ to include ‘‘individuals
204.311(g)(3). Accordingly, such parents      said it before and I believe it rings true   who live together and customarily
generally will have sufficient financial      here, adoption brings people, whether        purchase food and prepare meals
resources to provide for the child. See       they are Republican, Democrat,               together for home consumption.’’ 7
8 CFR 204.311(h) (financial                   conservative, liberal, American, Russian     U.S.C. 2012(m)(1). The Department did
considerations); see also USCIS, Home         or Chinese, together. United by the          not incorporate the SNAP definition
Study Information, available at https://                                                   because an alien may have significant
                                              belief that all children deserve to grow
www.uscis.gov/adoption/home-study-                                                         financial obligations to children who do
                                              in the love of a permanent family.
information (last visited July 30, 2019).                                                  not reside in the same residence.
   Nevertheless, many U.S. citizens who       Adoption breaks down barriers and
                                              helps build families.’’). See also Public    Instead, the standard in the interim final
have adopted or are in the process of                                                      rule takes into account individuals for
adopting foreign-born children with           Law 106–139, 113 Stat. 1696 (1999)
                                              (amending the definition of ‘‘child’’ in     whom the alien or the alien’s parent(s)
special medical needs may seek                                                             or legal guardian(s) or other individual
Medicaid for their children. See Public       section 101(b)(1)(E) of the INA, 8 U.S.C.
                                              1101(b)(1)(E), a change that allowed         is providing at least 50 percent of
Law 97–248, 96 Stat. 324. Medicaid                                                         financial support because such
programs vary by State, and may be            children adopted abroad to maintain
                                              their familial relationship with their       expenditure would have significant
based on the child’s disability alone                                                      bearing on whether the alien has
rather than financial means of the            natural siblings, making it easier for
                                              siblings to be adopted together).            sufficient assets, resources, and
parents, or have higher income                                                             financial status in the context of a
eligibility thresholds. As enrollment in         Furthermore, because these children       public charge determination.
Medicaid programs by children who are         are being brought to the United States          The U.S. Department of Housing and
under 21 years of age will not be             by their U.S. citizen parents (including     Urban Development (HUD) uses the
considered a ‘‘public benefit’’ for the       adoptive parents) and will generally         term ‘‘families,’’ which includes:
purposes of this interim final rule, and      become U.S. citizens upon or after
                                                                                              [F]amilies with children and, in the cases
because the adoptive parents have been        admission, and because the adoptive          of elderly families, near-elderly families, and
found to have sufficient resources to         families have been found to have the         disabled families, means families whose
meet the needs of their adoptive child,       resources to care for them, such an          heads (or their spouses), or whose sole
these visa applicants will not be             interpretation is not at odds with           members, are elderly, near-elderly, or
considered likely to become public            Congress’ concerns in enacting               persons with disabilities, respectively. The
charges. Specifically, Congress has           PRWORA, or as reflected in concurrent        term includes, in the cases of elderly
already imposed a requirement on              immigration legislation restating the        families, near-elderly families, and disabled
                                              public charge ground of visa                 families, 2 or more elderly persons, near-
adoptees under INA sections
                                                                                           elderly persons, or persons with disabilities
101(b)(1)(F) or (G), 8 U.S.C.                 ineligibility noting that aliens should      living together, and 1 or more such persons
1101(b)(1)(F) or (G), that requires their     rely on their own capabilities and the       living with 1 or more persons determined
parents to demonstrate to the                 resources of their families, their           under the public housing agency plan to be
government that ‘‘proper care will be         sponsors, and private organizations; and     essential to their care or well-being.
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42 U.S.C. 1437a(b)(3). The U.S. Housing         provided by the person filing (over 50        include those individuals the alien may
Act of 1937 (the 1937 Act), 42 U.S.C.           percent). IRS Publication 501 (Jan 2,         not have a legal responsibility to
1437 to 1437zz–10, requires that                2018), available at https://www.irs.gov/      support but may nonetheless be
dwelling units assisted under it must be        pub/irs-pdf/p501.pdf. In general, the         supporting. For example, this could
rented only to families who are low-            dependent must also be a U.S. citizen or      include a parent, sibling, or a
income at the time of their initial             lawful permanent resident in order to         grandparent living with the alien, or an
occupancy. Section 3 of the 1937 Act            qualify as a dependent for tax purposes.      adult child, sibling, or any other adult
also defines income, with respect to a          Id.                                           who the alien may be supporting or
family, as:                                        The IRS definition of ‘‘dependent’’        required to support or who contributes
  [I]ncome received from all sources by each    would generally exclude nonresident           to the alien’s financial support.
member of the household who is 18 years of      aliens. However § 40.41(d) does not.
age or older or is the head of household or     This will result in a larger number of        5. Receipt of Public Benefits
spouse of the head of the household, plus       people being included than if the
unearned income by or on behalf of each         Department tracked the IRS’s definition          The interim final rule clarifies that
dependent who is less than 18 years of age,     of ‘‘dependent’’ in order to more             receipt of public benefits occurs when a
as determined in accordance with the criteria   accurately capture the alien’s actual         public benefit-granting agency provides
prescribed by the Secretary [of Housing and
                                                financial obligations. As used in             a public benefit, as defined in § 40.41(c),
Urban Development], in consultation with                                                      to the visa applicant as a beneficiary,
the Secretary of Agriculture [. . .].           paragraph (d), ‘‘alien’s household’’ also
                                                considers those individuals who are           whether in the form of cash, voucher,
42 U.S.C. 1437a(b)(4), as amended by            supported by the alien and are                services, or insurance coverage. The
the Housing Opportunity Through                 themselves aliens, or those who may be        Department clarifies that application or
Modernization Act of 2016, Public Law           contributing to the alien’s income, in        certification for a public benefit does
114–201, section 102, 130 Stat. 782, 787        order to determine whether the alien’s        not constitute receipt of public benefits,
(2016). Beyond the statutory framework          financial resources are sufficient to         but it may be considered as a factor
defining families, and as provided by           support the alien and other members of        suggesting likelihood of future receipt.
the 1937 Act, HUD allows public                 the alien’s household. For example, if        Likewise, certification for future receipt
housing agencies the discretion to              an alien resides with a younger sibling       of a public benefit does not constitute
determine particularities related to            who is attending school and the alien         receipt of public benefits, although it
family composition, as determined               provides 50 percent or more financial         may suggest a likelihood of future
under each public housing agency’s              support for the younger sibling, that         receipt. An alien’s receipt of,
plan.                                           sibling is a part of the alien’s household,   application for, or certification for,
   ‘‘Alien’s household,’’ under paragraph       even though the younger sibling may be        public benefits solely on behalf of
(e) of the interim final rule,                  earning some wages from a part-time           another individual does not constitute
encompasses many of the individuals             job. Those part-time wages would be           receipt of, application for, or
identified in various HUD definitions of        counted toward the requisite income           certification for, such alien. This
‘‘family,’’ including spouses and               threshold. Similarly, if the alien has an     standard will help consular officers
children as defined under the INA. The          older sibling who is providing 50             implement the new ‘‘public charge’’
definition of child in INA section              percent or more of financial support to       definition at § 40.41(b) as an alien who
101(b), 8 U.S.C. 1101(b), generally             the alien but not residing with the alien,    receives one or more public benefits, as
includes unmarried persons under 21             that older sibling would also be              defined in paragraph (c) of § 40.41, for
years of age who are born in or out of          included in the alien’s household and         more than 12 months in the aggregate
wedlock, stepchildren, legitimated              his/her income counted toward the             within any 36-month period (such that,
children, adopted children if adopted           requisite income threshold along with         for instance, receipt of two benefits in
under the age of 16 or the age of 18 if         any income earned by the alien.               one month counts as two months’ worth
natural siblings of another adopted                As used in § 40.41(d), ‘‘alien’s           of benefits). It also clarifies that consular
child. In addition, the Department’s            household’’ adopts the IRS standard of        officers must evaluate whether the alien
interpretation focuses on both                  the amount of support being provided to       is likely to receive one or more public
individuals who the alien anticipates           the individual (50 percent) as the            benefits, the impact of certification for
will live in the alien’s home or                standard for deeming an individual part       future receipt of public benefits, and
physically reside with the alien in the         of the household in the public charge         that the relevant consideration is the
United States, as well as individuals not       determination. See Internal Revenue           alien’s receipt of public benefits, not
living in the alien’s home but for whom         Serv., Dependency Exemptions,                 application or certification solely on
the alien and/or the alien’s parent(s)/         available at https://apps.irs.gov/app/        behalf of another person.
legal guardian(s) is providing or is            vita/content/globalmedia/4491_
required to provide at least 50 percent         dependency_exemptions.pdf (last               6. Deletion of Posting of Bond
of financial support, whether in the            visited Jul. 30, 2019); see also Internal
United States or abroad.                        Revenue Serv., Table 2: Dependency               The Department removed the
   The IRS defines ‘‘dependent’’ to             Exemption for Qualifying Relative,            provision in former 22 CFR 40.41(d),
include a qualifying child or a                 available at https://apps.irs.gov/app/        which said that a consular officer may
qualifying relative. See 26 U.S.C. 152;         vita/content/globalmedia/table_2_             issue a visa to an alien who is within
see also IRS Publication 501 (Jan 2,            dependency_exemption_relative_                the purview of INA 212(a)(4), 8 U.S.C.
2018), available at https://www.irs.gov/        4012.pdf (last visited Jul. 30, 2019). The    1182(a)(4), upon receipt of notice from
pub/irs-pdf/p501.pdf. These tests               Department believes that the ‘‘at least 50    DHS of the giving of a bond, and
generally include some type of                  percent of financial support’’ standard       provided the consular officer is satisfied
relationship to the person filing               used by the IRS is reasonable to apply        that the giving of such bond removes the
(including step and foster children and         to the determination of who is a member       likelihood that the alien will become a
their children) whether or not the              of an alien’s household, without regard       public charge. The Department is
dependent is living with the person             to whether these individuals physically       removing this provision because it
filing and the amount of support being          reside in the alien’s home. This would        reflects an obsolete process.
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7. Deletion of Use of the Federal Poverty        Notice and comment on this rule,          this is not a major rule as defined by 5
Line Where INA 213A Not Applicable            along with a 30-day delay in its effective   U.S.C. 804.
   The Department removed the                 date, would be impracticable and
                                                                                           Executive Orders 12866, 13563, and
discussion in former 22 CFR 40.41(f),         contrary to the public interest. On
                                                                                           13771
which stated that an immigrant visa           August 14, 2019, DHS published a final
                                              rule on inadmissibility on public charge       The new public charge standards will
applicant, not subject to the
                                              grounds of inadmissibility. 84 FR 41292.     impose additional costs on many
requirements of INA 213A, 8 U.S.C.
                                              That rule, which will be effective           individuals, by requiring applicants to
1183a, and relying solely on personal
                                              October 15, 2019, changes how DHS            provide detailed information about their
income to establish eligibility under
                                              interprets the public charge ground of       age, health, family status, finances, and
INA 212(a)(4), 8 U.S.C. 1182(a)(4), who
                                              inadmissibility, section 212(a)(4) of the    education and skills. These costs are
does not demonstrate an annual income
                                              INA, 8 U.S.C. 1182(a)(4). Coordination       analyzed in the notice required under
above the Federal poverty line, as
                                              of Department and DHS implementation         the Paperwork Reduction Act of a new
defined in INA 213A(h), 8 U.S.C.
                                              of the public charge inadmissibility         form, the DS–5540, Public Charge
1183a(h), and who is without other
                                              ground is critical to the Department’s       Questionnaire, which certain categories
adequate financial resources, shall be
                                              interest in preventing inconsistent          of applicants will be required to
presumed ineligible under INA
                                              adjudication standards and different         complete to help inform the consular
212(a)(4), 8 U.S.C. 1182(a)(4). The new
                                              outcomes between determinations of           officer’s public charge assessment. The
language in sections (a) through (g)
                                              visa eligibility and determinations of       Department is separately seeking OMB
provide the framework consular officers
                                              admissibility at a port of entry. If         approval of a new information
will use to assess the public charge visa
                                              implementation of the rule is delayed        collection (form) for this purpose. The
ineligibility, including for immigrant
                                              pending completion of notice and             Department estimates 12,736,034 visa
visa applicants who are subject to the
                                              comment, consular officers would apply       applicants per year will be affected by
public charge ground of ineligibility, but
                                              public charge-related ineligibility          this interim final rule based on the
not the Affidavit of Support
                                              standards differing from those applied       average number of visa applicants
requirement. Instead of retaining a                                                        subject to the public charge ineligibility
second framework for one subset of            by DHS and, consequently, might issue
                                              visas to applicants who would later          ground for the years 2017 and 2018.
individuals subject to the public charge                                                   Specifically, in 2017, 624,317 immigrant
ground, the Department will apply this        arrive at a port of entry and be found
                                                                                           visa applications were subject to the
standard uniformly.                           inadmissible by U.S. Customs and
                                                                                           public charge ineligibility ground. The
                                              Border Protection under the new DHS
8. Deletion of Joint Sponsor                                                               number was 630,340 in 2018. In 2017,
                                              public charge standards, based on the
   The Department removed the                                                              12,356,864 nonimmigrant visa
                                              same information that was presented to
discussion in former 22 CFR 40.41(g),                                                      applications were in categories subject
                                              the adjudicating consular officer. This
which stated that submission of one or                                                     to the public charge ineligibility, and
                                              inconsistency between the two agencies’
more additional affidavits of support by                                                   11,860,545 in 2018. While the
                                              adjudications would create a public
a joint sponsor is required if the relative                                                Department estimates 12,736,034 visa
                                              harm and would significantly disrupt
                                                                                           applicants will be affected by this
sponsor’s income and assets and the           the Department’s interest in issuing
                                                                                           interim final rule per year, the
immigrant’s assets do not meet the            visas only to individuals who appear to      Department estimates that only 450,000
Federal poverty requirements. This            qualify for admission to the United          applicants per year will be asked to
language has been deleted as it merely        States. The Department has determined        submit this information; given that the
restates statutory requirements of INA        that the need to minimize the                majority of nonimmigrant visa
213A, 8 U.S.C. 1183a, and as such is not      occurrence of situations in which visa       applicants would not overcome 214(b) if
necessary in the 22 CFR 40.41.                holders arrive at a port of entry and are    they were also deemed likely to be a
Regulatory Findings                           found inadmissible under the new DHS         public charge and thus would be
                                              public charge standards supports a           refused as such. The average burden per
Administrative Procedure Act                  finding of good cause under 5 U.S.C.         response is estimated to be 60 minutes.
   The Department has concluded that          553.                                         The Department estimates that the
the good cause exceptions in 5 U.S.C.         Regulatory Flexibility Act/Executive         annual hour burden to visa applicants
553(b)(B) and (d)(3) apply to this rule,      Order 13272: Small Business                  posed by the additional questions is
as the delay associated with notice and                                                    450,000 hours (450,000 applicants × 60
comment rulemaking would be                     Because this interim final rule is         minutes). The weighted wage hour cost
impracticable, unnecessary, or contrary       exempt from notice-and-comment               burden for this collection is $15,737,400
to the public interest. 5 U.S.C.              rulemaking under 5 U.S.C. 553, it is         based on the calculation of $24.98 1
553(b)(3)(B); 5 U.S.C. 553(d)(3). Those       exempt from the Regulatory Flexibility       (average hourly wage) × 1.4 (weighted
exceptions relieve agencies of the            Act (5 U.S.C. 601 et seq.). Nonetheless,     wage multiplier) × 450,000 hours.
notice-and-comment requirement in             consistent with the Regulatory                 The Department believes the benefits
emergency situations, or in                   Flexibility Act, the Department certifies    of rigorously applying the public charge
circumstances where ‘‘the delay created       that this rule will not have a significant   ineligibility ground, informed by
by the notice and comment                     economic impact on a substantial             relevant information that can only be
requirements would result in serious          number of small entities because this        provided by applicants, outweighs the
damage to important interests.’’ Woods        rule only regulates individual visa          costs associated with the new rule. Visa
Psychiatric Inst. v. United States, 20 Cl.    applicants and does not regulate any         applicants and their representatives will
Ct. 324, 333 (1990), aff’d, 925 F.2d 1454     small entities or businesses.                already need to adjust to the new DHS
(Fed. Cir. 1991); see also United States      Small Business Regulatory Enforcement
v. Dean, 604 F.3d 1275, 1279 (11th Cir.       Fairness Act of 1996
                                                                                             1 Source: Data from the U.S. Bureau of Labor

2010); Nat’l Fed’n of Federal Emps. v.                                                     Statistics’ May 2018 National Occupational
                                                                                           Employment and Wage Estimates for all
Nat’l Treasury Emps. Union, 671 F.2d            The Office of Information and              occupations (http://www.bls.gov/oes). Retrieved
607, 611 (D.C. Cir. 1982).                    Regulatory Affairs has determined that       September 10, 2019.
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public charge inadmissibility standard,     provisions of the Paperwork Reduction           (1) The alien’s age. Consular officers
so the information requested for the        Act, 44 U.S.C. Chapter 35. The               will consider whether the alien’s age
purpose of enforcing the Department’s       Department is separately seeking OMB         makes the alien more likely than not to
new rule substantially overlaps with the    approval of a new form, which certain        become a public charge in the totality of
information requested by DHS when the       applicants will be required to complete      the circumstances, such as by impacting
applicant applies for admission or other    to assist with the consular officer’s        the alien’s ability to work. Consular
immigration-related benefits in the         public charge assessment.                    officers will consider an alien’s age
United States. Most importantly, this                                                    between 18 and early retirement age as
                                            List of Subjects in 22 CFR Part 40           defined in 42 U.S.C. 416(l)(2) as a
interpretation seeks to mitigate against
the possibility that consular officers        Administrative practice and                positive factor. Age is a negative factor
would issue a visa to an individual who     procedure, foreign relations, passports      for aliens who are under the age of 18.
DHS would find inadmissible and deny        and visas, aliens.                           However, consular officers may
U.S. entry, based on the same facts. This     For the reasons stated in the              consider other factors, such as the
benefits applicants by preventing the       preamble, the Department amends 22           support provided to a minor child by a
investment of time and expenditure of       CFR part 40 as follows:                      parent, legal guardian, or other source,
personal funds on travel to the United                                                   that in the totality of the circumstances
States in the event that DHS ultimately     PART 40—REGULATIONS                          may offset the alien’s age as a negative
finds them inadmissible.                    PERTAINING TO BOTH                           factor. An alien’s age above early
   This rule is an E.O. 13771 regulatory    NONIMMIGRANTS AND IMMIGRANTS                 retirement age is a negative factor in the
action.                                     UNDER THE IMMIGRATION AND                    totality of the circumstances, if the
                                            NATIONALITY ACT, AS AMENDED                  consular officer believes it adversely
Executive Orders 12372 and 13132:                                                        affects the alien’s ability to obtain or
Federalism                                  ■ 1. The authority citation for part 40 is   perform work, or may increase the
  This regulation will not have             revised to read as follows:                  potential for healthcare related costs
substantial direct effects on the States,     Authority: 8 U.S.C. 1104, 1182, 1183a,     that would be borne by the public.
on the relationship between the national    1641                                            (2) The alien’s health. Consular
government and the States, or the                                                        officers will consider whether the
distribution of power and                   ■ 2. Section 40.41 is revised to read as     alien’s health is a positive or negative
responsibilities among the various          follows:                                     factor in the totality of the
levels of government. The Department        § 40.41   Public charge.                     circumstances, including whether the
does not expect that this interim final                                                  alien, has been diagnosed with a
                                               (a) Basis for determination of            medical condition that is likely to
rule will impose substantial direct
                                            ineligibility. Any determination that an     require extensive medical care or
compliance costs on State and local
                                            alien is ineligible under INA 212(a)(4)      institutionalization, or that will interfere
governments, or preempt State law. The
                                            must be predicated upon circumstances        with the alien’s ability to provide and
rule will not have federalism
                                            indicating that, taking into account any     care for himself or herself, to attend
implications warranting the application
                                            Affidavit of Support under section 213A      school, or to work, if authorized.
of Executive Orders 12372 and 13132.
                                            of the INA that may have been filed on       Consular officers will consider the
Executive Order 12988: Civil Justice        the alien’s behalf, the alien is likely at   report of a medical examination
Reform                                      any time to become a public charge after     performed by the panel physician where
   The Department has reviewed the          admission, or, if applicable, that the       such examination is required, including
regulation in light of sections 3(a) and    alien has failed to submit a sufficient      any medical conditions noted by the
3(b)(2) of Executive Order 12988 to         Affidavit of Support Under Section           panel physician. An individual with a
eliminate ambiguity, minimize               213A of the INA as set forth in either       Class B medical condition, including
litigation, establish clear legal           INA 212(a)(4)(C) or 212(a)(4)(D).            Class B forms of communicable diseases
standards, and reduce burden.               Consular officers will consider whether      of public health significance, as defined
                                            any identified third party is willing and    in 42 CFR part 34, is not alone a
Executive Order 13175—Consultation          able to financially support the alien        determinative factor for public charge
and Coordination With Indian Tribal         while the alien is in the United States.     purposes. The medical condition will be
Governments                                 When considering the likelihood of an        taken into consideration with all factors
  The Department has determined that        alien becoming a public charge at any        under the totality of circumstances. In
this rulemaking will not have a             time through receipt of public benefits,     assessing the effect of the alien’s health
substantial direct effect on one or more    as defined in paragraph (c) of this          on a public charge ineligibility
Indian tribes, will not impose              section, consular officers will use a        determination, the consular officer will
substantial direct compliance costs on      more likely than not standard and take       consider evidence of health insurance or
Indian tribal governments, on the           into account the totality of the alien’s     the ability to pay for reasonably
relationship between the Federal            circumstances at the time of visa            foreseeable medical expenses in the
Government and Indian tribes, or on the     application, including at a minimum:         United States a positive factor in the
distribution of power and                   The alien’s age; health; family status;      totality of the circumstances.
responsibilities between the Federal        assets, resources, and financial status;        (3) The alien’s family status. When
Government and Indian tribes, and will      and education and skills. No one             considering an alien’s family status,
not pre-empt tribal law. Accordingly,       enumerated factor alone, apart from the      consular officers will consider the size
the requirements of Section 5 of            lack of a sufficient Affidavit of Support    of the alien’s household, as defined in
Executive Order 13175 do not apply to       under section 213A of the Act where          paragraph (e) of this section, and
this rulemaking.                            required, will make the alien more           whether the alien’s household size is a
                                            likely than not to become a public           positive or negative factor in the totality
Paperwork Reduction Act                     charge. For immigration classifications      of the circumstances.
  This rule imposes a new information       exempt from the public charge ground            (4) The alien’s assets, resources, and
collection requirements under the           of ineligibility, see 8 CFR 212.23(a).       financial status—(i) In general. Consular
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officers will consider, among other              (F) Whether the alien has received an      Section 213A of the INA on a form that
relevant factors, the following aspects of    immigration benefit fee waiver from           complies with terms and conditions
an alien’s assets, resources, and             DHS on or after October 15, 2019, unless      established by the Secretary of
financial status:                             the fee waiver was applied for or             Homeland Security. A properly filed,
   (A) If the alien’s annual gross income     granted as part of an application for         non-fraudulent, sufficient Affidavit of
for the alien’s household size is at least    which a public charge inadmissibility         Support Under Section 213A of the INA,
125 percent of the most recent Federal        under section 212(a)(4) of the Act was        in those cases where it is required, is a
Poverty Guidelines based on the alien’s       not required; and                             positive factor in the totality of the
household size (or 100 percent for an            (G) Whether the alien has private          circumstances if the sponsor is likely to
alien on active duty, other than training,    health insurance or other financial           actually provide the alien with the
in the Armed Forces), consular officers       resources sufficient to cover reasonably      statutorily-required amount of financial
will consider the alien’s income a            foreseeable costs related to a medical        support and other related
positive factor;                              condition in the United States.               considerations.
   (B) If the alien’s annual household           (iii) Income from illegal activities or       (8) Heavily weighted factors. The
gross income is less than 125 percent of      sources. Consular officers may not            factors below will weigh heavily in an
the most recent Federal Poverty               consider any income from illegal              ineligibility determination based on
Guidelines (100 percent for those on          activities or sources, such as proceeds       public charge.
active duty, other than training, in the      from illegal gambling or drug sales, or          (i) Heavily weighted negative factors.
Armed Forces) based on the alien’s            income from any public benefit listed in      The following factors will weigh heavily
household size, consular officers will        paragraph (c) of this section.                in favor of a finding that an alien is
                                                 (5) The alien’s education and skills.      likely at any time in the future to
consider a total value of the household
                                              When considering an alien’s education         become a public charge:
assets and resources that is at least five
                                              and skills, consular officers will               (A) The alien is not a full-time student
times the difference between the alien’s
                                              consider both positive and negative           and is authorized to work in his or her
household gross income and 125
                                              factors associated with whether the           country of residence or the United
percent of the Federal Poverty
                                              alien has adequate education and skills       States, as appropriate, but is unable to
Guidelines for the alien’s household
                                              to either obtain or maintain lawful           satisfy the consular officer that he or she
size as a positive factor. However, if the
                                              employment with an income sufficient          is currently employed, has recent
alien is the spouse or child of a U.S.        to avoid being likely to become a public
citizen, assets totaling three times the                                                    employment history, or a reasonable
                                              charge. In assessing whether the alien’s      prospect of future employment;
difference between the alien’s                level of education and skills makes the          (B) The alien has received or has been
household gross income and 125                alien likely to become a public charge,       certified or approved to receive one or
percent of the Federal Poverty                the consular officer must consider,           more public benefits, as defined in
Guidelines (100 percent for those on          among other factors, the alien’s history      paragraph (c) of this section, for more
active duty, other than training, in the      of employment, educational level (high        than 12 months in the aggregate within
Armed Forces) for the alien’s household       school diploma, or its equivalent, or         any 36-month period (such that, for
size is a positive factor. If the alien is    higher educational degree), any               instance, receipt of two benefits in one
a child who will be adopted in the            occupational skills, certifications or        month counts as two months’ worth of
United States and who will likely             licenses, and English language                benefits), beginning no earlier than
receive citizenship under section 320 of      proficiency or proficiency in languages       October 15, 2019, or for more than 12
the INA, then assets equivalent to or         in addition to English. Consular officers     months in the aggregate within the 36
greater than the difference between the       will take into positive consideration an      month period prior to the adjudication
alien’s household gross income and 125        alien who is a primary caregiver 18           of the alien’s visa application,
percent the Federal Poverty Guidelines        years of age or older who has significant     whichever is later.
(100 percent for those on active duty,        responsibility for actively caring for and       (C)(1) The alien has been diagnosed
other than training, in the Armed             managing the well-being of a minor,           with a medical condition that is likely
Forces) for the alien’s household size is     elderly, ill, or disabled person residing     to require extensive medical treatment
a positive factor.                            in the alien’s household, such that the       or institutionalization or that will
   (ii) Factors to consider. When             alien lacks an employment history or          interfere with the alien’s ability to
considering an alien’s assets, resources,     current employment, or is not employed        provide for himself or herself, attend
and financial status, consular officers       full time. Only one alien within a            school, or work; and
must consider assets, resources, and          household can be considered a primary            (2) The alien has no health insurance
financial status including:                   caregiver of the same individual within       for use in the United States and has
   (A) The alien’s household annual           the household.                                neither the prospect of obtaining private
gross income;                                    (6) Prospective visa classification.       health insurance for use in the United
   (B) The alien’s cash assets and            When considering the likelihood at any        States, nor the financial resources to pay
resources;                                    time of an alien becoming a public            for reasonably foreseeable medical costs
   (C) Non-cash assets and resources that     charge, consular officers will consider       related to such medical condition;
can be converted into cash within             the visa classification sought.                  (D) The alien was previously found
twelve months of the visa application;           (7) Affidavit of Support Under Section     inadmissible or deportable on public
   (D) The alien’s financial liabilities;     213A of the Act. Any alien seeking an         charge grounds by an Immigration Judge
   (E) Whether the alien has applied for,     immigrant visa under INA 201(b)(2),           or the Board of Immigration Appeals.
been certified to receive, been approved      203(a), or 203(b), based upon a petition         (ii) Heavily weighted positive factors.
to receive, or received one or more           filed by a relative of the alien (or in the   The following factors will weigh heavily
public benefits, as defined in paragraph      case of a petition filed under INA 203(b)     in favor of a finding that an alien is not
(c) of this section on or after October 15,   by an entity in which a relative has a        likely at any time to become a public
2019, or whether the alien has                significant ownership interest), shall be     charge:
disenrolled or requested to be                required to present to the consular              (A) The alien’s household has income,
disenrolled from such public benefits.        officer an Affidavit of Support Under         assets, resources, or support of at least
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250 percent of the Federal Poverty               (ii) Supplemental Nutrition               benefit does not include health services
Guidelines for the alien’s household          Assistance Program (SNAP), 7 U.S.C.          for immunizations and for testing and
size. Consular officers may not consider      2011 et seq.;                                treatment of communicable diseases,
any income from illegal activities, e.g.,        (iii) Housing Choice Voucher              including communicable diseases of
proceeds from illegal gambling or drug        Program, as authorized under section         public health significance as defined in
sales, or any income derived from any         8(o) of the United States Housing Act of     42 CFR part 34.
public benefit as defined in paragraph        1937 (42 U.S.C. 1437f);                         (4) Public benefit, as defined in this
(c) of this section;                             (iv) Project-Based Rental Assistance      section, does not include any form of
   (B) The alien is authorized to work        (including Moderate Rehabilitation)          assistance listed in paragraphs (c)(1)(i)
and is currently employed with an             authorized under section 8 of the United     through (vi) of this section that were or
annual income of at least 250 percent of      States Housing Act of 1937 (42 U.S.C.        will be received by:
the Federal Poverty Guidelines for the        1437f);                                         (i) Children of U.S. citizens whose
alien’s household size. Consular officers        (v) Medicaid under 42 U.S.C. 1396 et      lawful admission as permanent
may not consider any income from              seq., except for:                            residents and subsequent residence in
illegal activities, e.g., proceeds from          (A) Benefits received for an              the legal and physical custody of their
illegal gambling or drug sales;               emergency medical condition as               U.S. citizen parent will result
   (C) The alien has private health           described in section 1903(v)(2)–(3) of       automatically in the child’s acquisition
insurance (other than health insurance        Title XIX of the Social Security Act, 42     of citizenship;
obtained with premium tax credits             U.S.C. 1396b(v)(2)–(3), 42 CFR                  (ii) Children of U.S. citizens whose
under the Affordable Care Act) for use        440.255(c);                                  lawful admission as permanent
in the United States covering the                (B) Services or benefits funded by        residents will result automatically in the
expected period of admission.                 Medicaid but provided under the              child’s acquisition of citizenship upon
   (9) Treatment of benefits received         Individuals with Disabilities Education      finalization of adoption; or
before October 15, 2019. When                 Act (IDEA) 20 U.S.C. 1400 et seq.;              (iii) Children of U.S. citizens who are
considering whether an alien is more             (C) School-based services or benefits     entering the United States for the
likely than not to become a public            provided to individuals who are at or        purpose of attending an interview under
charge under this section, consular           below the oldest age eligible for            INA 322 in accordance with 8 CFR part
officers will consider, as a negative         secondary education as determined            322.
factor, but not as a heavily weighted         under State or local law; and                   (d) Alien’s household. For purposes of
negative factor as described in                  (D) Benefits received by an alien         public charge ineligibility
paragraph (a)(8) of this section, any         under 21 years of age, or a woman            determinations under INA 212(a)(4):
amount of cash assistance for income          during pregnancy (and during the 60-            (1) If the alien is 21 years of age or
maintenance, including Supplemental           day period beginning on the last day of      older, or under the age of 21 and
Security Income (SSI), Temporary              the pregnancy).                              married, the alien’s household includes:
Assistance for Needy Families (TANF),            (vi) Public Housing under section 9 of       (i) The alien;
State and local cash assistance programs      the U.S. Housing Act of 1937 (42 U.S.C.         (ii) The alien’s spouse, if physically
that provide benefits for income              1437g).                                      residing or intending to physically
maintenance (often called ‘‘General              (2) Public benefit, as defined in this    reside with the alien in the United
Assistance’’ programs), and programs          section, does not include any form of        States;
(including Medicaid) supporting aliens        assistance listed in paragraphs (c)(1)(i)       (iii) The alien’s children, as defined in
who are institutionalized for long-term       through (vi) of this section received by     INA 101(b)(1), if physically residing or
care, received, or certified for receipt,     an alien who at the time of receipt of the   intending to physically reside with the
before October 15, 2019.                      public benefit, or at the time of visa       alien in the United States;
   (b) Public charge. Public charge           application or visa adjudication, is or         (iv) The alien’s other children, as
means, for the purpose of INA                 was:                                         defined in INA 101(b)(1), not physically
212(a)(4)(A) and (B), an alien who               (i) Enlisted in the U.S. Armed Forces     residing or not intending to physically
receives one or more public benefits, as      under the authority of 10 U.S.C.             reside with the alien for whom the alien
defined in paragraph (c) of this section,     504(b)(1)(B) or 10 U.S.C. 504(b)(2), or      provides or is required to provide at
for more than 12 months in the                   (ii) Serving in active duty or in the     least 50 percent of financial support, as
aggregate within any 36-month period          Ready Reserve component of the U.S.          evidenced by a child support order or
(such that, for instance, receipt of two      Armed Forces, or                             agreement, a custody order or
benefits in one month counts as two              (iii) Is the spouse or child as defined   agreement, or any other order or
months’ worth of benefits).                   in INA101(b), of an individual described     agreement specifying the amount of
   (c) Public benefit. (1) Public benefit     in paragraph (c)(2)(i) or (ii) of this       financial support to be provided by the
means any of the following forms of           section, or of a citizen of the United       alien;
assistance received on or after October       States described in paragraph (c)(2)(i) or      (v) Any other individuals (including a
15, 2019:                                     (ii).                                        spouse not physically residing or
   (i) Any Federal, State, local, or tribal      (3) Public benefit, as defined in this    intending to physically reside with the
cash assistance for income maintenance        section, does not include any form of        alien) to whom the alien provides, or is
(other than tax credits), including:          assistance listed in paragraphs (c)(1)(i)    required to provide, at least 50 percent
   (A) Supplemental Security Income           through (vi) of this section received by     of the individual’s financial support or
(SSI), 42 U.S.C. 1381 et seq.;                an alien during periods in which the         who are listed as dependents on the
   (B) Temporary Assistance for Needy         alien was present in the United States       alien’s United States federal income tax
Families (TANF), 42 U.S.C. 601 et seq.;       in an immigration category that is           return; and
   (C) Federal, State or local cash benefit   exempt from the public charge ground            (vi) Any individual who provides to
programs for income maintenance (often        of inadmissibility, as set forth in 8 CFR    the alien at least 50 percent of the
called ‘‘General Assistance’’ in the State    212.23(a), or for which the alien            alien’s financial support, or who lists
context, but which also exist under           received a waiver of public charge           the alien as a dependent on his or her
other names); and                             inadmissibility from DHS. Public             federal income tax return.
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   (2) If the alien is a child as defined in   INA 101(b)(1), physically residing or       coverage. Application or certification for
INA 101(b)(1), the alien’s household           intending to physically reside with the     a public benefit does not constitute
includes the following individuals:            alien in the United States;                 receipt of public benefit, but it may be
   (i) The alien;                                 (vi) The alien’s parents’ or legal       considered as a factor suggesting
   (ii) The alien’s children as defined in     guardians’ other children as defined in     likelihood of future receipt. An alien’s
INA 101(b)(1), physically residing or          INA 101(b)(1), not physically residing or   receipt of, application for, or
intending to physically reside with the        intending to physically reside with the     certification for public benefit solely on
alien in the United States;                    alien for whom the parent or legal          behalf of another individual does not
   (iii) The alien’s other children as         guardian provides or is required to         constitute receipt of, application for, or
defined in INA 101(b)(1) not physically        provide at least 50 percent of the other    certification for such alien.
residing or intending to physically            children’s financial support, as
reside with the alien for whom the alien                                                      (f) Prearranged employment. An
                                               evidenced by a child support order or       immigrant visa applicant relying on an
provides or is required to provide at          agreement, a custody order or
least 50 percent of the children’s                                                         offer of prearranged employment to
                                               agreement, or any other order or            establish eligibility under INA 212(a)(4),
financial support, as evidenced by a
                                               agreement specifying the amount of          other than an offer of employment
child support order or agreement, a
                                               financial support to be provided by the     certified by the Department of Labor
custody order or agreement, or any other
                                               parents or legal guardians; and             pursuant to INA 212(a)(5)(A), must
order or agreement specifying the
amount of financial support to be                 (vii) Any other individual to whom       provide written confirmation of the
provided by the alien;                         the alien’s parents or legal guardians      relevant information sworn and
   (iv) The alien’s parents, legal             provide, or are required to provide at      subscribed to before a notary public by
guardians, or any other individual             least 50 percent of each individual’s       the employer or an authorized employee
providing or required to provide at least      financial support, or who is listed as a    or agent of the employer. The signer’s
50 percent of the alien’s financial            dependent on the parent’s or legal          printed name and position or other
support to the alien as evidenced by a         guardian’s federal income tax return.       relationship with the employer must
child support order or agreement, a               (e) Receipt of public benefit. Receipt   accompany the signature.
custody order or agreement, or any other       of public benefit occurs when a public
                                               benefit-granting agency provides a          Carl C. Risch,
order or agreement specifying the
amount of financial support to be              public benefit, as defined in paragraph     Assistant Secretary for Consular Affairs,
provided to the alien;                         (c) of this section, to the alien as a      Department of State.
   (v) The alien’s parents’ or legal           beneficiary, whether in the form of cash,   [FR Doc. 2019–22399 Filed 10–10–19; 8:45 am]
guardians’ other children as defined in        voucher, services, or insurance             BILLING CODE 4710–06–P
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under section 291 of the INA to               their immigrant visa application                SURFACE TRANSPORTATION BOARD
establish that they are eligible to receive   through the Consular Electronic
                                                                                              [Docket No. AB 33 (Sub–No. 342X)]
a visa, including that they are not           Application Center (CEAC).
inadmissible under any provision of the       Nonimmigrant visa applicants who are            Union Pacific Railroad Company and
INA.                                          required to submit this form will be able       Jackson County, Mo.—Abandonment
   Sponsors of immigrant visa applicants      to do so via email or in hard copy.             Exemption—in Jackson County, Mo.
must currently provide information
regarding their ability to financially        Carl C. Risch,                                      On October 4, 2019, Union Pacific
support the applicant on an I–864,            Assistant Secretary, Bureau of Consular         Railroad Company (UP) and Jackson
Affidavit of Support, which consular          Affairs, Department of State.                   County, Mo. (the County) (collectively,
officers use in considering whether the       [FR Doc. 2019–23219 Filed 10–23–19; 8:45 am]    Petitioners), jointly filed with the Board
applicant is likely to depend on certain      BILLING CODE 4710–06–P                          a petition under 49 U.S.C. 10502 for
forms of government assistance. Visa                                                          exemption from the prior approval
applicants provide limited optional                                                           requirements of 49 U.S.C. 10903 to
input on the I–864 regarding their            DEPARTMENT OF STATE                             abandon the railroad line extending
assets. The DS–5540 will be used to           [Public Notice: 10931]                          between milepost 288.3 and milepost
collect more detailed information on an                                                       270.6 in Jackson County, Mo. (the Line).
applicant’s ability to support himself or     Notice of Determinations: Culturally            The Line traverses U.S. Postal Service
herself. Consular officers will use the       Significant Object Imported for                 Zip Codes 64063, 64081, 64082, 64086,
information to assess whether the             Exhibition—Determinations: ‘‘Raphael            64129, 64133, 64138, and 64139.
applicant is likely to become a public        and the Pope’s Librarian’’ Exhibition               According to Petitioners, based on
charge, based on the totality of the                                                          information in their possession, the Line
circumstances.                                SUMMARY:    Notice is hereby given of the
                                                                                              does not contain federally granted
   Applicants for immigrant visas,            following determinations: I hereby
                                                                                              rights-of-way. Petitioners further state
including diversity visas, will be            determine that a certain object to be
                                                                                              that any documentation in the County’s
required to complete the DS–5540,             exhibited in the exhibition ‘‘Raphael
                                                                                              or UP’s possession will be made
except for categories of applicants that      and the Pope’s Librarian’’, imported
                                                                                              available promptly to those requesting
are exempt from the public charge             from abroad for temporary exhibition
                                                                                              it.
ground of inadmissibility. The                within the United States, is of cultural            In 2016, the County received
exempted categories are listed in 8 CFR       significance. The object is imported            authority through the Board’s class
212.23(a). Exempted categories include        pursuant to a loan agreement with the           exemption process at 49 CFR 1150.31 to
applicants seeking immigrant visas            foreign owner or custodian. I also              acquire from UP and operate the Line.
based on qualified service to the U.S.        determine that the exhibition or display        Recently, however, the Board revoked
government as an interpreter in               of the exhibit object at the Isabella           the County’s acquisition and operation
Afghanistan or Iraq, visas based on a         Stewart Gardner Museum, Boston,                 exemption. See Jackson Cty., Mo.—
self-petition under the Violence Against      Massachusetts, from on or about                 Acquis. & Operation Exemption—Union
Women Act, and visas for special              October 31, 2019, until on or about             Pac. R.R., FD 35982 (STB served July 31,
immigrant juveniles. Additionally, a          January 30, 2020, and at possible               2019). Petitioners state that, in light of
consular officer has discretion to require    additional exhibitions or venues yet to         that decision, to avoid doubt on how to
a nonimmigrant visa applicant to              be determined, is in the national               proceed, they jointly seek an exemption
complete the DS–5540, when the officer        interest. I have ordered that Public            to abandon the Line. Petitioners state
determines the information is needed,         Notice of these determinations be               that there are no shippers on the Line
for example, if the officer is not            published in the Federal Register.              and that there has not been any rail
satisfied, based on other available           FOR FURTHER INFORMATION CONTACT: Chi            traffic on the Line in more than 20
information, that the applicant would be      D. Tran, Paralegal Specialist, Office of        years.
self-sufficient during his or her period      the Legal Adviser, U.S. Department of               The County and UP indicate that they
of stay. A consular officer may also          State (telephone: 202–632–6471; email:          intend to enter into an interim trail use/
request any immigrant visa applicant          section2459@state.gov). The mailing             rail banking agreement pursuant to the
not subject to public charge, but subject     address is U.S. Department of State, L/         National Trails System Act, 16 U.S.C.
to The Presidential Proclamation on the       PD, SA–5, Suite 5H03, Washington, DC            1247(d). If a NITU 1 is issued, the
Suspension of Entry of Immigrants Who         20522–0505.                                     County anticipates salvaging track and
Will Financially Burden the United            SUPPLEMENTARY INFORMATION: The                  track materials.
States Healthcare System (Oct. 4, 2019),      foregoing determinations were made                  The interest of railroad employees
to complete questions 4 and 4A from           pursuant to the authority vested in me          will be protected by the conditions set
Form DS–5540 to establish that the            by the Act of October 19, 1965 (79 Stat.        forth in Oregon Short Line Railroad—
applicant will be covered by an               985; 22 U.S.C. 2459), Executive Order           Abandonment Portion Goshen Branch
approved health insurance plan within         12047 of March 27, 1978, the Foreign            Between Firth & Ammon, in Bingham &
30 days of entry into the United States,      Affairs Reform and Restructuring Act of         Bonneville Counties, Idaho, 360 I.C.C.
or that the applicant possesses sufficient    1998 (112 Stat. 2681, et seq.; 22 U.S.C.        91 (1979).
financial resources to cover reasonably       6501 note, et seq.), Delegation of                  By issuing this notice, the Board is
foreseeable medical costs.                    Authority No. 234 of October 1, 1999,           instituting an exemption proceeding
Methodology                                   and Delegation of Authority No. 236–3           pursuant to 49 U.S.C. 10502(b). A final
                                              of August 28, 2000.
  The DS–5540 will be available online                                                           1 Although the County and UP indicate that the

in fillable PDF format. Immigrant visa        Marie Therese Porter Royce,                     County will seek issuance of a certificate of interim
applicants will download the completed        Assistant Secretary, Educational and Cultural   trail use or abandonment (CITU) (Pet. 8), the Board
                                              Affairs, Department of State.                   issues CITUs in abandonment application
form and then upload and submit the                                                           proceedings and notices of interim trail use or
completed DS–5540 and other                   [FR Doc. 2019–23218 Filed 10–23–19; 8:45 am]    abandonment (NITUs) in abandonment exemption
supporting documentation as a part of         BILLING CODE 4710–05–P                          proceedings.
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DHS. Neither section 212(d)(3)(A)(i) of      advance a significant U.S. public             request. In cases where an applicant
the INA nor Department regulations           interest ; or                                 requests a waiver referral to State, the
prescribe standards or criteria for the         5. Urgent humanitarian or medical          adjudicating consular officer will
consular officers making referrals to        reasons: The nonimmigrant visa                determine whether the case involves
State. While the INA makes no express        applicant’s admission to the United           one of the enumerated five criteria and
provision for the submission by              States is warranted due to urgent             will inform the applicant whether or not
nonimmigrant visa applicants of              humanitarian or medical reasons.              the officer will make the referral to
requests for section 212(d)(3)(A)(i)            Consistent with this exercise of the       State. While there is no mechanism for
waivers, State created an avenue for         Secretary’s authority to recommend a          applicants to seek reconsideration or
such requests in 22 CFR 40.301(a). See       waiver under section 212(d)(3)(A)(i) of       appeal of a consular officer’s
24 FR 6678, 6686 (1959) (formerly 22         the INA, this rule also clarifies that        determination that the request does not
CFR 41.95(a)).                               requests by the Secretary for a consular
                                                                                           satisfy one of the enumerated criteria,
   This final rule modifies the non-         officer to submit a report to State are
                                                                                           affected applicants may submit new
statutory requirement for consular           presumed to involve one of the
                                                                                           nonimmigrant visa applications with
officers to refer section 212(d)(3)(A)(i)    enumerated circumstances. In addition,
                                             this rule includes technical edits to         information justifying a waiver under
waiver requests to State for                                                               one of the enumerated grounds.
consideration based on an applicant’s        improve the structure and clarity of 22
request, by limiting it to specified         CFR 40.301, revise the heading of             Regulatory Findings
circumstances. This rule will increase       paragraph (b) to clarify that consular
                                             officers are permitted to submit              Administrative Procedure Act
transparency for inadmissible aliens
seeking an exercise of the Secretary’s       recommendations to a designated DHS
                                                                                             This rule constitutes a rule of policy
authority to recommend DHS grant a           office, and eliminate the requirement
                                             that the Secretary of State define certain    and procedure, and as a result, it is
waiver, and will limit the requirement                                                     exempt from notice and comment under
that consular officers refer waiver          categories of cases for which consular
                                             officers may recommend waivers                5 U.S.C. 553(b)(3)(A). This final rule
requests to circumstances that involve a                                                   limits the non-statutory requirement
key State interest, as reflected in the      directly to DHS.
                                                The rule clarifies existing State          that consular officers refer requests for
enumerated criteria. This rule has no                                                      waivers under INA section 212(d)(3)(A)
                                             guidance that consular officers may
impact on cases involving security-                                                        to the Department, by specifying limited
                                             refer to State, but may not submit
related grounds of inadmissibility,                                                        circumstances, based on a new policy,
                                             directly to DHS, a recommendation to
which consular officers must consider        DHS to waive certain security-related         in which such referrals are required.
in accordance with other State               grounds of inadmissibility and the rule       Because this is a rule of policy and
guidance, on consular officers’ existing     narrows the scope of other situations in      procedure, it is effective upon
discretion to pursue waivers on behalf       which consular officers must refer            publication in the Federal Register.
of ineligible visa applicants, or on the     waiver cases to State, upon request of
factors DHS considers in exercising its                                                    Regulatory Flexibility Act/Executive
                                             the applicant or on their own initiative,
section 212(d)(3)(A) waiver authority.                                                     Order 13272: Small Business
                                             to those cases the consular officer
   Under this rule, which constitutes an     believes meet one of the criteria               Because this final rule is exempt from
exercise of the Secretary of State’s         enumerated below. This rule does not          notice and comment rulemaking under
authority under section 212(d)(3)(A)(i)      affect consular officers’ existing
of the INA, consular officers are                                                          5 U.S.C. 553, it is exempt from the
                                             authority or discretion to submit non-        regulatory flexibility analysis
required to refer waiver requests to State   security related waiver
in response to a request from the                                                          requirements set forth by the Regulatory
                                             recommendations directly to DHS or            Flexibility Act (5 U.S.C. 603 and 604).
Secretary of State, whose request shall      refer cases to State. The vast majority of
be presumed to meet one of the criteria                                                    Nonetheless, consistent with the
                                             waiver recommendations to DHS under           Regulatory Flexibility Act (5 U.S.C.
(paragraphs 1–5) enumerated below, or        section 212(d)(3)(A)(i) of the INA are
in response to a request from a visa                                                       605(b)), the Department of State certifies
                                             initiated by consular officers without        that this rule will not have a significant
applicant for a case that the consular       applicant requests. The rule does not
officer has reason to believe involves                                                     economic impact on a substantial
                                             limit, in any way, DHS’s independent          number of small entities.
one of the following circumstances:          discretionary authority to approve or
   1. Foreign Relations: Refusal of the      deny a waiver. Finally, the rule applies      Unfunded Mandates Reform Act of 1995
nonimmigrant visa application would          only to visa applications for which the
become a bilateral irritant or be raised     consular officer conducts an in person          The Unfunded Mandates Reform Act
by a foreign government with a high          interview under section 222(h) of the         of 1995, 2 U.S.C. 1532, generally
ranking United States Government             INA on or after the rule’s effective date.    requires agencies to prepare a statement
official;                                       In all cases in which the consular         before proposing any rule that may
   2. National Security: The                 officer: (1) Determines a nonimmigrant        result in an annual expenditure of $100
nonimmigrant visa applicant’s                visa applicant is not eligible for a visa     million or more by State, local, or tribal
admission to the United States would         due to inadmissibility; (2) decides not to    governments, or by the private sector.
advance a U.S. national security             recommend directly that DHS grant a           This rule does not require the
interest;                                    waiver; (3) would choose not to refer the     Department of State to prepare a
   3. Law Enforcement: The                   case to State to consider pursuing a          statement because it will not result in
nonimmigrant visa applicant’s                waiver, but the applicant continues to        any such expenditure, nor will it
admission to the United States would         request a waiver; (4) determines that         significantly or uniquely affect small
advance an important U.S. law                there is no reason to believe that one of     governments. This rule involves visas,
enforcement objective;                       the criteria for referral to State are met;   which involves individuals, and does
   4. Significant Public Interest: The       the officer will refuse the visa              not directly or substantially affect, state,
nonimmigrant visa applicant’s                application without referring the case to     local, or tribal governments, or
admission to the United States would         State, notwithstanding the applicant’s        businesses.
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Small Business Regulatory Enforcement         3(b)(2) of Executive Order 12988 to              presumed to meet one of the criteria in
Fairness Act of 1996                          eliminate ambiguity, minimize                    paragraphs (a)(2)(i) through (v) of this
  This rule is not a major rule as            litigation, establish clear legal                section, or in response to a request from
defined in 5 U.S.C. 804, for purposes of      standards, and reduce burden.                    a visa applicant for a case that the
congressional review of agency                                                                 consular officer has reason to believe
                                              Executive Order 13175—Consultation               meets one of the criteria in paragraphs
rulemaking under the Small Business           and Coordination With Indian Tribal
Regulatory Enforcement Fairness Act of                                                         (a)(2)(i) through (v), consular officers are
                                              Governments                                      required to submit a report to the
1996. This rule will not result in an
annual effect on the economy of $100            The Department of State has                    Department for possible transmission to
million or more; a major increase in          determined that this rulemaking will             the designated DHS office pursuant to
costs or prices; or adverse effects on        not have tribal implications, will not           INA 212(d)(3)(A) in the case of an alien
competition, employment, investment,          impose substantial direct compliance             who is classifiable as a nonimmigrant
productivity, innovation, or the ability      costs on Indian tribal governments, and          but whom the consular officer knows or
of United States-based companies to           will not pre-empt tribal law.                    believes is ineligible to receive a
compete with foreign-based companies          Accordingly, the requirements of                 nonimmigrant visa due to
in domestic and import markets.               Section 5 of Executive Order 13175 do            inadmissibility under the provisions of
                                              not apply to this rulemaking.                    INA 212(a), other than INA
Executive Orders 12866 and 13563                                                               212(a)(3)(A)(i)(I), (3)(A)(ii), (3)(A)(iii),
                                              Executive Order 13771
   Executive Orders 13563 and 12866                                                            (3)(C), (3)(E)(i), or (3)(E)(ii).
direct agencies to assess costs and             This rule is not subject to the                   (i) Foreign Relations: Refusal of the
benefits of available regulatory              requirements of Executive Order 13771            nonimmigrant visa application would
alternatives and, if regulation is            because it is de minimis.                        become a bilateral irritant or be raised
necessary, to select regulatory                                                                by a foreign government with a high
                                              Paperwork Reduction Act
approaches that maximize net benefits                                                          ranking United States government
(including potential economic,                  This rule does not impose any new              official;
environmental, public health and safety       reporting or record-keeping                         (ii) National security. The
effects, distributed impacts, and equity).    requirements subject to the Paperwork            nonimmigrant visa applicant’s
These Executive Orders stress the             Reduction Act, 44 U.S.C. Chapter 35.             admission to the United States would
importance of quantifying both costs          List of Subjects in 22 CFR Part 40               advance a U.S. national security
and benefits, of reducing costs, of                                                            interest;
                                                Aliens, Immigration, Visas.                       (iii) Law enforcement. The
harmonizing rules, and of promoting
flexibility. The Department of State has        Accordingly, for the reasons set forth         nonimmigrant visa applicant’s
examined this rule in light of Executive      in the preamble, 22 CFR part 40 is               admission to the United States would
Order 13563, and has determined that          amended to read as follows:                      advance an important U.S. law
the rulemaking is consistent with the                                                          enforcement objective;
                                              PART 40—REGULATIONS                                 (iv) Significant public interest. The
guidance therein. The Department of           PERTAINING TO BOTH
State has reviewed this rulemaking to                                                          nonimmigrant visa applicant’s
                                              NONIMMIGRANTS AND IMMIGRANTS                     admission to the United States would
ensure its consistency with the
                                              UNDER THE IMMIGRATION AND                        advance a significant U.S. public
regulatory philosophy and principles set
                                              NATIONALITY ACT, AS AMENDED                      interest, or
forth in Executive Order 12866. The
Office of Information and Regulatory                                                              (v) Urgent humanitarian or medical
                                              ■ 1. The authority citation for part 40 is       reasons. The nonimmigrant visa
Affairs (OIRA) has determined this rule       revised to read as follows:
to be a significant, though not                                                                applicant’s admission to the United
                                                  Authority: 8 U.S.C. 1104, 8 U.S.C. 1182.     States may be warranted due to urgent
economically significant, regulatory
action. Consequently, OIRA has                ■ 2. Section 40.301 is revised to read as        humanitarian or medical reasons.
reviewed this rule. This rule will ensure     follows:                                            (b) Recommendation to designated
consistency with U.S. and international                                                        DHS office. Consular officers may
law and the increased clarity will
                                              § 40.301 Waiver for ineligible                   recommend directly to the designated
                                              nonimmigrants under INA 212(d)(3)(A).            DHS office that the alien be admitted
benefit the U.S. public. There are no
anticipated direct costs to the public           (a) Recommendations under INA                 temporarily despite his or her
associated with this rule.                    212(d)(3)(A)(i). (1) Consular officers, on       inadmissibility in any case where a
                                              their own initiative in cases they believe       waiver may be available, unless the
Executive Orders 12372 and 13132:             meet one of the criteria in paragraphs           consular officer has reason to believe
Federalism                                    (a)(2)(i) through (v) of this section, may       that the applicant is inadmissible under
  This regulation will not have               submit a report to the Department for            INA 212(a)(3)(A)(i), (3)(A)(ii), (3)(A)(iii),
substantial direct effect on the States, on   possible transmission to the designated          (3)(B), (3)(C), (3)(D), (3)(E)(i), (3)(E)(ii),
the relationship between the national         DHS office pursuant to INA                       (3)(E)(iii), (3)(F), or (3)(G) . The
government and the States, or the             212(d)(3)(A)(i) (8 U.S.C.                        Department may recommend that the
distribution of power and                     1182(d)(3)(A)(i)), in the case of an alien       Secretary of Homeland Security waive
responsibilities among the various            who is classifiable as a nonimmigrant            ineligibility under any ground in section
levels of government. Nor will the rule       but who the consular officer knows or            212(a) of the INA, except for sections
have federalism implications warranting       believes is ineligible to receive a              212(a)(3)(A)(i)(I), (3)(A)(ii), (3)(A)(iii),
the application of Executive Orders           nonimmigrant visa due to                         (3)(C), (3)(E)(i), and (3)(E)(ii).
12372 and 13132.                              inadmissibility under the provisions of             (c) Secretary of Homeland Security
                                              INA 212(a) (8 U.S.C. 1182(a)), other than        may impose conditions. When the
Executive Order 12988: Civil Justice          INA 212(a)(3)(A)(i)(I), (3)(A)(ii),              Secretary of Homeland Security
Reform                                        (3)(A)(iii), (3)(C), (3)(E)(i), or (3)(E)(ii).   authorizes the temporary admission of
  The Department of State has reviewed           (2) In response to a request from the         an inadmissible alien as a nonimmigrant
the rule in light of sections 3(a) and        Secretary of State, which shall be               and the consular officer is so informed,
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                    Federal Register / Vol. 84, No. 87 / Monday, May 6, 2019 / Rules and Regulations                         19715

the consular officer may proceed with        I. Table of Abbreviations                    37°48′42″ N, 122°25′13″ W and thence
the issuance of a nonimmigrant visa to                                                    along the shore to the point of
the alien, subject to the conditions, if     CFR Code of Federal Regulations              beginning. Located within this footprint,
any, imposed by the Secretary of             DHS Department of Homeland Security          there will be three separate regulated
Homeland Security.                           FR Federal Register                          areas: Zone ‘‘A’’, the Official Race Box
                                             NPRM Notice of Proposed Rulemaking
                                                                                          Area; Zone ‘‘B’’, the Spectator Area;
Carl C. Risch,                               § Section
                                             COTP Captain of the Port                     Zone ‘‘C’’, the Regulated Waterfront
Assistant Secretary for Consular Affairs,                                                 Transit Area; and Zone ‘‘D’’ the No
Department of State.                         PATCOM Patrol Commander
                                             U.S.C. United States Code                    Loitering or Anchoring Zone.
[FR Doc. 2019–09185 Filed 5–3–19; 8:45 am]                                                   Zone ‘‘A’’, the Official Race Box Area,
BILLING CODE 4710–06–P                       II. Background, Purpose, and Legal           will be marked by approximately 12
                                             Basis                                        colored visual markers. The position of
                                                                                          these markers will be specified via
                                                On October 12, 2018, the LeadDog          Broadcast Notice to Mariners at least 3
DEPARTMENT OF HOMELAND                       Marketing Corporation notified the
SECURITY                                                                                  days prior to the event. Because of the
                                             Coast Guard of an intention to conduct       hazards posed by the sailing
Coast Guard                                  the ‘‘Sail Grand Prix 2019’’ in San          competition, Zone ‘‘A’’ is necessary to
                                             Francisco Bay. Sail Grand Prix is a          provide protection from the operation of
33 CFR Part 100                              sailing league featuring world-class         the high-speed sailing vessels within
                                             sailors racing 50-foot foiling catamarans.   this area.
[Docket No. USCG–2019–0010]                  The inaugural season started February           Zone ‘‘B’’, the Spectator Area, will
                                             2019 in five iconic cities throughout the    include specified parts of the waters
RIN 1625–AA08                                world, traveling to San Francisco Bay in     immediately adjacent to racing Zone
                                             May 2019. In San Francisco, they             ‘‘A’’ and will be defined by latitude and
Special Local Regulation; Sail Grand
                                             proposed to take advantage of the            longitude points as per Broadcast Notice
Prix 2019 Race Event; San Francisco,
                                             natural amphitheater that the central        to Mariners. Zone ‘‘B’’ will be further
CA
                                             bay and city waterfront provide.             divided into three additional sub-areas:
AGENCY:    Coast Guard, DHS.                    In response, on March 18, 2019, the       Zone ‘‘B1 East’’, Zone ‘‘B1 West’’, and
ACTION:   Temporary final rule.              Coast Guard published a notice of            Zone ‘‘B2’’. Zone ‘‘B1 East’’ and Zone
                                             proposed rulemaking (NPRM) titled            ‘‘B1 West’’ will be the general spectator
SUMMARY:   The Coast Guard is                ‘‘Special Local Regulation; Sail Grand       zone that is open to all vessel spectators.
establishing a temporary special local       Prix 2019 Race Event; San Francisco,         Zone ‘‘B2’’ will be a separate designated
regulation in the navigable waters of        CA’’ (84 FR 9727). There we stated why       spectator area marked by approximately
San Francisco Bay in San Francisco, CA       we issued the NPRM and invited               four colored buoys that will be managed
in support of the San Francisco Sail         comments on our proposed regulatory          by marine event sponsor officials. The
Grand Prix 2019 race periods on May 4,       action related to this sailing event.        designation of Zone ‘‘B’’, to include
2019 and May 5, 2019. This special           During the comment period that ended         Zone ‘‘B1 East’’, Zone ‘‘B1 West’’, and
local regulation is necessary to ensure      on April 17, 2019, we received one           Zone ‘‘B2’’, will allow spectators to
the safety of mariners transiting the area   comment.                                     observe the Sail Grand Prix 2019 race
from the dangers associated with high-          Based off lessons learned during the      event in a regulated area at a safe
speed sailing activities associated with     multi-agency planning process, we are        distance from the sailing race occurring
the Sail Grand Prix 2019 race event.         implementing an additional zone to the       in Zone ‘‘A’’.
This temporary special local regulation      Special Local Regulation, Zone ‘‘D’’.           Zone ‘‘C’’ will be the designated
will temporarily restrict vessel traffic     Zone ‘‘D’’ will be a no loitering or         Waterfront Transit Area along the city of
adjacent to the city of San Francisco        anchoring area along the San Francisco       San Francisco waterfront marked by
waterfront in the vicinity of the Golden     Waterfront that will allow vessels to        buoys on one side and the shoreline on
Gate Bridge and Alcatraz Island and          transit, allowing for more accessibility     the other. This one-directional lane will
prohibit vessels and persons not             to the waterfront areas. Additionally, to    provide vessels the opportunity to pass
participating in the race event from         accommodate the updated, finalized           along the San Francisco waterfront,
entering the dedicated race area.            event agenda, the times were altered to      avoiding interference with the other
DATES: This rule is effective from 10:30     minimize impact to San Francisco             established areas. Vessels will be
a.m. on May 4, 2019 through 3:00 p.m.        Waterfront.                                  authorized to transit through this zone
on May 5, 2019.                                 Under 5 U.S.C. 533(d)(3), the Coast       with approval from the COTP or
                                             Guard finds that good cause exists for       designated authority. Zone ‘‘C’’ is
ADDRESSES: To view documents
                                             making this rule effective less than 30      essential to provide vessels the
mentioned in this preamble as being          days after publication in the Federal        opportunity to transit along the city of
available in the docket, go to https://      Register.                                    San Francisco waterfront while
www.regulations.gov, type USCG–2019–            This special local regulation will        maintaining the integrity of the
0010 in the ‘‘SEARCH’’ box and click         encompass all navigable waters of the        regulated areas for the race event. Due
‘‘SEARCH.’’ Click on Open Docket             San Francisco Bay, from surface to           to the dynamic nature of the Sail Grand
Folder on the line associated with this      bottom, within the area formed by            Prix 2019, there is a need for a
rule.                                        connecting the following latitude and        Waterfront Transit Area so mariners
FOR FURTHER INFORMATION CONTACT: If          longitude points in the following order:     along the waterfront can transit the
you have questions about this rule, call     37°48′18″ N, 122°27′44″ W; thence to         impacted waterways at designated
or email Lieutenant Emily K. Rowan,          37°48′30″ N, 122°27′56″ W; thence to         times. This Zone ‘‘C’’ is necessary for
U.S. Coast Guard District 11, Sector San     37°49′14″ N, 122°27′59″ W; thence to         the protection of waterway users and
Francisco, at 415–399–7443,                  37°49′30″ N, 122°25′36″ W; thence to         participants in the sailing race event
SFWaterways@uscg.mil.                        37°49′10″ N, 122°25′10″ W; thence to         while minimizing the impact to the city
SUPPLEMENTARY INFORMATION:                   37°48′45″ N, 122°25′10″ W; thence to         of San Francisco maritime community.
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From:
Subject:       Message to Posts: Health Insurance Proclamation
Date:          Monday, October 7, 2019 11:25:26 AM



Dear Colleagues,


On October 4, 2019, the President issued a Presidential Proclamation (P.P.)
titled “Suspension of Entry of Immigrants Who Will Financially Burden the
United States Healthcare System, In Order to Protect the Availability of
Healthcare Benefits for Americans.” This proclamation is effective November
3, 2019 at 12:01 Eastern Daylight Time. In order to demonstrate qualification
for entry, immigrant and diversity visa applicants — other than those covered
by certain exceptions — must demonstrate to a consular officer that they will
be covered by approved health insurance within thirty days of entry into the
United States, or that they possess the financial resources to pay for reasonably
foreseeable medical costs. Visa applicants subject to this proclamation must
establish that they meet its requirements, to the satisfaction of a consular
officer, at the time of visa adjudication. The Visa Office will provide more in
depth guidance to the field via ALDAC and in FAM updates within the next
two weeks.


Many thanks,


The Visa Office




                                     SENSITIVE BUT UNCLASSIFIED
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From:
Subject:        MESSAGE TO POSTS: PP 9945 Suspension of Entry of Immigrants Who Will Financially Burden the United States
                Healthcare System
Date:           Friday, November 1, 2019 6:07:23 PM



Dear Colleagues,

Presidential Proclamation (P.P.) 9945, which suspends and limits entry for
aliens as immigrants who cannot demonstrate that they will be covered by
approved health insurance within 30 days of entry into the United States or that
they have the financial resources to pay for reasonably foreseeable medical
costs, is effective November 3, 2019 at 12:01 Eastern Daylight Time. We
anticipate approval from the Office of Management and Budget of our
proposed information collection concerning health insurance-related
information. Posts must begin implementation of P.P. 9945 on November 3,
2019.

In addition, you may have read media reports about a lawsuit filed recently
regarding P.P. 9945. As of now, the case does not prevent the Department
from implementing P.P. 9945. We will provide additional guidance if there are
any developments that may affect case processing at post.

Thank you,

The Visa Office

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                          Questions?




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                  SUPPORTING STATEMENT FOR
             PAPERWORK REDUCTION ACT SUBMISSION
                 Immigrant Health Insurance Coverage
                     OMB Number 1405-XXXX


A.      JUSTIFICATION
1. Why is this collection necessary and what are the legal statutes that allow this?
     Pursuant to sections 212(f) and 215(a) of the Immigration and Nationality Act (“INA”), 8
     U.S.C. § 1182(f) and § 1185(a), and 3 U.S.C. § 301, The Presidential Proclamation on the
     Suspension of Entry of Immigrants Who Will Financially Burden the United States
     Healthcare System (“PP 9945”) requires immigrant visa applicants to establish, to the
     satisfaction of a consular officer, that the applicant will be covered by an approved health
     insurance plan within 30 days of entry into the United States, unless the applicant possesses
     sufficient financial resources to cover reasonably foreseeable medical costs. Proclamation
     No. 9945, 84 FR 53991 (Oct. 4, 2019). Section 3 of the Proclamation authorizes the
     Secretary of State to establish standards and procedures for governing such determinations.
     Id. Emergency review and approval of this information collection is necessary for the
     Department to implement PP 9945 when it goes into effect on November 3, 2019. PP 9945
     was signed on October 4, 2019, and the Department cannot comply with the normal
     procedures, if it is to implement the Presidential Proclamation on the date it takes effect.
2. What business purpose is the information gathered going to be used for?
     Consular officers will use the information provided to determine whether an immigrant visa
     applicant will be covered by an approved health insurance plan within 30 days of entry to the
     United States, unless the applicant possesses sufficient financial resources to cover
     reasonably foreseeable medical costs, as required by Presidential Proclamation 9945.
3. Is this collection able to be completed electronically (e.g. through a website or
   application)?
     No, consular officers will ask applicants questions regarding health insurance coverage in the
     United States verbally at the time of interview.
4. Does this collection duplicate any other collection of information?
     This collection is not duplicative of another existing collection. However, the Department is
     seeking approval of a separate proposed information collection (DS 5540, Public Charge
     Questionnaire) through standard procedures that will incorporate this question into a form
     asking for other financial information from applicants.
5. Describe any impacts on small business
     This information collection does not directly impact small businesses or other small entities.
6. What are consequences if this collection is not done?
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   This information collection is essential for determining whether certain applicants will be
   covered by an approved health insurance plan within 30 days of entry to the United States,
   unless the applicant possesses sufficient financial resources to cover reasonably foreseeable
   medical costs.

7. Are there any special collection circumstances (e.g. responding in less than 30 days,
   excessive record retention, or requiring submission of proprietary trade secrets)?
   Other than the November 3, 2019, effective date of Presidential Proclamation 9945, no
   special circumstances exist.

8. Document publication (or intent to publish) a request for public comments in the Federal
   Register
   The Department of State (Visa Office, Bureau of Consular Affairs) will solicit public
   comments on this collection via a Public Notice in the Federal Register.
9. Are any payments or gifts given to the respondents?
   No payment or gift is provided to respondents.
10. Describe assurances of privacy/confidentiality
   In accordance with INA section 222(f), 8 U.S.C. § 1202(f), information obtained from
   applicants in the nonimmigrant or immigrant visa application process is considered
   confidential and is to be used only for the formulation, amendment, administration, or
   enforcement of the immigration, nationality, and other laws of the United States, except that,
   in the discretion of the Secretary of State, it may be made available to a court or provided to a
   foreign government if the relevant requirements stated in INA section 222(f), 8 U.S.C. §
   1202(f), are satisfied.
11. Are any questions of a sensitive nature asked?
   The questions in the collection are designed to solicit the information necessary to determine
   whether an applicant will be covered by an approved health insurance plan within 30 days of
   entry to the United States, unless the applicant possesses sufficient financial resources to
   cover reasonably foreseeable medical costs.
   The proposed questions are similar in nature to questions currently on the immigrant visa
   application forms and thus do not, for the most part, present new or unusual sensitivities.
   The Department recognizes that medical conditions can be inherently sensitive information,
   however, this information collection does not solicit any additional questions about medical
   conditions. The Department has separate medical forms, Forms DS-3030, DS-2054, DS-
   3025, and DS-3026, which specifically collect information on medical conditions. These
   questions simply request information necessary to determine whether the applicant will be
   covered by an approved health insurance plan within 30 days of entry to the United States,
   unless the applicant possesses sufficient financial resources to cover reasonably foreseeable
   medical costs.
12. Describe the hour time burden and the hour cost burden on the respondent needed to
    complete this collection
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     The Department estimates that 450,500 individuals per year will be asked to answer these
     questions. The average burden per response is estimated to be 10 minutes.
     Therefore, the Department estimates that the annual hour burden to visa applicants posed by
     the additional healthcare insurance coverage question is 75,083 hours (450,500 applicants x
     10 minutes). The weighted wage hour cost burden for this collection is $1,875,573 based on
     the calculation of $24.981 (average hourly wage) x 75,083 hours = $1,875,573.
13. Describe any monetary burden on the respondent needed to complete this collection
     There are no anticipated monetary burdens associated with the additional questions posed as
     part of this information collection. While Presidential Proclamation 9945 may add monetary
     burdens to certain immigrant applicants by requiring health insurance coverage, this
     information collection is not imposing a burden and is only necessary to implement PP 9945.
14. Describe the cost to the Federal Government to complete this collection
     There are no additional costs to the federal government as a result of the additional questions.
15. Explain any changes/adjustments to this collection since the previous submission
     This is a new information collection.
16. Specify if the data gathered by this collection will be published
     The information gathered by this collection will not be published.
17. Explain the reasons for seeking approval to not display the OMB expiration date
     The OMB expiration date cannot be displayed because the Department will not be using a
     form for this information collection. Rather, consular officers will verbally ask applicants at
     the time of the visa interview. However, the Department is seeking approval of a separate
     proposed information collection (DS-5540, Public Charge Questionnaire) through standard
     procedures that will incorporate this question into a form asking for other financial
     information from applicants.
18. Explain any exceptions to the OMB certification statement
     The Department is not requesting any exceptions to the certification statement requirements.


B.      COLLECTION OF INFORMATION EMPLOYING STATISTICAL METHODS
This collection does not employ statistical methods.




1
 Source: Data from the U.S. Bureau of Labor Statistics' May 2018 National Occupational Employment and Wage
Estimates for all occupations (https://www.bls.gov/oes/current/oes nat.htm#00-0000). Retrieved September 23,
2019.
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                           LEGAL AUTHORITIES
                    PAPERWORK REDUCTION ACT SUBMISSION
                          Immigrant Health Insurance Coverage
                                 OMB Number 1405-XXXX




1.   INA section 212(f), 8 U.S.C. § 1182(f)
2.   INA section 215(a), 8 U.S.C. § 1185(a)
3.   INA section 221(a), 8 U.S.C. § 1201(a)
4.   INA section 222(a), 8 U.S.C. § 1202(a)
5.   INA section 203, 8 U.S.C. § 1153
6.   22 CFR 42.63
7.   Proclamation No. 9945, 84 FR 53991 (Oct. 4, 2019)




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     JUSTIFICATION FOR EMERGENCY REVIEW
                      Immigrant Health Insurance Coverage


       The Presidential Proclamation on the Suspension of Entry of Immigrants Who

Will Financially Burden the United States Healthcare System (“PP 9945”) was signed on

October 4, 2019. Proclamation No. 9945, 84 FR 53991 (Oct. 4, 2019). PP 9945 requires

immigrant visa applicants to establish, to the satisfaction of a consular officer, that the

applicant will be covered by an approved health insurance plan within 30 days of entry

into the United States, unless the applicant possesses sufficient financial resources to

cover reasonably foreseeable medical costs, or if an exception in Section 2(b) applies.

Section 3 of the Proclamation authorizes the Secretary of State to establish standards and

procedures for governing such determinations. Emergency review of this information

collection is necessary for the Department to implement PP 9945 when it goes into effect

on November 3, 2019. The Department cannot reasonably comply with the normal

procedures by the implementation deadline of November 3, 2019.


The Department has therefore determined that:

1. This collection is needed prior to the expiration of time periods normally associated
   with a routine submission for review under the provisions of the Paperwork
   Reduction Act;

2. This collection is essential to the mission of the Department of State; and

3. The use of normal clearance procedures would prevent the Department from
   complying with PP 9945 when it takes effect on November 3, 2019.

Therefore, the Department of State requests emergency OMB review and approval for
this collection by October 25, 2019.
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:LOO\RXEHFRYHUHGE\KHDOWKLQVXUDQFHLQWKH8QLWHG6WDWHVZLWKLQGD\VRI\RXUHQWU\LQWRWKH8QLWHG6WDWHV"

             <HV        1R




                                        '5$)7
,I\RXDQVZHUHG\HVWR4XHVWLRQLGHQWLI\WKHVSHFLILFKHDOWKLQVXUDQFHSODQDQGGDWHFRYHUDJHZLOOEHJLQ



,I\RXDQVZHUHGQRWR4XHVWLRQKRZ R\RX    QWR D\     KHDOWKFDUHIR \RXUH[ WLQJPHGLFDO   GLWLRQVLQWKH8QLWHG6WDWHV"



                                                )HGHUDO$JHQF\'LVFORVXUHDQG$XWKRUL]DWLRQV

3$3(5:25.5('8&7,21$&767$7(0(17

3XEOLFUHSRUWLQJEXUGHQIRUWKLVFROOHFWLRQRILQIRUPDWLRQLVHVWLPDWHGWRDYHUDJHPLQXWHVSHUUHVSRQVHLQFOXGLQJWLPHUHTXLUHGIRUVHDUFKLQJH[LVWLQJ
GDWDVRXUFHVJDWKHULQJWKHQHFHVVDU\GRFXPHQWDWLRQSURYLGLQJWKHLQIRUPDWLRQDQGRUGRFXPHQWVUHTXLUHGDQGUHYLHZLQJWKHILQDOFROOHFWLRQ<RXGR
QRWKDYHWRVXSSO\WKLVLQIRUPDWLRQXQOHVVWKLVFROOHFWLRQGLVSOD\VDFXUUHQWO\YDOLG20%FRQWUROQXPEHU,I\RXKDYHFRPPHQWVRQWKHDFFXUDF\RIWKLV
EXUGHQHVWLPDWHDQGRUUHFRPPHQGDWLRQVIRUUHGXFLQJLWSOHDVHVHQGWKHPWR35$B%XUGHQ&RPPHQWV#VWDWHJRY

&21),'(17,$/,7<67$7(0(17

,1$6HFWLRQ I SURYLGHVWKDWYLVDLVVXDQFHDQGUHIXVDOUHFRUGVVKDOOEHFRQVLGHUHGFRQILGHQWLDODQGVKDOOEHXVHGRQO\IRUWKHIRUPXODWLRQ
DPHQGPHQWDGPLQLVWUDWLRQRUHQIRUFHPHQWRIWKHLPPLJUDWLRQQDWLRQDOLW\DQGRWKHUODZVRIWKH8QLWHG6WDWHV9LVDUHFRUGVPD\EHGLVFORVHGLQ
FHUWDLQVLWXDWLRQVDVGHVFULEHGLQ,1$6HFWLRQ I LQFOXGLQJGLVFORVXUHWRDFRXUWDVQHHGHGLQDFDVHSHQGLQJEHIRUHWKHFRXUW

'6                                                               81&/$66,),('
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                                                                    000128
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58200                    Federal Register / Vol. 84, No. 210 / Wednesday, October 30, 2019 / Notices

related to the insurance plan as the           operating in train stop, train control or     an opportunity for oral comment and a
consular officer deems necessary. PP           cab signal territory; equipped. FRA           public hearing, they should notify FRA,
9945 does not suspend or limit the entry       assigned the petition Docket Number           in writing, before the end of the
of applicants if they do not have              FRA–2019–0087.                                comment period and specify the basis
coverage, but possess financial                   Specifically, Metra requests to operate    for their request.
resources to pay for reasonably                positive train control (PTC) equipped           All communications concerning these
foreseeable medical expenses.                  controlling locomotives with the              proceedings should identify the
Reasonably foreseeable medical                 automatic cab signals (ACS) cut-out.          appropriate docket number and may be
expenses are those expenses related to         The relief is to be within a PTC revenue      submitted by any of the following
existing medical conditions, relating to       service demonstration (RSD) area on the       methods:
health issues existing at the time of visa     Rock Island District, on which a PTC            • Website: http://
adjudication.                                  system (Interoperable Electronic Train        www.regulations.gov. Follow the online
   PP 9945 does not apply to holders of        Management System) is installed and           instructions for submitting comments.
valid immigrant visas issued before the        operative; the PTC system is                    • Fax: 202–493–2251.
effective date of the proclamation; aliens     successfully initialized; and a                 • Mail: Docket Operations Facility,
seeking to enter the United states             locomotive engineer trained and               U.S. Department of Transportation, 1200
pursuant to a Special Immigrant Visa, in       qualified in the operation of PTC is          New Jersey Ave. SE, W12–140,
either the SI or SQ classification; any        present for the operation of the train        Washington, DC 20590.
alien who is seeking to enter the United       with the ACS cut-out.                           • Hand Delivery: 1200 New Jersey
States pursuant to an IR–2, CR–2, IR–3,           Locations of the requested relief on       Ave. SE, Room W12–140, Washington,
IR–4, IH–3, or IH–4 visa; aliens seeking       the Rock Island District are:                 DC 20590, between 9 a.m. and 5 p.m.,
to enter pursuant to an IR–5 visa,             • Track No. 1, Westward—MP 14.5 to            Monday through Friday, except Federal
provided the alien or alien’s sponsor             MP 39.9; Eastward—MP 39.9 to MP            Holidays.
demonstrates to the satisfaction of               14.5                                         Communications received by
consular officers that they will not           • Track No. 2, Westward—MP 14.5 to            December 16, 2019 will be considered
impose a substantial burden on the                MP 39.9; Eastward—MP 39.9 to MP            by FRA before final action is taken.
United States healthcare system; aliens           14.5                                       Comments received after that date will
seeking to enter the United States             • Main Track, MP 39.9 to 40.2.                be considered if practicable.
pursuant to a SB–1 visa; any alien under          If the PTC system fails and/or is cut-       Anyone can search the electronic
the age of 18, except for any alien            out en route, the train crew will cut-in      form of any written communications
accompanying a parent who is also              the ACS onboard system, perform a             and comments received into any of our
immigrating to the United States and           departure test, and if successful,            dockets by the name of the individual
subject to PP 9945; any alien whose            continue the trip through the project         submitting the comment (or signing the
entry would further important United           limits under ACS operation. If the ACS        document, if submitted on behalf of an
States law enforcement objectives, as          onboard system cut-in and/or departure        association, business, labor union, etc.).
determined by the Secretary of State or        test are not completed successfully, the      Under 5 U.S.C. 553(c), DOT solicits
his designee based on a                        train will continue to operate under the      comments from the public to better
recommendation from the Attorney               provisions of § 236.567, Restrictions         inform its processes. DOT posts these
General or his designee; or aliens whose       imposed when device fails and/or is cut       comments, without edit, including any
entry would be in the national interest,       out en route.                                 personal information the commenter
as determined by the Secretary of State           Metra notes that the ACS and PTC           provides, to www.regulations.gov, as
or his designee on a case-by-case basis.       systems are not integrated on the             described in the system of records
Edward J. Ramotowski,                          locomotive, and their concurrent use          notice (DOT/ALL–14 FDMS), which can
Deputy Assistant Secretary, Visa Services,     would be potentially confusing and            be reviewed at www.transportation.gov/
Bureau of Consular Affairs, Department of      distracting to the train crew due to          privacy. See also http://
State.                                         differences in the content of their           www.regulations.gov/#!privacyNotice
[FR Doc. 2019–23639 Filed 10–29–19; 8:45 am]   displays, audible and visual alerts           for the privacy notice of regulations.gov.
BILLING CODE 4710–06–P                         provided, and required                          Issued in Washington, DC.
                                               acknowledgement protocols.
                                                                                             John Karl Alexy,
                                                  A copy of the petition, as well as any
                                                                                             Associate Administrator for Railroad Safety,
DEPARTMENT OF TRANSPORTATION                   written communications concerning the
                                                                                             Chief Safety Officer.
                                               petition, is available for review online at
                                                                                             [FR Doc. 2019–23669 Filed 10–29–19; 8:45 am]
Federal Railroad Administration                www.regulations.gov and in person at
                                                                                             BILLING CODE 4910–06–P
                                               the U.S. Department of Transportation’s
[Docket Number FRA–2019–0087]                  Docket Operations Facility, 1200 New
Petition for Waiver of Compliance              Jersey Ave. SE, W12–140, Washington,
                                                                                             DEPARTMENT OF TRANSPORTATION
                                               DC 20590. The Docket Operations
   Under part 211 of title 49 of the Code      Facility is open from 9 a.m. to 5 p.m.,       Federal Railroad Administration
of Federal Regulations (CFR), this             Monday through Friday, except Federal
document provides the public notice            Holidays.
                                                                                             [Docket No. FRA–2019–0004–N–19]
that on October 16, 2019, the Northeast           Interested parties are invited to
Illinois Regional Commuter Railroad            participate in these proceedings by           Proposed Agency Information
Corporation (Metra) petitioned the             submitting written views, data, or            Collection Activities; Comment
Federal Railroad Administration (FRA)          comments. FRA does not anticipate             Request
for a waiver of compliance from certain        scheduling a public hearing in
provisions of the Federal railroad safety      connection with these proceedings since       AGENCY: Federal Railroad
regulations contained at 49 CFR                the facts do not appear to warrant a          Administration (FRA), U.S. Department
236.566, Locomotive of each train              hearing. If any interested parties desire     of Transportation (DOT).
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                                                                                        000131


Response to public comments received in response to the notice of request for emergency
OMB review and approval of the DS-5541, Immigrant Health Insurance Coverage

The Department of State (“Department”) published a notice of request for emergency OMB
review and approval in the Federal Register on October 30, 2019 (84 FR 58199), and solicited
public comments on the DS-5541, Immigrant Health Insurance Coverage. This collection, which
will authorize consular officers to ask certain immigrant visa applicants about their intended
health insurance coverage in the United States, is necessary to implement Presidential
Proclamation 9945, which requires immigrant visa applicants to establish, to the satisfaction of a
consular officer, that the applicant will be covered by an approved health insurance plan within
30 days of entry into the United States, unless the applicant possesses sufficient financial
resources to cover reasonably foreseeable medical costs, or if an exception applies. The
comment period closed on October 31, 2019 at 11:59 PM, and the Department has received over
300 comments.

The Department has determined that the majority of comments fall within one of the categories
below:
          x At least 11 comments recommend providing a longer time period for public
             comment. To these comments, the Department generally responds that the time
             available to accept public comments was constrained by the effective date of the
             Proclamation;
          x At least 29 comments expressed concern about the acceptance of short-term
             health insurance plans. To these comments, the Department generally responds
             that the categories of approved health plans were decided by the President and,
             consequently, the comments are nonresponsive, as they fall outside the scope of
             issues relevant to this information collection;
          x At least 3 comments identified specific criteria that should be considered in the
             collection’s time and cost burden estimates; and
          x Many comments stated opposition to the requirement in Presidential Proclamation
             9945 that immigrant visa applicants obtain health insurance coverage. To these
             comments, the Department generally responds that the requirement relating to
             health insurance were decided by the President and, consequently, the comments
             are nonresponsive, as they the comments fall outside the scope of issues relevant
             to this information collection.

The Department cannot respond to all comments prior to the implementation deadline of
Presidential Proclamation 9945 on November 3, 2019. The Department is, however, currently
reviewing all submissions to identify responsive comments, and will respond to those comments
as appropriate.
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           NOTICE OF OFFICE OF MANAGEMENT AND BUDGET ACTION 000132
                                                                                            Date     11/01/2019

Department of State
Administration of Foreign Affairs

FOR CERTIFYING OFFICIAL:            Stuart McGuigan
FOR CLEARANCE OFFICER:              Zachary Parker

In accordance with the Paperwork Reduction Act, OMB has taken action on your request received
10/22/2019

ACTION REQUESTED:           New collection (Request for a new OMB Control Number)
TYPE OF REVIEW REQUESTED:              Emergency
ICR REFERENCE NUMBER:                  201910-1405-001
AGENCY ICR TRACKING NUMBER:
TITLE:          Immigrant Health Insurance Coverage
LIST OF INFORMATION COLLECTIONS: See next page


OMB ACTION: Approved with change
OMB CONTROL NUMBER:                      1405-0231
The agency is required to display the OMB Control Number and inform respondents of its legal significance in
accordance with 5 CFR 1320.5(b).

EXPIRATION DATE: 05/31/2020                                   DISCONTINUE DATE:


BURDEN:                                                   RESPONSES                      HOURS                    COSTS
Previous                                                                0                       0                     0
New                                                               450,500                  75,083                     0
Difference
  Change due to New Statute                                             0                       0                     0
  Change due to Agency Discretion                                 450,500                  75,083                     0
  Change due to Agency Adjustment                                       0                       0                     0
  Change due to PRA Violation                                           0                       0                     0

TERMS OF CLEARANCE:


OMB Authorizing Official:      Dominic J. Mancini
                               Deputy and Acting Administrator,
                               Office Of Information And Regulatory Affairs
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